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                         2018
        OFFICIAL PLAYING RULES
                       OF THE
     NATIONAL FOOTBALL LEAGUE




              Roger Goodell, Commissioner
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                               2018 Rules Changes



Rule-Section-Article

4-8-2             Eliminates the requirement that a team who scores a touchdown at
                  the end of regulation of a game to kick the extra point or go for two-
                  point conversion if it would not affect the outcome of the game.

6-1-3, 6-2-1      Modifies rules for a free kick formation and for blocking on a free
                  kick.

8-1-3             Changes standard for a catch.

11-6-3            Makes permanent the Playing Rule that changes the spot of the
                  next snap after a touchback resulting from a free kick to the 25-yard
                  line.

12-2-8            Makes lowering the head to initiate contact with the helmet a foul.

12-5-1            Makes the penalties for Illegal Batting and Kicking the same.

15-2-2            Authorizes the designated member of the Officiating department to
                  instruct on-field game officials to disqualify a player for a flagrant
                  non-football act when a foul for that act is called on the field.

16-1-3            Provides that in overtime, if the team that possesses the ball first
                  scores a field goal on its initial possession and the second team
                  loses possession by an interception or fumble, the down will be
                  permitted to run to its conclusion, including awarding points scored
                  by either team during the down.
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                                             PREFACE
This edition of the Official Playing Rules of the National Football League contains all current
rules governing the playing of professional football that are in effect for the 2018 NFL season.
Member clubs of the League may amend the rules from time to time, pursuant to the applicable
voting procedures of the NFL Constitution and Bylaws.

Any intra-League dispute or call for interpretation in connection with these rules will be decided
by the Commissioner of the League, whose ruling will be final.

Because inter-conference games are played throughout the preseason, regular season, and
postseason in the NFL, all rules contained in this book apply uniformly to both the American
and National Football Conferences.

Where the word “illegal” appears in this rule book, it is an institutional term of art pertaining strictly
to actions that violate NFL playing rules. It is not meant to connote illegality under any public law
or the rules or regulations of any other organization.

The word “flagrant,” when used here to describe an action by a player, is meant to indicate that
the degree of a violation of the rules—usually a personal foul or unnecessary roughness—is
extremely objectionable, conspicuous, unnecessary, avoidable, or gratuitous. “Flagrant” in
these rules does not necessarily imply malice on the part of the fouling player or an intention to
injure an opponent.




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                                      Printed in the United States of America.
                                                                                                            PLAN OF PLAYING FIELD
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Minimum 3’ to field wall                                                                                                                                                                             Minimum 3’ to field wall
for stadiums built or                                                                                                   160’-0”                                                                        for stadiums built or
renovated after 2016                                                                                        70’-9”                              70’-9”                                               renovated after 2016




                                                                                                                                  6’-3”
                                                                            9’                                           WA L L
                                                                                                                                                                      9’
                                                                                                                                                 3’
                                                                                                                                                                                 SIX (6’) TYPICAL
                                                                                                                                                                                 ALL AROUND BORDER
                                                                                          2                                                                       2
                                                SIX (6’)TYPICAL
                            ALL AROUND BORDER




                                                                                                                                   6’-3”
                                                                                              PLYLON




                                                                                                                                                         PLYLON




                                                                                                                                                                                                                   30’- 0”
                                                                                                                        6’
                                                                       3’                                                                                                  3’




                                                         24’                                                                                                                    24’



                     6’                                                                                              TEAM




                                                                                                                                                                                                                  300’- 0”
                                                                                                                                                                                                     6’
                                                                                                                     LOGO




                                                                                                                                                                                                                             WA L L
WA L L




                                                         24’                                                                                                                    24’
         12’




Minimum 12’ to field wall
                                                                                                                                                                                                                  12’
for stadiums built or                                                                                                                                                                 Minimum 12’ to field wall
renovated after 2016                                                                                                                                                                    for stadiums built or
                                                                                                                                                                                      renovated after 2016




                                                                  3’                                                                                                       3’
                                                                                 PLYLON




                                                                                                                        6’




                                                                                                 2’ 0”
                                                                                 8”
                                                                                                                                                         PLYLON




                                                                                                                                                                                                                   30’-0”
                                                                                                                        18’-6”




                                                                                                 12 yards
                                                                                 PLYLON




                                                                                          2                                                                       2




                                                                                                                                           3’
                                                                                                                        WA L L
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                                                  RULE 1               THE FIELD
SECTION 1          DIMENSIONS
ARTICLE 1. PLAYING LINES. The game shall be played upon a rectangular field, 360 feet in length and 160 feet in width. The
lines at each end of the field are termed End Lines. Those on each side are termed Sidelines. Goal Lines shall be established in
the field 10 yards from and parallel to each end line. The area bounded by goal lines and sidelines is known as the Field of Play.
The surface of the entire Field of Play must be a League-approved shade of green. The areas bounded by goal lines, end lines,
and sidelines are known as the End Zones.
The areas bounded by goal lines and lines parallel to, and 70 feet 9 inches inbounds, from each sideline, are known as the Si de
Zones. The lines parallel to sidelines are termed Inbound Lines. The end lines and the sidelines are also termed Boundary Lines.
ARTICLE 2. FIELD.
The Field includes the Field of Play and the End Zones. The Field will be rimmed by a solid white border a minimum of 6 feet wide
along the end lines and sidelines. An additional broken limit line 6 feet further outside this border is to encompass the Field in the
non-bench areas, and such broken line will be continued at an angle from each 32-yard line and pass behind the bench areas (all
benches a minimum 30 feet back from the sidelines). In addition, within each bench area, a yellow line 6 feet behind the solid
white border will delineate a special area for coaches, behind which all players, except one player charting the game, must remain.
If a club’s solid white border is a minimum of 12 feet wide, there is no requirement that the broken restraining line also be added
in the non-bench areas. However, the appropriate yellow line described above must be clearly marked within the bench areas.
In special circumstances (for example, an artificial surface in a multi-purpose stadium) and subject to prior approval from the
League Office, a club may omit the 6-foot solid white border during the preseason or later period while football overlaps with
another sport, and substitute a single 4-inch white line at what normally would be the outer limit of the solid border (6 feet from the
sidelines).

SECTION 2          MARKINGS
ARTICLE 1. LINE MARKINGS. At intervals of 5 yards, yard lines (3-12-9) parallel to the goal lines shall be marked in the field of
play. These lines are to stop 8 inches short of the 6-foot solid border. The 4-inch wide yard lines are to be extended 4 inches
beyond the white 6-foot border along the sidelines. Each of these lines shall be intersected at right angles by short lines 70 feet,
9 inches long (23 yards, 1 foot, 9 inches) in from each side to indicate inbound lines.
ARTICLE 2. INBOUND LINES. In line with the Inbound Lines there shall be marks at 1-yard intervals between each distance of
5 yards for the full length of the field. These lines are to begin 8 inches from the 6-foot solid border and are to measure 2 feet in
length.
Bottoms of numbers indicating yard lines in multiples of 10 must be placed beginning 12 yards in from each sideline. These are
to be 2 yards in length.
Two yards from the middle of each goal line and parallel to it, there shall be marked in the Field of Play, lines 1 yard in length.
All boundary lines, goal lines, and marked lines are to be continuous lines. These, and any other specified markings, must be in
white, and there shall be no exceptions without the authorization of the Commissioner. Field numerals must also be white.
Care must be exercised in any end-zone marking or decoration or club identification at the 50-yard line that said marking or
decorations do not in any way cause confusion as to delineation of goal lines, sidelines, and end lines. Such markings or
decorations must be approved by the Commissioner.
The four intersections of goal lines and sidelines must be marked, at inside corners, by weighted pylons. In addition, two such
pylons shall be placed on each end line (four in all).
ARTICLE 3. GOAL LINE. All measurements are to be made from the inside edges of the line marking the boundary lines. Each
goal line marking is to be in its end zone so that the edge of the line toward the field of play (actual goal line) is 30 feet from the
inside edge of the end line. Each goal line is to be eight inches wide.
All lines are to be marked with a material that is not injurious to eyes or skin. It is desirable that the yard line markers be flexible
in order to prevent injury. No benches or rigid fixtures should be nearer than 10 yards from sidelines.
ARTICLE 4. GROUND RULES. In League parks where ground rules are necessary, because of fixed conditions that cannot be
changed, they will be made by the Commissioner.

SECTION 3          GOAL
ARTICLE 1. CROSSBAR. In the plane of each end line, there shall be a centrally placed horizontal crossbar 18 feet, 6 inches in
length, the top face of which is 10 feet above the ground. The goal is the vertical plane extending indefinitely above the crossbar
and between the lines indicated by the outer edges of the goal posts.
ARTICLE 2. GOAL POSTS. All goal posts will be the single-standard type, offset from the end line and bright gold in color. The
uprights will extend 35 feet above the crossbar and will be no less than 3 inches and no more than 4 inches in diameter. An
orange-colored ribbon 4 inches by 42 inches is to be attached to the top of each post.
    Note: Goal posts must be padded in a manner prescribed by the League.

SECTION 4          PLAYERS’ BENCHES
At the option of the home team, both the players’ benches may be located on the same side of the field. In such a case, the end
of each bench shall start at the 45-yard line and continue towards the adjacent goal line.


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                                                       Rule 1, Section 4
    Note: When both benches are so located, the chain crew and linespersons are to operate during the entire game on the
    opposite side to the benches.

SECTION 5        CHAIN CREW AND BALL BOYS/GIRLS
Members of the chain crew and the ball boys/girls must be uniformly identifiable as specified by the Commissioner. White shirts
are to be worn by members of the chain crew.

SECTION 6        SIDELINE MARKERS
The home club must provide and use the standard set of sideline markers that have been approved by the Commissioner.




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                                                  RULE 2              THE BALL
SECTION 1         DIMENSIONS
The Ball must be a “Wilson,” hand selected, bearing the signature of the Commissioner of the League, Roger Goodell.
The ball shall be made up of an inflated (12½ to 13½ pounds) urethane bladder enclosed in a pebble grained, leather case (natural
tan color) without corrugations of any kind. It shall have the form of a prolate spheroid and the size and weight shall be: long axis,
11 to 11¼ inches; long circumference, 28 to 28½ inches; short circumference, 21 to 21¼ inches; weight, 14 to 15 ounces.
The Referee shall be the sole judge as to whether all balls offered for play comply with these specifications. A pump is to be
furnished by the home club, and the balls shall remain under the supervision of the Referee until they are delivered to the ball
attendant just prior to the start of the game.

SECTION 2         SUPPLY
Each team will make 12 primary and 12 backup balls available for testing by the Referee no later than two hours and 30 minutes
prior to the starting time of the game to meet League requirements. For all games, six new footballs, sealed in a special box and
shipped by the manufacturer to the Referee, will be opened in the officials’ locker room two hours and 15 minutes prior to the
starting time of the game. These balls are to be specially marked by the Referee and used exclusively for the kicking game.
In the event a home team ball does not conform to specifications, or its supply is exhausted, the Referee shall secure a proper
ball from the visitors and, failing that, use the best available ball. Any such circumstances must be reported to the Commissioner.
In case of rain or a wet, muddy, or slippery field, a playable ball shall be used at the request of the offensive team’s center.
The Game Clock shall not stop for such action (unless undue delay occurs).
    Note: It is the responsibility of the home team to furnish playable balls at all times by attendants from either side of the playing
    field.




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                                                 RULE 3             DEFINITIONS
SECTION 1          APPROVED RULING (A.R.)
An Approved Ruling (A.R.) is a written decision on a given statement of facts and serves to illustrate the intent and application of
a rule. Supplemental notes are used to amplify a rule. A Note is more specific and applies to a particular situation. It is also used
to indicate pertinent references to other rules.
An Official Ruling (O.R.) is a ruling made in the interim between the annual rules meetings and is official only during the current
season.
Technical Terms are such terms that have a fixed and defined meaning throughout the Playing Rules. Because of their alphabetical
arrangement in Rule 3, certain ones are used prior to being defined. In such cases, they appear in bold type only the first time
they are used.

SECTION 2          THE BALL AND POSSESSION OF THE BALL
ARTICLE 1. DEAD BALL. A Dead Ball is one that is not in play. The time period during which the ball is dead is Between Downs.
This includes the interval during all timeouts, including intermission, and from the time the ball becomes dead until it is legally put
in play.
ARTICLE 2. BALL READY FOR PLAY. A Dead Ball is Ready for Play while the 40-second Play Clock is running when the ball
is placed down by an official at the spot where the ball will next be put in play, or when the Referee signals for the 25-second Play
Clock to start.
ARTICLE 3. LIVE BALL. A Live Ball is a ball that is in play. A Dead Ball becomes a live ball when it is:
(a) legally kicked on a Free Kick Down (6-1-1; 6-1–3);
(b) legally snapped on a Scrimmage Down (7-1-1; 7-3–6); or
(c) legally kicked on a Fair Catch Kick Down.
It continues in play until the down ends (3-9-1).
ARTICLE 4. LOOSE BALL. A Loose Ball is a live ball that is not in player possession, i.e., any ball that has been kicked, passed,
or fumbled. A Loose Ball is considered to be in possession of the team (offense) whose player kicked, passed, or fumbled it. It is
a Loose Ball until a player secures possession or until the ball becomes dead. If it has not yet struck the ground, a Loose Ball is
In Flight.
ARTICLE 5. FUMBLE. A Fumble is any act, other than passing, successful handing, or legally kicking the ball, which results in a
loss of player possession. It is not a fumble if the player immediately regains control of the ball. The use of the term Fumble always
means that the ball was in possession of a player when the act occurred (8-7-3).
      Note: An intentional fumble that causes the ball to go forward is a forward pass and may be illegal (8-1-1-Pen. a–c).
ARTICLE 6. MUFF. A Muff is the touching of a loose ball by a player in an unsuccessful attempt to obtain possession of it.
      Note: Any ball intentionally muffed forward is a bat and may be a foul (3-3; 12-5-1; 3-15).
Touching the Ball refers to any contact with the ball. There is no distinction between a player touching the ball with his hands, or
with any other part of his body, except as specifically provided for (9-2-2).
      Note: The result of the touching is sometimes influenced by the intent or the location.
(a) See 6-1-4 and 6-2-4 for touching a free kick.
(b) See 6-2-3 for touching a free kick before it goes out of bounds between the goal lines.
(c) See 8-1-8 for ineligible offensive player touching a forward pass on, behind, or beyond the line.
(d) See 9-2-1, 9-3-1 for touching a scrimmage kick on or behind the line, and also 9-2-4 for being pushed into a kick by an
    opponent.
(e) See 11-4-2 for touching a kick during an attempted field goal.
(f) Simultaneous touching by two opponents in an attempt to establish possession of a ball that has been kicked is treated as a
    first touch by the kicking team.
ARTICLE 7. PLAYER POSSESSION.
A player is in possession when he is inbounds and has control of the ball with his hands or arms.
To gain possession of a loose ball that has been caught, intercepted, or recovered, a player (a) must have complete control of the
ball with his hands or arms and (b) have both feet or any other part of his body, other than his hands, completely on the ground
inbounds, and, after (a) and (b) have been fulfilled, perform any act common to the game (e.g., tuck the ball away, extend it
forward, take an additional step, turn upfield, or avoid or ward off an opponent). It is not necessary that he commit such an act,
provided that he maintains control of the ball long enough to do so. This rule applies in the field of play, at the sideline, and in the
end zone.
      Notes:
      (1) Movement of the ball does not automatically result in loss of control.
      (2) If a player who has completed the first two, but not the third requirement for possession, contacts the ground and loses
          control of the ball, there is no possession if the ball hits the ground before he regains control, or if he regains control out
          of bounds. If a player would have caught, intercepted, or recovered a ball inbounds, but is carried out of bounds, player
          possession will be granted (8-1-3-Note 5).
The terms catch, intercept, recover, advance, and fumble denote player possession (as distinguished from touching or muffing).

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                                                            Rule 3, Section 2
A catch is made when a player inbounds secures possession of a pass, kick, or fumble that is in flight. An interception is made
when an opponent who is inbounds catches a forward or backward pass or a fumble that has not touched the ground.
    Notes:
    (1) It is a catch, or an interception, if, in the process of attempting to possess the ball, a player secures control of the ball
        prior to it touching the ground, and that control is maintained during and after the ball has touched the ground.
    (2) In the field of play, if a catch or interception has been completed, and the ball comes loose before the player is down by
        contact, it is a fumble, and the ball remains alive. It is also a fumble if the action occurs in the end zone of the player who
        caught the loose ball. If the action occurs in the opponent’s end zone, it is a touchdown or a touchback.
    (3) If there is any question by the covering official(s) as to whether a forward pass is complete, intercepted, or incomplete, it
        always will be ruled incomplete.
A recovery is made when a player inbounds secures possession of a loose ball after it has touched the ground.

If a Loose Ball is controlled simultaneously by two opponents, and both players retain it, it is simultaneous possession, and the
ball belongs to the team last in possession, or to the receiving team when there has been a Free Kick, Scrimmage Kick, or Fair
Catch Kick. It is not simultaneous possession if a player gains control first and an opponent subsequently gains joint control.

SECTION 3           BAT
A Bat is the intentional striking of the ball with any part of the hand or arm. See 12-5-1.

SECTION 4          BLOCKING
Blocking is the act of obstructing or impeding an opponent by contacting him with a part of the blocker’s body.
A Block in the Back is a block that is delivered from behind an opponent above his waist. It is not a block in the back:
(a) if a player is making a personal attempt to recover a loose ball;
(b) if the opponent turns away from the blocker when contact is imminent;
(c) if both of the blocker’s hands are on the opponent’s side. (If either hand is on the back, it is a foul.)
A Block Below the Waist is when the initial contact with any part of the blocker’s body is below the waist of an opponent, other
than the runner, who has one or both feet on the ground. A blocker who makes contact above the waist and then slides below the
waist has not blocked below the waist. If an opponent uses his hands to ward off a block creating contact below the waist, it is not
a block below the waist.

SECTION 5         CHUCKING
Chucking is intentionally contacting an eligible receiver who is in front of a defender. (See 12-1-5-d-exc. 1).

SECTION 6          CLIPPING
Clipping is blocking an opponent from behind below the waist, provided the opponent is not a runner. It is not clipping if an opponent
turns his back as the block is delivered or about to be delivered.
    Notes:
    (1) It is clipping (including in close line play) if an offensive player’s block (legal or illegal) is followed by the blocker rolling
        up on the side or back of the legs of the defender.
    (2) See 12-2-1 for additional interpretations or restrictions concerning clipping in close-line play.

SECTION 7          CLOSE-LINE PLAY
Close-Line Play is contact that occurs in an area extending between the outside edges of the normal tackle positions and three
yards on either side of the line of scrimmage.

SECTION 8         DISQUALIFIED PLAYER
A Disqualified Player is one who is prohibited from further participation in the game. He must return to his dressing room within a
reasonable period of time and is not permitted to reappear in his team uniform or return to any area other than to which spectators
have access.

SECTION 9     DOWN
ARTICLE 1. DOWN. A Down is a period of action that starts when the ball is put in play (3-2-3) and ends when the ball is declared
dead (7-2-1).
A down that starts with a snap is a Scrimmage Down (3-30).
A down that starts with a free kick is a Free Kick Down (6-1-1).
A down that starts with a fair catch kick is a Fair Catch Kick Down (10-2-4-a; 11-4-3).
ARTICLE 2. SERIES OF DOWNS. A Series of Downs is the four consecutive charged scrimmage downs allotted to the offensive
team during which it must advance the ball to a yard line called “the line to gain” in order to retain possession.
ARTICLE 3. LINE TO GAIN. The Line to Gain is the spot 10 yards in advance of the spot of the snap that starts a series, except
when a goal line is less than 10 yards from this spot. In that case, the Line to Gain is the goal line.
ARTICLE 4. CHARGED DOWN. A Charged Down is a scrimmage down that is not nullified by a penalty, or during which there
is not a change of possession. It counts as a down in a Series of Downs.


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                                                          Rule 3, Section 9
ARTICLE 5. FIRST DOWN. The initial down in each series is the First Down. If it is a charged down, subsequent charged downs
are numbered consecutively (i.e., second down, third down, or fourth down) until a new series is declared for either team (7-3).

SECTION 10            FAIR CATCH
A Fair Catch is an unhindered catch of a scrimmage kick (provided that it has crossed the line of scrimmage), or of a free kick,
that is in flight by a player of the receiving team who has legally signaled his intention of attempting such a catch (10-2-1).
    Note: For fair-catch kick, see 11-4-3.

SECTION 11       FIELD GOAL
A Field Goal is made by kicking the ball from the field of play through the plane of the opponents’ Goal, which is an area either
between the goal posts and above the cross bar, or, if above the goal posts, between the outside edges of the goal posts. A Field
Goal is made by a drop kick or a place kick from (a) on or behind the line on a play from scrimmage or (b) during a fair catch kick.
See 11-4-3; 3-18-1-Item 1–2; and 10-2-4-a.

SECTION 12      THE FIELD
ARTICLE 1. BOUNDARY LINES. The Boundary Lines are the End Lines and the Sidelines and enclose the field upon which the
game is played.
ARTICLE 2. END LINES. The End Lines are the lines at each end of the field and are perpendicular to the Sidelines. The End
Line is 10 yards from the Goal Line and at the back of the End Zone.
ARTICLE 3. END ZONE. The End Zone is the rectangle formed by the Goal Line, the End Line, and the Sidelines. The Goal Line
and the pylons are in the End Zone.
ARTICLE 4. FIELD OF PLAY. The Field of Play is the rectangle formed by the Goal Lines and the Sidelines. It does not include
the End Zone.
ARTICLE 5. GOAL. The goal is the area above the crossbar between the uprights, or, if above the uprights, the area between
the outside edges of the uprights. A team’s Own Goal is the one it is defending. The adjacent goal line is known as its goal line.
ARTICLE 6. GOAL LINES. The Goal Lines are the lines between the Sidelines that separate the End Zone from the field of play.
The Goal Lines are vertical planes that are parallel to and 10 yards from the End Lines.
ARTICLE 7. INBOUNDS LINES. The Inbounds Lines are hash marks on the Field of Play that are 70 feet nine inches from and
parallel to each sideline.
ARTICLE 8. SIDELINES. The Sidelines are the lines on each side of the field and are perpendicular to the End Lines. The
Sidelines separate the Field of Play from the area that is out of bounds.
ARTICLE 9. YARD LINE. A Yard Line is any line and its vertical plane parallel to the end line. The Yard Lines (marked or
unmarked) in the field of play are named by number in yards from a team’s goal line to the center of the field.
    Note: The yard line 19 yards from Team A’s goal line is called A’s 19-yard line. The yard line 51 yards from A’s goal line is
    called B’s 49-yard line. For brevity, these are referred to as A’s 19 and B’s 49 or A19 and B49.

SECTION 13       FORWARD PROGRESS
ARTICLE 1. FORWARD PROGRESS. The Forward Progress of a runner or airborne receiver is the point at which his advance
toward his opponent’s goal ends and is the spot at which the ball is declared dead by rule, irrespective of the runner or receiver
being pushed or carried backward by an opponent.
ARTICLE 2. FORWARD, BEYOND, OR IN ADVANCE. Forward, Beyond, or In Advance Of are terms that designate a point
nearer the goal line of the defense. Backward or Behind designate a point nearer the goal line of the offense. A pass parallel to a
yard line, or an offensive player moving parallel to it at the snap, is considered backward.

SECTION 14    FOULS AND SPOTS OF ENFORCEMENT, VIOLATION
ARTICLE 1. TYPES OF FOULS. A Foul is any infraction of a playing rule for which a penalty is prescribed.
(a) A Live Ball Foul is a foul that occurs during the period after the snap until the ball is dead.
(b) A Dead Ball Foul is a foul that occurs in the continuing action after a down ends, or a taunting foul that occurs at any time.
(c) A Foul Between Downs is a foul that occurs after the end of the down and after any continuing action resulting from the down,
    but prior to the next snap or free kick.
(d) A Multiple Foul is one of two or more fouls by the same team during the same down (14-1-3), including dead ball fouls.
(e) A Double Foul is a foul by either team during the same down during which both teams commit at least one foul, including
    dead ball fouls.
ARTICLE 2. BASIC SPOT. The Basic Spot is a reference point for specific types of plays that is used to determine the Spot of
Enforcement.
ARTICLE 3. SPOTS OF ENFORCEMENT. The Spot of Enforcement is the spot at which a penalty is enforced. Six such spots
are commonly used:
(a) The Previous Spot: The spot at which the ball was last put in play.
(b) The Spot of the Foul: The spot at which a foul was committed or, by rule, is considered to have been committed.
(c) The Spot of a Backward Pass or a Fumble: The spot at which the backward pass or fumble occurred during the down in which
    there was a foul.
(d) The Dead Ball Spot: The spot at which the ball became dead.

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                                                           Rule 3, Section 14
(e) The Succeeding Spot: The spot at which the ball will next be put in play (i.e., the spot of the ball after enforcement for a foul,
    or, if there has been no foul, the spot at which the ball became dead.)
(f) The Spot of a Change of Possession: The spot at which possession is gained by or awarded to the opponent.
ARTICLE 4. VIOLATION. A violation is an infraction of a playing rule for which a penalty is not prescribed. A violation does not
offset a foul.

SECTION 15         HANDING THE BALL
Handing the ball is transferring player possession from one teammate to another without passing or kicking it.
(a) Except where permitted by rule, handing the ball forward to a teammate is illegal.
(b) Loss of player possession by unsuccessful execution of attempted handing is a fumble charged to the player that last had
    possession. A muffed handoff (legal or illegal) is a fumble, and the ball remains alive.
(c) A forward handoff occurs when the ball is handed (regardless of the direction of the movement of the ball) to a player who is
    in advance of a teammate from whose hands he takes or receives it.

SECTION 16         HUDDLE
A Huddle is the action of two or more players in the field of play or in the end zone who, instead of assuming their normal position
for the snap, free kick, or Fair Catch kick form a group for receiving instructions for the next play or for any other reason.

SECTION 17          IMPETUS
Impetus is the action of a player who carries the ball or provides the force (i.e., a pass, kick, snap, or fumble) that causes a ball in
the field of play to touch or cross a goal line. If a Loose Ball touches or crosses a goal line, the impetus is attributed to the team
whose player passed, kicked, snapped, or fumbled the ball, unless an opponent:
(a)   muffs a ball that is at rest, or nearly at rest;
(b)   bats a ball that has been kicked or fumbled;
(c)   bats a backward pass after it has struck the ground; or
(d)   illegally kicks any ball (12-5-2).
      Note:
      (1) The impetus is always attributed to the offense, unless the defense creates a new force that sends the ball behind its
          own goal line by muffing a ball which is at rest or nearly at rest, or by batting a loose ball on the ground or kicking any
          loose ball.
      (2) If a passive player is pushed or blocked into any kicked or fumbled ball or into a backward pass after it has struck the
          ground, causing the Loose Ball to touch a goal line or anything on or behind a goal line, the impetus is attributed to the
          pusher or blocker, provided that the pushed (blocked) player was not making an attempt to block an opponent.

SECTION 18      KICKS
ARTICLE 1. KICK. A Kick is intentionally striking the ball with the knee, lower leg, or foot. A kick ends when a player of either
team possesses the ball, or when the ball is dead.
Item 1. Drop Kick. A Drop Kick is a kick by a player who drops the ball and kicks it as, or immediately after, it touches the ground.
Item 2. Placekick. A Placekick is a kick made by a player while the ball is in a fixed position on the ground. The ball may be held
in position by a teammate. If it is a kickoff, it is permissible to use an approved manufactured tee.
Item 3. Punt. A Punt is a kick made by a player who drops the ball and kicks it before it strikes the ground.
ARTICLE 2. KICKER. A Kicker is the player of Team A who legally drop kicks, placekicks, or punts the ball. Team A is identified
as the kickers during a down in which there is a scrimmage kick, free kick, or fair catch kick.
ARTICLE 3. RECEIVER. A Receiver is any Team B player during a down in which there is a scrimmage kick, free kick, or fair
catch kick. Team B is identified as the receiving team during the entire down.
ARTICLE 4. FAIR CATCH KICK. A Fair Catch Kick is a drop kick or placekick without a tee from the spot of a Fair Catch in an
attempt to score a Field Goal.
ARTICLE 5. FREE KICK. A Free Kick is a kickoff or safety kick that puts the ball in play to start a Free Kick down.
Item 1. Kickoff. A Kickoff is a kick that puts the ball in play at the start of each half, at the start of overtime, after each Try, and
after a successful field goal.
Item 2. Safety Kick. A Safety Kick is a kick that puts the ball in play after a safety.
ARTICLE 6. RESTRAINING LINES. The Restraining Lines are lines which restrict the alignment of the kicking and receiving
teams during a Free Kick and Fair Catch Kick.
ARTICLE 7. SCRIMMAGE KICK. A Scrimmage Kick is a punt, drop kick, or placekick from on or behind the line of scrimmage.
ARTICLE 8. TEE. A Tee is an approved device that is used to elevate the ball for a placekick during a free kick down.

SECTION 19          LINE OF SCRIMMAGE, NEUTRAL ZONE
ARTICLE 1. SCRIMMAGE LINE. The Line of Scrimmage is the vertical plane of the yard line that passes through the forward
point of the ball after it has been made ready for play. The term scrimmage line, or line, implies a play from scrimmage.
ARTICLE 2. NEUTRAL ZONE. The Neutral Zone is the space between the forward and backward points of the ball (planes) and
extends to the sidelines. It starts when the ball is ready for play (See Neutral Zone Infraction, 7-4-4).

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                                                             Rule 3, Section 19
ARTICLE 3. PLAYER ON LINE OF SCRIMMAGE. A player of Team A, who is on the line of scrimmage, must have his shoulders
facing Team B’s goal line.
Item 1. Non-Snapper. If he is not the snapper, no part of his body is permitted to be in the neutral zone at the snap, and his
helmet must break a vertical plane that passes through the beltline of the snapper.
Item 2. Snapper. If he is the snapper, no part of his body may be beyond the Neutral Zone.
    Note: Interlocking of legs is permissible.
Item 3. Team B. A Team B player in a three-point or four-point stance is considered to be on the line of scrimmage if he is within
one yard of the neutral zone. A Team B player in a two-point stance is considered to be on the line if any part of his body is
breaking the vertical plane that passes through the feet of the deepest down lineman.

ARTICLE 4. ENCROACHING. A player is encroaching (7-4-3) on the Neutral Zone when any part of his body is in it and he
contacts an offensive player or the ball prior to the snap.
ARTICLE 5. LOOSE BALL CROSSES LINE OF SCRIMMAGE. A Loose Ball has crossed the line of scrimmage when, as the
result of a fumble, pass, or legal kick by a Team A player, it touches the ground or any player or official beyond the neutral zone.

SECTION 20         OFFSIDE
A player is Offside when any part of his body or his person is in the Neutral Zone, or is beyond his free kick line, or fair catch kick
line when the ball is put in play, unless he is a holder of a placekick for a free kick (6-1-3-b-1) or fair catch kick (11-4-3), or a kicker
(6-1-3-b-2). The snapper is offside if any part of his body is beyond the neutral zone. The kicker is not offside unless his kicking
foot is beyond his Restraining Line when the ball is kicked.

SECTION 21         OUT OF BOUNDS, INBOUNDS, AND INBOUNDS SPOT
ARTICLE 1. PLAYER OR OFFICIAL OUT OF BOUNDS. A player or an Official is Out of Bounds when he touches a boundary
line, or when he touches anything that is on or outside a boundary line, except a player, an official, or a pylon.
ARTICLE 2. PLAYER INBOUNDS. A player who has been out of bounds re-establishes himself as an inbounds player when
both feet, or any part of his body other than his hands, touch the ground within the boundary lines, provided that no part of his
body is touching a boundary line or anything other than a player, an official, or a pylon on or outside a boundary line.
ARTICLE 3. BALL OUT OF BOUNDS.
Item 1. Ball in Player Possession. A ball that is in player possession is out of bounds when the runner is out of bounds, or when
the ball touches a boundary line or anything that is on or outside such line, except another player or an official.
Item 2. Loose Ball. A loose ball is out of bounds when it touches a boundary line or anything that is on or outside such line,
including a player, an official, or a pylon.
ARTICLE 4. OUT-OF-BOUNDS SPOT.
Item 1. Loose Ball. If a Loose Ball touches anything on or outside a boundary line, the Out-of-Bounds Spot is the forward point
of the ball when the ball crosses the sideline.
Item 2. Runner Out of Bounds. If the ball is in player possession when that player goes out of bounds, the out-of-bounds spot is
the forward point of the ball when the ball crosses the side line, or, if the ball does not cross the sideline, the forward point of the
ball at the instant the player is out of bounds.
Item 3. Runner Inbounds. If the ball, while in possession of a player who is inbounds, is declared out of bounds because of
touching anything that is out of bounds, the out-of-bounds spot is the yard line through the forward point of the ball at the instant
of such touching.
ARTICLE 5. INBOUNDS SPOT. The Inbounds Spot is a spot on the Inbounds Line (the hash marks) that passes through the
spot where the ball went out of bounds between the goal lines.

SECTION 22       PASS
ARTICLE 1. PASS. A pass is the movement caused by a player intentionally handing, throwing, shoveling (shovel pass), or
pushing (push pass) the ball (3-25-2). Such a movement is a pass even if the ball does not leave his hand or hands, provided a
teammate takes it (hand-to-hand pass).
ARTICLE 2. PASSER AND PASSING TEAM. A player who makes a legal forward pass is known as the Passer until the play
ends. The teammates of any player who passes the ball forward (legally or illegally) are known collectively as the Passing Team
or Passers.
ARTICLE 3. PASS PLAY. A Pass Play begins with the snap and ends when a forward pass thrown from behind the line of
scrimmage is caught by a player of either team or is incomplete. After the pass is caught, a Running Play begins.
ARTICLE 4. FORWARD PASS. It is a forward pass if:
(a) the ball initially moves forward (to a point nearer the opponent’s goal line) after leaving the passer’s hand(s); or
(b) the ball first touches the ground, a player, an official, or anything else at a point that is nearer the opponent’s goal line than
    the point at which the ball leaves the passer’s hand(s).
(c) When a Team A player is holding the ball to pass it forward, any intentional movement forward of his hand starts a forward
    pass.
Item 1. Contact by Team B Player. If a Team B player contacts the passer or the ball after forward movement begins, a forward
pass is ruled, regardless of where the ball strikes the ground or a player. When this occurs, intentional grounding rules do not
apply.
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                                                            Rule 3, Section 22
If a Team B player contacts the passer or the ball before forward movement begins, the direction of the pass is the responsibility
of the passer, and grounding rules apply.
Item 2. Passer Tucks Ball. If the player loses possession of the ball during an attempt to bring it back toward his body, or if the
player loses possession after he has tucked the ball into his body, it is a fumble.
Item 3. Passer re-cocks his arm. If the player loses possession of the ball while attempting to re-cock his arm, it is a fumble.
Item 4. Fumbled or Muffed Ball Goes Forward. The fact that a fumbled or muffed ball goes forward is disregarded, unless the
act is ruled intentional. If it is intentional, a fumbled ball that goes forward is a forward pass (8-1-1), and a muff is a bat (12-5-1).
ARTICLE 5. BACKWARD PASS. It is a Backward Pass if the yard line at which the ball is first touched by a player or the ground
is parallel to or behind the yard line at which the ball leaves the passer’s hand. A snap becomes a backward pass when the
snapper releases the ball.
    Note: If a pass is batted, muffed, punched, or kicked in any direction, its original designation as a Forward Pass or a Backward
    Pass does not change.

SECTION 23        PENALTY
ARTICLE 1. PENALTY. A Penalty is imposed upon a team that has committed a foul and may result in loss of down, loss of
yardage, an automatic first down, a charged timeout, a loss of playing time, withdrawal or disqualification of a player, extension of
a period, the award of a score, or a combination of the preceding.
ARTICLE 2. LOSS OF DOWN. The phrase Loss of Down indicates that a team committing a foul will not have the opportunity to
repeat the down after enforcement of any yardage penalty.

SECTION 24         PLAYER
A Player is a participant of either team who is in the game.

SECTION 25       PLAYS
ARTICLE 1. FREE KICK PLAY. A Free Kick Play begins with a legal or illegal free kick and ends when a player of either team
establishes possession of the ball, or when the ball is dead by rule. A Running Play begins when a player of Team B establishes
possession.
ARTICLE 2. PASSING PLAY. A Pass Play begins with the snap and ends when a forward pass thrown from behind the line of
scrimmage is caught by a player of either team or is incomplete. At the instant that a pass is caught, a Running Play begins.
ARTICLE 3. RUNNING PLAY. A Running Play begins in the following situations:
(a) If there is not a subsequent kick or legal or illegal forward pass from behind the line of scrimmage, a Running Play begins
    with the Snap.
(b) If there is a legal or illegal forward pass thrown from behind the line of scrimmage, a Running Play begins when the forward
    pass is caught by a player of either team.
(c) If there is a running play followed by an illegal forward pass thrown from beyond the line of scrimmage, or by an illegal forward
    pass not from scrimmage, a new Running Play begins when the pass is caught by a player of either team.
(d) If there is a Free Kick, a Running Play begins when Team B establishes possession of the ball.
(e) If there is a scrimmage kick, a Running Play begins when Team B establishes possession of the ball, or when Team A
    establishes possession of a kicked ball behind the line of scrimmage.
(f) If there is a running play followed by a fumble or a backward pass, a new Running Play begins when a player of either team
    establishes possession of the ball.
A Running Play ends:
(a) When the ball is declared dead;
(b) When a runner loses or relinquishes possession by a Fumble or a backward pass; or
(c) When a player of either team throws an illegal forward pass beyond the line of scrimmage or when there is not a line of
    scrimmage.
    Note: The running play includes the loose-ball action before a player gains or regains possession or the ball is declared dead.
ARTICLE 4. SCRIMMAGE KICK PLAY. A Scrimmage Kick Play begins with the snap. It ends when a player of either team
establishes possession of a kicked ball, or when the ball is dead by rule.
ARTICLE 5. COMBINATIONS OF PLAYS. There may be a combination of a Running Play and a Passing Play, Free Kick Play,
or Scrimmage Kick Play during the same down, and there may be more than one Running Play or Scrimmage Kick Play during
the same down.

SECTION 26       POCKET AREA
The Pocket Area is the area between the outside edges of the normal tackle positions on each side of the center extending
backward to the offensive team’s end line. After the ball leaves the pocket area, this area no longer exists.

SECTION 27         POST-POSSESSION FOUL
A foul by the receiving team is a post-possession foul if it occurs during a scrimmage kick that crosses the line of scrimmage,
provided that the receiving team does not lose possession during the rest of the down. See 9-5-1-Exc. 4.

SECTION 28        RUNNER
A Runner is the offensive player who is in possession of a live ball (3-2-7), i.e., holding the ball or carrying it in any direction.
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                                                            Rule 3, Section 28
      Note: The statement that a player may advance means that he may become a runner, make a legal kick (9-1-1), make a
      backward pass (8-7-1), or throw a forward pass (8-1-1) from behind the line of scrimmage.

SECTION 29           SAFETY
It is a Safety if the spot of enforcement for a foul by the offense is behind its own goal line, or if the ball is dead in possession of a
team on or behind its own goal line when the impetus (3-17) comes from the team defending that goal line.

SECTION 30        SCRIMMAGE DOWN, FROM SCRIMMAGE, NOT FROM SCRIMMAGE
A Scrimmage Down is one that starts with a snap (3-32). From Scrimmage refers to any action from the start of the snap until the
down ends or until Team B secures possession. Any action that occurs during the down after a change of team possession is Not
From Scrimmage.

SECTION 31         SHIFT
A Shift is any simultaneous change of position or stance by two or more offensive players before the snap after the ball has been
made ready for play for a scrimmage down, including movement to the line of scrimmage by the offensive team prior to the snap
(7-4-8).

SECTION 32          SNAP AND THE SNAPPER
A Snap is a backward pass that puts the ball in play to start a scrimmage down, either by handing it or passing it backward from
its position on the ground. The Snapper is the offensive player who initiates this action. See 7-6 for conditions pertaining to a legal
snap.

SECTION 33      SUSPENDED PLAYER
A Suspended Player is one who must be withdrawn, in accordance with Rule 5, for correction of illegal equipment (5-4).

SECTION 34        TACKLE BOX
The Tackle Box is an area between the outside edges of the normal tackle positions extending from three yards beyond the line
of scrimmage to the offensive team’s end line. After the ball leaves the tackle box, this area no longer exists.

SECTION 35         TACKLING
Tackling is an attempt by a defensive player to hold a runner to halt his advance or bring him to the ground.

SECTION 36        TEAM A AND B, OFFENSE AND DEFENSE
ARTICLE 1. OFFENSE AND DEFENSE. Whenever a team is in possession (3-2-7) of the ball, it is the Offense, and its opponent
is the Defense. The team that is the Offense becomes the Defense, and vice versa, when there is a change of possession during
the down.
ARTICLE 2. TEAM A AND TEAM B. The team that puts the ball in play is Team A, and its opponent is Team B. They remain
Team A and Team B until a down ends, even though there may be one or more changes of possession during the down. Team A
is always the Offense when a down starts, but becomes the Defense if Team B secures possession during the down. A player of
Team A is referred to as A1 and his teammates as A2, A3, etc. The opponents are B1, B2, etc.
ARTICLE 3. CHANGE OF POSSESSION. A change of possession occurs when a player of the defensive team secures
possession of a ball that has been kicked, passed, or fumbled by a player of the offensive team, or when the ball is awarded to
the opposing team by rule. A change of possession includes, but is not limited to:
(a)   An interception of a forward pass;
(b)   A catch or recovery of a fumble or backward pass;
(c)   A catch or recovery of a Scrimmage Kick, Free Kick, or Fair-Catch Kick;
(d)   When the offensive team fails to reach the line to gain on fourth down; or
(e)   When the offensive team misses a field-goal attempt

SECTION 37      TIMEOUT OR TIME IN
ARTICLE 1. TIMEOUT. A Timeout is any interval during which the Game Clock is stopped (4-4) and includes the intermission (4-
1-2 and 4-1-3).
During any timeout, including an intermission, all playing rules continue in effect. Representatives of either team are prohibited
from entering the field, unless they are incoming substitutes, or team attendants or trainers entering to provide for the welfare of
a player, and any game-type activities are prohibited on the Field of Play. The Head Coach may enter the field to check on the
welfare of a player who is injured, but no assistant coach may enter the field.
ARTICLE 2. CHARGED TEAM TIMEOUT. A Charged Team Timeout is an interval during which the Game Clock is stopped and
play is suspended at the request of one of the teams or when it is charged to one of the teams by rule. A Timeout may be granted
only when the ball is dead.
ARTICLE 3. TIME IN. Time In is any interval during which the Game Clock is running (4-3).

SECTION 38       TOUCHBACK
It is a Touchback if the ball is dead on or behind the goal line a team is defending, provided that the impetus comes from an
opponent, and that it is not a touchdown or an incomplete pass.



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                                                         Rule 3, Section 39
SECTION 39         TOUCHDOWN
It is a Touchdown if any part of the ball is on, above, or behind the opponent’s goal line while legally in possession of an inbounds
player, provided it is not a touchback.

SECTION 40         TRIPPING
Tripping is the use of the leg or foot to obstruct any opponent (including a runner) (12-1-4-c and 12-1-8).

SECTION 41        TRY
A Try is the attempt by a team that has scored a touchdown to add one point (by a field goal) or two points (by a touchdown)
during one untimed scrimmage down (11-3).

SECTION 42          TWO-MINUTE WARNING
The two-minute warning is an automatic timeout that occurs at the conclusion of the last down for which the ball is legally snapped
or kicked prior to two minutes remaining on the game clock in the second and fourth periods.




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                                               RULE 4             GAME TIMING
SECTION 1         PERIODS, INTERMISSIONS, HALFTIME
ARTICLE 1. LENGTH OF GAME. The length of the game is 60 minutes, divided into four periods of 15 minutes each. In the
event the score is tied at the end of four periods, the game is extended by an overtime period (or periods) as prescribed in Rule
16.
ARTICLE 2. INTERMISSIONS. There will be intervals of at least two minutes between the first and second periods (first half)
and between the third and fourth periods (second half). During these intermissions all playing rules continue in force, and no
representative of either team shall enter the field unless he is an incoming substitute, or a team attendant or trainer, entering to
see to the welfare of a player. The Head Coach may enter the field to check on the welfare of a player who is injured, but no
assistant coach may enter the field.
Penalty: For illegally entering the field: Loss of 15 yards from the succeeding spot (13-1-6-Pen.).
The Back Judge times the two-minute intermissions and shall sound the whistle (and signal visibly) after one minute and 50
seconds. The Referee shall sound the whistle immediately thereafter for play to start and for the play clock operator to start the
25-second clock. See 4-6-2.
ARTICLE 3. HALFTIME. Between the second and third periods, there shall be an intermission of 13 minutes. During this
intermission, play is suspended, and teams may leave the field. The Back Judge will time halftime. See 13-1-1 for fouls by non-
players between halves.
ARTICLE 4. OFFICIAL TIME. The stadium electric clock shall be the official time. The game clock operator shall start and stop
the clock upon the signal of any official in accordance with the rules. The Side Judge shall supervise the timing of the game, and
in case the stadium clock becomes inoperative, or if it is not being operated correctly, the Side Judge shall take over official
timing on the field.
    Note: Game officials can correct the game clock only before the next legal snap or kick, including an untimed down or try.

SECTION 2          STARTING A PERIOD OR HALF
ARTICLE 1. KICKOFF ON SCHEDULE. Both teams must be on the field to kick off at the scheduled time for the start of each
half. Prior to the start of the game, both teams are required to appear on the field at least 10 minutes prior to the scheduled
kickoff to ensure sufficient time for proper warm-up. Designated members of the officiating crew must notify both head coaches
personally of the scheduled time for kickoff prior to the start of each half.
Penalties:
(a) For delaying the start of a half: Loss of 15 yards from the spot of the kickoff as determined by 6-1-2-a.
(b) For failure to appear on the field at least 10 minutes prior to the scheduled kickoff of the first half: Loss of the coin-
    toss option for both halves and overtime, and loss of 15 yards from the spot of the kickoff.
ARTICLE 2. TOSS OF COIN. Not more than three minutes before the kickoff of the first half, the Referee, in the presence of
both team’s captains (limit of six per team, active, inactive or honorary) shall toss a coin at the center of the field. Prior to the
Referee’s toss, the call of “heads” or “tails” must be made by the captain of the visiting team, or by the captain designated by the
Referee if there is no home team. Unless the winner of the toss defers his choice to the second half, he must choose one of two
privileges, and the loser is given the other. The two privileges are:
(a) The opportunity to receive the kickoff, or to kick off; or
(b) The choice of goal his team will defend.
If the coin does not turn over in the air or the toss is compromised in any way, the Referee shall toss it again. The captain’s
original call may not be changed.

Penalty: For failure to comply: Loss of coin-toss option for both halves and overtime, and loss of 15 yards from the
spot of the kickoff for the first half only.
For the second half, the captain who lost the pregame toss is to have the first choice of the two privileges listed in (a) or (b),
unless one of the teams lost its first and second half options, or unless the winner of the pregame toss deferred his choice to the
second half, in which case he must choose (a) or (b) above. Immediately prior to the start of the second half, the captains of
both teams must inform the Referee of their respective choices.
A captain’s first choice from any alternative privileges listed above is final and not subject to change.
ARTICLE 3. CHANGE OF GOALS. At the end of the first and third periods, the teams must change goals. Team possession,
the number of the succeeding down, the relative position of the ball on the field of play, and the line to gain remain the same.

SECTION 3          STARTING THE GAME CLOCK
ARTICLE 1. FREE KICK DOWN. The game clock operator shall start the game clock (time in) after a free kick when the ball is
legally touched in the field of play. The game clock shall not start if:
(a) the receiving team recovers the ball in the end zone and does not carry the ball into the field of play;
(b) the kicking team recovers the ball in the field of play (prior to any other legal touching);
(c) the receiving team signals for and makes a fair catch
ARTICLE 2. SCRIMMAGE DOWN. Following any timeout (3-37-1), the game clock shall be started on a scrimmage down when
the ball is next snapped, except in the following situations:
(a) Whenever a runner goes out of bounds on a play from scrimmage, the game clock is started when an official spots the ball
     at the inbounds spot, and the Referee gives the signal to start the game clock, except that the clock will start on the snap:
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                                                               Rule 4, Section 3
      (1) after a change of possession;
      (2) after the two-minute warning of the first half; or
      (3) inside the last five minutes of the second half.
(b) If there is an injury timeout prior to the two-minute warning, the game clock is started as if the injury timeout had not
    occurred.
(c) If there is an excess team timeout after the two-minute warning, the game clock is started as if the excess timeout had not
    occurred.
(d) If there is a Referee’s timeout, the game clock is started as if the Referee’s timeout had not occurred.
(e) If the game clock is stopped after a down in which there was a foul by either team, following enforcement or declination of a
    penalty, the game clock will start as if the foul had not occurred, except that the clock will start on the snap if:
      (1) the foul occurs after the two-minute warning of the first half;
      (2) the foul occurs inside the last five minutes of the second half; or
      (3) a specific rule prescribes otherwise.
(f) If a fumble or backward pass by any player goes out of bounds, the game clock starts on the Referee’s signal that a ball
    has been returned to the field of play.
(g) When there is a 10-second runoff, the game clock starts when the Referee signals that the ball is ready for play.
(h) During the Try, which is an untimed down.
(i) When a specific rule prescribes otherwise.
ARTICLE 3. FAIR CATCH KICK DOWN. The game clock operator shall start the game clock for a fair-catch kick down when
the ball is kicked.

SECTION 4          STOPPING THE GAME CLOCK
The game clock operator shall stop the game clock (timeout) upon a signal by any official or upon the operator’s own positive
knowledge:
(a) at the end of a down in which there is a free kick or fair-catch kick;
(b) when the kicking team recovers a scrimmage kick beyond the line of scrimmage;
(c) when the ball is out of bounds;
(d) when the ball is dead on or behind a goal line;
(e) at the end of a down during which a foul occurs;
(f) when a forward pass is incomplete;
(g) at the time of a foul for which the ball remains dead or is dead immediately;
(h) when the Referee signals the two-minute warning for a half;
(i) when a down is completed during which or after there is a change of possession; or
(j) when any official signals a timeout for any other reason.
      Note: No extension of the automatic timeouts in this section shall be allowed unless any player requests a team timeout, or
      the Referee orders a team timeout or suspends play.

SECTION 5          TIMEOUTS
ARTICLE 1. CHARGED TEAM TIMEOUTS. The Referee shall suspend play while the ball is dead and declare a charged team
timeout upon the request for a timeout by the head coach or any player (not a substitute) to any official. If an assistant coach
signals for a timeout and it is inadvertently granted, the timeout will stand.
Item 1. Three Timeouts Allowed. A team is allowed three charged team timeouts during each half.
Item 2. Length of Timeouts. Charged team timeouts shall be two minutes in length, unless the timeout is not used by television
for a commercial break. Timeouts shall be 30 seconds in length when the designated number of television commercials have
been exhausted in a quarter, if it is a second charged team timeout in the same dead-ball period, or when the Referee so
indicates.
Item 3. Consecutive Team Timeouts. Each team may be granted a charged team timeout during the same dead-ball period,
but a second charged team timeout by either team during the same dead-ball period is prohibited. Such team timeouts may
follow a Referee’s timeout or any automatic timeouts.
Penalty: When a team is granted a second timeout during the same dead-ball period, or a timeout after exhausting its
three timeouts during a half: Loss of five yards.
      Note: If an attempt is made to call a timeout in such situations, the officials shall not grant it, and play will continue. A
      penalty shall be enforced only if the timeout is erroneously granted. After enforcement, all normal rules regarding the game
      and play clock will apply.
Item 4. Unsportsmanlike Conduct. An attempt to call an excess team timeout or to call a second timeout in the same dead-
ball period by Team B in an attempt to “freeze” a kicker, will be considered unsportsmanlike conduct and will subject the
offending team to a 15-yard penalty (See 12-3). This will apply to field goal or Try attempts.
      Note: If an attempt is made to call a timeout in such situations, the officials shall not grant a timeout; instead, play will
      continue, and a penalty will be called, with customary enforcement. If a timeout is inadvertently granted, the penalty shall
      also be enforced. See 12-3-1-w.
ARTICLE 2. INJURY TIMEOUTS. If an official determines a player to be injured, or if attendants from the bench come on the
field to assist an injured player, an injury timeout will be called by the Referee. If the ATC Spotter identifies a player for medical
attention, the rules pertaining to Injury Timeouts in Article 3 and Article 4 (c) apply.
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                                                          Rule 4, Section 5
ARTICLE 3. INJURY TIMEOUTS PRIOR TO TWO-MINUTE WARNING OF EITHER HALF. When an injury timeout is called,
the injured player must leave the game for the completion of one down. The player will be permitted to remain in the game if:
(a) either team calls a charged team timeout;
(b) the injury is the result of a foul by an opponent; or
(c) the period ends or the two-minute warning occurs before the next snap.
At the conclusion of an injury timeout, the game clock will start as if the injury timeout had not occurred. If either team takes, or
is charged with, a timeout, the clock will start on the snap.
ARTICLE 4. INJURY TIMEOUTS AFTER TWO-MINUTE WARNING OF EITHER HALF. After the two-minute warning of a
half, the following shall apply:
(a) If a team has not used its three charged team timeouts, the team of the injured player will be charged a team timeout,
     unless:
     (1) the injury is the result of a foul by an opponent; or
     (2) the injury occurs during a down in which there is a change of possession, a touchdown, a safety, a successful field
           goal, or an attempted Try.
(b) If a team has used its three charged team timeouts, an excess team timeout shall be called by the Referee, unless:
    (1) the injury is the result of a foul by an opponent; or
    (2) the injury occurs during a down in which there is a change of possession, a touchdown, a safety, a successful field
          goal, or an attempted Try.
(c) The player must leave the game for the completion of one down, unless:
    (1) the injury is the result of a foul by an opponent; or
    (2) either team calls a charged team timeout.
Penalty: For the second and each subsequent excess team timeout after the two-minute warning: Loss of five yards
from the succeeding spot for delay of the game.
    Notes:
    (1) No yardage penalty will be assessed for the first excess team timeout, but a 10-second runoff of the game clock may
        be applicable pursuant to Note 3 below. At the conclusion of an excess timeout taken while time is in, the game clock
        shall start with the ready-for-play signal. For any excess timeout charged to the defense, the play clock is reset to 40
        seconds.
    (2) If the Referee has already called an excess team timeout in that half for a team, any subsequent excess timeout for
        that team will result in a five-yard penalty. (Such penalty shall be considered a foul between downs and will not offset a
        foul or be part of a multiple foul.)
    (3) If an excess team timeout is charged against a team in possession of the ball, and time is in when the excess timeout
        is called, the ball shall not be put in play until the time on the game clock has been reduced by 10 seconds, if the
        defense so chooses.
    Supplemental Notes:
    (1) Either half can end as the result of the 10-second runoff referenced above.
    (2) If an injury timeout is called for both teams during or after a down, charged team timeouts and/or excess team timeouts
        are charged as appropriate, but no yardage or 10-second runoff penalties shall be enforced.
    (3) If a foul by either team occurs during a down in which there is also an injury, such foul does not affect the charging of
        an excess timeout, but it does prevent a 10-second runoff that may result from the excess timeout, because the foul
        stopped the clock.
    (4) The Competition Committee deprecates feigning injuries, with subsequent withdrawal, to obtain a timeout without
        penalty. Coaches are urged to cooperate in discouraging this practice.
    (5) There can never be a 10-second runoff against the defensive team.
    (6) See Rule 16 (Sudden-Death Procedures) for application to overtime games.
ARTICLE 5. REFEREE’S TIMEOUT. Provided that calling timeout is not in conflict with another rule, the Referee may suspend
play and stop the clock (Referee’s timeout) at any time without penalty to either team when playing time is being consumed
because of an unintentional delay. Such situations include, but are not limited to:
(a) when there is the possibility of a measurement for a first down, or if the Referee is consulting with a captain about one;
(b) when there is an undue pileup on the runner, or while determining possession after a fumble while time is in;
(c) when there is an undue delay by officials in spotting the ball for the next snap;
(d) if the snap is made before the officials can assume their positions. (See 4-6-5-b if it is a repeated act.);
(e) when there is an injury to an official or member of the chain crew;
(f) during an officials’ conference; or
(g) while repairing or replacing game equipment, except player equipment.
After a Referee’s timeout, the game clock will start pursuant to Rule 4, Section 3, as if the Referee’s timeout had not occurred.
The time remaining on the play clock shall be the same as when it stopped. See Rule 4, Section 6, Article 3.

SECTION 6          DELAY OF GAME
ARTICLE 1. 40-SECOND PLAY CLOCK. It is a delay of the game if the ball is not put in play by a snap within 40 seconds after
the start of the play clock. The play clock operator shall time the interval between plays upon signals from game officials. The
40-second interval starts when a play ends, unless Article 2 below applies.
ARTICLE 2. 25-SECOND PLAY CLOCK. In the event of certain administrative stoppages or other delays, a team will have 25
seconds, beginning with the Referee’s whistle, to put the ball in play next by a snap or a kick. Such stoppages include, but are
not limited to:
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                                                          Rule 4, Section 6
(a)   a change of possession;
(b)   a charged team timeout;
(c)   the two-minute warning;
(d)   the expiration of a period;
(e)   a penalty enforcement;
(f)   a Try; or
(g)   a Free Kick.
A 25-second interval will be used in these situations, even if the 40-second clock is already counting down.
      Note: Following a Try or successful field-goal attempt, unless there is a commercial break, the teams will have 40 seconds
      to align prior to the ball being made ready for play. When the 40 seconds have elapsed, the 25-second play clock will begin.
ARTICLE 3. INTERRUPTION OF PLAY CLOCK. If the play clock is stopped prior to the snap for any reason, after the
stoppage has concluded, the time remaining on the play clock shall be the same as when it stopped, unless:
(a) the stoppage has been for a charged team timeout, the two-minute warning, the expiration of a period, a penalty
    enforcement, or an Instant Replay challenge prior to the two-minute warning, in which case the play clock shall be reset to
    25 seconds;
(b) the stoppage has been for an Instant Replay review after the two-minute warning that results in a reversal, in which case
    the play clock shall be reset to 25 seconds;
(c) the stoppage has been for an excess timeout while time is in that is charged to the defense, in which case the play clock
    shall be reset to 40 seconds; or
(d) fewer than 10 seconds remain on the play clock, in which case it shall be reset to 10 seconds.
ARTICLE 4. BALL REMAINS DEAD. If the ball is not put in play within the applicable period, the Back Judge shall blow his
whistle for the foul, and the ball remains dead. See 14-4-1-Item 1.
ARTICLE 5. OTHER DELAY OF GAME FOULS. Other examples of action or inaction that are to be construed as delay of the
game include, but are not limited to:
(a) a player unnecessarily remains on a dead ball or on a runner who has been downed;
(b) the snapper repeatedly snaps the ball after the neutral zone is established and before all the officials have had a
    reasonable time to assume their positions (see 7-6-3-c);
(c) undue delay by either team in assembling after a timeout;
(d) a defensive player aligned in a stationary position within one yard of the line of scrimmage makes quick and abrupt actions
    that are not a part of normal defensive player movement and are an obvious attempt to cause an offensive player(s) to foul
    (false start). (The officials shall blow their whistles immediately.) If the defender is walking or running toward the line of
    scrimmage in an effort to time the snap, but stops abruptly because the snap is not made, it is not a foul for delay of game;
(e) spiking or throwing the ball in the field of play after a down has ended, except after a score;
(f) intentional contact with the football to delay the snap or the officials’ ability to make the ball ready for play; or
(g) when a timeout is erroneously granted. See 4-5-1-Note for enforcement.
Penalty: For delay of the game: Loss of five yards:
(a) from the succeeding spot if it occurs between downs. The ball remains dead; or
(b) from the previous spot if the ball was in play.

SECTION 7          ACTIONS TO CONSERVE TIME
ARTICLE 1. ILLEGAL ACTS. A team is not permitted to conserve time after the two-minute warning of either half by
committing any of these acts:
(a) a foul by either team that prevents the snap (i.e., false start, encroachment, etc.);
(b) intentional grounding;
(c) an illegal forward pass thrown from beyond the line of scrimmage;
(d) throwing a backward pass out of bounds;
(e) spiking or throwing the ball in the field of play after a down has ended, except after a touchdown; or
(f) any other intentional foul that causes the clock to stop.
Penalty: For Illegally Conserving Time: Loss of five yards unless a larger distance penalty is applicable.
When actions referred to above are committed by the offensive team while time is in, officials will run off 10 seconds from the
game clock before permitting the ball to be put in play on the ready-for-play signal. The game clock will start on the ready-for-
play signal unless another rule prescribes otherwise. If the offensive team has timeouts remaining, it will have the option of using
a timeout in lieu of a 10-second runoff, in which case the game clock will start on the snap after the timeout. The defense always
has the option to decline the 10-second runoff and have the yardage penalty enforced, but if the yardage penalty is declined, the
10-second runoff is also declined.
If the action is by the defense, the play clock will be reset to 40 seconds, and the game clock will start on the ready signal,
unless the offense chooses to have the clock start on the snap. If the defense has timeouts remaining, it will have the option of
using a timeout in lieu of the game clock being started.
      Notes:
      (1) Two successive delay penalties during the same down, is unsportsmanlike conduct (12-3-1-n). After enforcement of the
          15-yard penalty, the game clock shall start on the snap.
      (2) Certain acts of delay may involve stopping the game clock immediately. Repeated violations of the substitution rule to
          conserve time are unsportsmanlike conduct (12-3-1-m and 5-2).

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                                                             Rule 4, Section 7
ARTICLE 2. SUBSTITUTION VIOLATION AFTER TWO-MINUTE WARNING. After the two-minute warning of either half, if
there is a violation of the substitution rule while the ball is dead and time is in, in addition to the applicable yardage penalty for
illegal substitution, there will be a 10-second runoff pursuant to Article 1 above, unless it is obvious that the offensive team is not
attempting to conserve time.
Penalty: For Illegal Substitution: Loss of five yards (unless a larger distance penalty is applicable) and a 10-second
runoff.
ARTICLE 3. DEFENSIVE FOULS DURING LAST 40 SECONDS. In the last 40 seconds of either half, if there is a defensive
foul prior to the snap while time is in, the half will end, unless the defense has timeouts remaining, or the offense chooses to
have the Game Clock start on the snap.
ARTICLE 4. REPLAY REVIEW AFTER TWO-MINUTE WARNING OF EITHER HALF. If a replay review after the two-minute
warning of either half results in the on-field ruling being reversed and the correct ruling would not have stopped the game clock,
then the officials will run 10 seconds off the game clock before permitting the ball to be put in play on the ready-for-play signal.
The defense cannot decline the runoff, but either team can use a remaining timeout to prevent it.

SECTION 8     EXTENSION OF A PERIOD OR A HALF
ARTICLE 1. BALL IN PLAY. If time expires at the end of any period while the ball is in play, the period continues until the down
ends.
ARTICLE 2. PERIOD EXTENDED. At the election of the opponent, a period may be extended for one untimed down, if any of
the following occurs during a down during which time in the period expires:
(a) If there is a live-ball foul by the defensive team that is accepted, the offensive team may choose to extend the period by an
     untimed down after enforcement of the penalty. If the first or third period is not so extended, any accepted penalty is
     enforced before the start of the succeeding period.
(b) If there is a foul by the offense, there shall be no extension of the period. If the foul occurs on the last play of the half, a
     score by the offense is not counted. However, the period may be extended for an untimed down, upon the request of the
     defense, if the offensive team’s foul is for:
      (1) illegal touching of a kick;
      Note: The period may also be extended for a “first touching” violation.
      (2) fair-catch interference;
      (3) a palpably unfair act;
      (4) a personal foul or unsportsmanlike conduct foul committed during a down prior to a safety, an interception of a forward
            pass, the recovery of a backward pass or fumble, or the offensive team failing to reach the line to gain on fourth down;
            or
      (5) a foul by the kicking team prior to a player of the receiving team securing possession of the ball during a down in which
            there is a safety kick, a scrimmage kick, or a free kick.
(c)   If a touchdown is made on the last play of a period, the Try attempt shall be made (except during a sudden-death period, or
      if a touchdown is scored during a down in which time in the fourth period expires, and a successful Try would not affect the
      outcome of the game).
(d)   If no fair-catch signal is given and the kickers interfere with the receiver’s opportunity to catch a kick, the receiving team
      may extend the period by a down from scrimmage.
(e)   If a fair-catch is signaled and made, the receivers may choose to extend the period by a fair-catch kick down (10-2-4-a). If
      the first or third period is not so extended, the receivers may start the succeeding period by either a down from scrimmage
      or fair-catch kick (11-4-3).
(f)   If a fair catch is signaled and the kickers interfere with a receiver’s opportunity to catch a kick, the receiving team may
      extend the period by either a down from scrimmage or a fair-catch kick (10-2-4-a).
(g)   If a safety results from a foul during the last play of a half, the score counts. A safety kick is made if requested by the
      receivers.
(h)   If a double foul occurs during the last down of either half, the period shall be extended by an untimed down.
      Exceptions: The half is not extended if:
      (1) both fouls are dead-ball fouls
      (2) there is a major-minor double foul (“5 vs. 15”), and the major foul is by the offense, or if the major foul is a dead ball foul
          by the defense (see 14-5-1-Exc. 1.)
          Note: Dead ball, personal, unsportsmanlike conduct, or taunting fouls by either team at the end of a half are enforced
          on the ensuing kickoff (14-4-9-Exc. 1).
     (3) there is a double foul with a change of possession (“clean hands” rule, see 14-5-2) that does not involve a replay of the
           down. If a double foul occurs on the last play of the first or third periods, the period is not extended.
If the first or third period is extended for any reason, or if a touchdown occurs during the last play of such a period, any
additional play, including a Try attempt, shall be completed before the teams change goals.
If any period is extended for any reason, it shall continue until the completion of a down free from any foul specified in (a)
through (h) above.




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               RULE 5             PLAYERS, SUBSTITUTES, EQUIPMENT, GENERAL RULES
SECTION 1     PLAYERS
ARTICLE 1. NUMBER OF PLAYERS. The game is played by two teams of 11 players each.
If Team A has more than 11 players in its formation for more than three seconds, or if Team B has more than 11 players in its
formation and the snap is imminent, it is a foul. Once the ball is made ready for play, if either team has more than 11 players in
its formation prior to a free kick, it is also a foul. In these instances, game officials shall blow their whistles immediately and not
allow the snap or kick to occur.
Penalty: For more than 11 players in the formation prior to the snap or free kick: Loss of five yards from the
succeeding spot.
If a team has more than 11 players on the field of play or the end zone when a snap, free kick, or fair-catch kick is made, the ball
is in play, and it is a foul.
Penalty: For more than 11 players on the field of play or the end zone while the ball is in play: Loss of five yards from
the previous spot.
      Note: It is not a foul if a team has fewer than 11 players on the field of play or the end zone when a snap, free kick, or fair-
      catch kick is made.
ARTICLE 2. PLAYERS NUMBERED BY POSITION. All players must wear numerals on their jerseys in accordance with Rule
5, Section 4, Article 3, Item 3. Such numerals must be by playing position, as follows:
(a)   quarterbacks, punters, and placekickers: 1–19;
(b)   running backs and defensive backs: 20–49;
(c)   centers: 50–79;
(d)   offensive guards and tackles: 60–79;
(e)   wide receivers: 10–19 and 80–89;
(f)   tight ends and H-backs: 40–49 and 80–89;
(g)   defensive linemen: 50–79 and 90–99;
(h)   linebackers: 40–59 and 90–99.
If a player changes his position during his playing career in the NFL, and such change moves him from a position as an
ineligible pass receiver to that of an eligible pass receiver, or from a position as an eligible pass receiver to that of an ineligible
pass receiver, he must be issued an appropriate new jersey numeral. A change in jersey numeral is not required if the change is
from an ineligible position to another ineligible position, or from an eligible position to another eligible position, provided that the
player has participated at least one season at his position prior to the change.
Any request to wear a numeral for a special position not specified above (e.g., H-back) must be made to the Commissioner.
During the preseason period when playing rosters are larger, the League will allow duplication and other temporary deviations
from the numbering scheme specified above, but the rule must be adhered to for all players during the regular season and
postseason. Clubs must make numerals available to adhere to the rule, even if it requires returning to circulation a numeral that
has been retired or withheld for other reasons. See 5-3-1 for reporting a change of position.

SECTION 2          SUBSTITUTES AND WITHDRAWN PLAYERS
ARTICLE 1. NUMBER OF PLAYERS IN HUDDLE. There can never be more than 11 players in the offensive huddle while the
play clock is running. It is a foul, the whistle is blown immediately, and the ball remains dead. See 5-2-8-a.
ARTICLE 2. SUBSTITUTE BECOMES PLAYER. A substitute becomes a player when he:
(a) participates in at least one play (including a play negated by penalty prior to the snap or during the play)
(b) is on the field of play or the end zone when a snap, fair-catch kick, or free kick is made, or when a snap, fair-catch kick, or
    free kick is imminent.
A player becomes a substitute when he is withdrawn from the game and does not participate in at least one play. A play negated
by penalty prior to the snap or during the play counts as a missed play.
ARTICLE 3. LEGAL SUBSTITUTIONS. Any number of substitutes may enter the field of play or the end zone while the ball is
dead.
ARTICLE 4. ILLEGAL SUBSTITUTIONS. If a substitute enters the field of play or the end zone while the ball is in play, it is an
illegal substitution. If an illegal substitute interferes with the play, it may be a palpably unfair act (see 12-3-4).
ARTICLE 5. OFFENSIVE SUBSTITUTIONS. The following are applicable to any offensive substitute who is entering the game:
(a) He must move onto the field of play or the end zone as far as the inside of the field numerals prior to the snap to be a legal
    substitution. If he does not, and is on the field of play or end zone at the time of a legal snap, he is an illegal substitute.
(b) If he approaches the huddle and communicates with a teammate, he is required to participate in at least one play before
    being withdrawn. After a warning, subsequent violations of this rule shall be penalized for unsportsmanlike conduct. See 5-
    2-11.
      Note: The intent of the rule is to prevent teams from using simulated substitutions to confuse an opponent, while still
      permitting a player (or players) to enter and leave without participating in a play in certain situations, such as a change in a
      coaching decision on fourth down, even though he has approached the huddle and communicated with a teammate.
      Similarly, if a player who participated in the previous play leaves the playing field by mistake, and returns to the playing field
      prior to the snap, he is not required to reach the inside of the field numerals, provided the defense has the opportunity to

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                                                          Rule 5, Section 2
    match up with him. However, a substitute (i.e., someone who did not participate in the previous play) is required to reach
    the inside of the field numerals.
ARTICLE 6. WITHDRAWN PLAYERS. A player or players who have been replaced must leave the playing field or end zone on
their own team’s side between the end lines prior to the next snap, free kick, or fair-catch kick.
ARTICLE 7. DISQUALIFIED AND SUSPENDED PLAYERS. A player must be withdrawn and substituted for when he is
disqualified (12-2, 12-3) or suspended (5-4). A suspended player may re-enter after at least one legal snap, provided that the
reason for his suspension has been corrected. A disqualified player must leave the playing field enclosure and go to the team
locker room within a reasonable time.
ARTICLE 8. PENALTIES FOR ILLEGAL SUBSTITUTION OR WITHDRAWAL. Penalties are:
(a) For 12 or more players in the offensive huddle (whistle blown immediately and ball remains dead): Loss of five yards from
    the succeeding spot.
(b) For a substitute entering the field during a live ball: Loss of five yards.
(c) For interference with the play by a substitute who enters the field during a live ball: Palpably unfair act. See 12-3-3.
(d) For an offensive substitute who does not move onto the field as far as the inside of the field numerals: Loss of five yards
    from the previous spot.
(e) For a withdrawn player clearing the field on the opponents’ side or across an end line: Loss of five yards from the previous
    spot.
(f) For illegal return of a suspended player: Loss of five yards from the previous spot if discovery is made while the ball is in
    play, or five yards from the succeeding spot if discovered between downs, in which case the ball remains dead.
(g) For return of a disqualified player: Loss of 15 yards from the previous spot if discovery is made while the ball is in play, or
    15 yards from the succeeding spot if discovered between downs, in which case the ball remains dead, and, in either case,
    exclusion from the playing field enclosure.
    Note: If the illegal return of a player is not discovered until the end of a down, but prior to the start of the next one,
    enforcement is from the previous spot when definitely known. Otherwise, enforcement is from the succeeding spot as a foul
    between downs. See 14-4-9.
ARTICLE 9. PROCEDURE FOLLOWING TIMEOUT OR CHANGE OF POSSESSION. Following a timeout or change of
possession, the offense may huddle outside the numbers near its bench area, but will not be allowed to line up and snap the ball
before the defense has an opportunity to match personnel. If the offense snaps the ball before the defense has had an
opportunity to complete its substitutions, and a defensive foul for too many players on the field results, no penalties will be
enforced, except for personal fouls and unsportsmanlike conduct fouls, and the down will be replayed. At this time, the Referee
will notify the head coach that any further use of this tactic will result in a penalty for unsportsmanlike conduct.
Penalty: For Unsportsmanlike Conduct after a warning: Loss of 15 yards from the succeeding spot.
ARTICLE 10. DEFENSIVE MATCHUPS FOLLOWING SUBSTITUTIONS. If a substitution is made by the offense, the offense
shall not be permitted to snap the ball until the defense has been permitted to respond with its substitutions. While in the
process of a substitution (or simulated substitution), the offense is prohibited from rushing quickly to the line of scrimmage and
snapping the ball in an obvious attempt to cause a defensive foul (i.e., too many men on the field). If the offense substitutes, the
following procedure will apply:
(a) The Umpire will stand over the ball until the Referee deems that the defense has had a reasonable time to complete its
    substitutions.
(b) If the offense snaps the ball before the defense has had an opportunity to complete its substitutions, and a defensive foul
    for too many players on the field results, no penalties will be enforced, except for personal fouls and unsportsmanlike
    conduct, and the down will be replayed. At this time, the Referee will notify the head coach that any further use of this tactic
    will result in a penalty for unsportsmanlike conduct. The game clock will be reset to the time remaining when the snap
    occurred, and the clock will start on the snap.
    Note: The quick-snap rule does not apply after the two-minute warning of either half, or if there is not a substitution by the
    offense.
(c) On a fourth-down punting situation, the Referee and the Umpire will not allow a quick snap that prevents the defense from
    having a reasonable time to complete its substitutions. This applies throughout the entire game.
(d) If the play clock expires before the defense has completed its substitution, it is delay of game by the offense.
ARTICLE 11. UNSPORTSMANLIKE CONDUCT. Using entering substitutes, legally returning players, substitutes on sidelines,
or withdrawn players to confuse opponents, or lingering by players leaving the field when being replaced by a substitute, is
unsportsmanlike conduct. See 12-3-1-l. The offense is prevented from sending simulated substitutions onto the field toward its
huddle and returning them to the sideline without completing the substitution in an attempt to confuse the defense.
Penalty: For Unsportsmanlike Conduct: Loss of 15 yards from the succeeding spot.

SECTION 3        CHANGES IN POSITION
ARTICLE 1. REPORTING CHANGE OF POSITION. An offensive player wearing the number of an ineligible pass receiver (50–
79 and 90–99) is permitted to line up in the position of an eligible pass receiver (1–49 and 80–89), and an offensive player
wearing the number of an eligible pass receiver is permitted to line up in the position of an ineligible pass receiver, provided that
he immediately reports the change in his eligibility status to the Referee, who will inform the defensive team.
He must participate in such eligible or ineligible position as long as he is continuously in the game, but prior to each play he
must again report his status to the Referee, who will inform the defensive team. The game clock shall not be stopped, and the
ball shall not be put in play until the Referee takes his normal position.
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                                                          Rule 5, Section 3
    Note: An offensive player wearing the number of an eligible pass receiver who reports as ineligible must line up within the
    normal five-player core formed by ineligible players. The player cannot be more than two players removed from the middle
    player of a seven-player line.
ARTICLE 2. RETURNING TO ORIGINAL POSITION. A player who has reported a change in his eligibility status to the Referee
is permitted to return to a position indicated by the eligibility status of his number after:
(a) a team time out;
(b) the end of a quarter;
(c) the two-minute warning;
(d) a foul;
(e) a replay challenge;
(f) a touchdown;
(g) a completed kick from scrimmage;
(h) a change of possession; or
(i) if the player has been withdrawn for one legal snap. A player withdrawn for one legal snap may re-enter at a position
     indicated by the eligibility status of his number, unless he again reports to the Referee that he is assuming a position other
     than that designated by the eligibility status of his number.
Penalty: If a player fails to notify the Referee of a change in his status when required, or an offensive player with an
eligible number reports as ineligible and lines up outside the tackle box: Loss of five yards for illegal substitution.
ARTICLE 3. SPEAKERS IN HELMETS. The Coach-to-Player system allows a member of the coaching staff in the bench area
or the coaches’ booth to communicate to a designated offensive or defensive player with a speaker in his helmet. The
communication begins once a game official has signaled a down to be over, and is cut off when the play clock reaches 15
seconds or the ball is snapped, whichever occurs first.
Each offensive and defensive team is permitted no more than one player on the field with a speaker in his helmet. Each team is
permitted to have a maximum of three active radio receivers to be used on offense by its quarterbacks, and a maximum of three
active radio receivers to be used on defense by players who have been designated as a primary and backup users.
Clubs that have a player whose principal position is as a non-quarterback (e.g., wide receiver, running back) and who also is
used as a quarterback from time to time must have two helmets for that player—one with and one without radio components.
When a quarterback enters the game for the first time, or re-enters the game if he has previously been in the game and
removed, he must report to the Referee.
Whenever the backup defensive user enters or re-enters the game wearing a helmet with a speaker, he must report to the
Umpire. If the primary defensive user subsequently re-enters the game wearing a helmet with a speaker, he must report to the
Umpire. If the primary and backup players have been removed from the game, no other player may wear the radio speaker in
his helmet. Teams must use other methods to communicate signals to their players.
It is not necessary that the offensive player with the speaker in his helmet receive the snap.
For special teams’ plays, only one player per team with a receiver will be permitted on the field.
The coach-to-player system is not subject to the equity rule. In the event one club experiences a coach-to-player radio system
malfunction or failure, the other club does not have to shut down its system and may continue using it. However, if the coaches’
intercom system has been completely shut down on both sidelines pursuant to the equity rule, all coaches’ headsets must be
removed, and radio communications from the sidelines to the field must be conducted by walkie-talkie only.
All players that have radio components in their helmet must have a decal, supplied by the League, displayed on the midline of
the rear of the helmet. Players who have speakers in their helmets must be identified in the Communication System section of
the Game Day Administration Report that is submitted to the Referee or a member of his crew no later than one hour and 30
minutes prior to kickoff.
For additional requirements and policies pertaining to the system, including regulations for the storage of a backup helmet for a
non-quarterback who is used as a quarterback, or for the backup defensive player’s helmet, please refer to the Policy Manual for
Member Clubs/Game Operations.
Penalty: If a player fails to notify the Referee of a change in his status when required: Loss of five yards for illegal
substitution.

SECTION 4           EQUIPMENT, UNIFORMS, PLAYER APPEARANCE
ARTICLE 1. GENERAL POLICY. Throughout the game-day period while in view of the stadium and television audience,
including during team pregame warm-ups, all players must dress in a professional manner under the uniform standards. The
helmet and mandatory padding referenced in Article 3 below are intended to provide reasonable protection to a player while
reasonably avoiding risk of injury to other players. The development of Playing Rules should be governed by this Article. Players
generally must present an appearance that is appropriate to representing their individual clubs and the National Football
League. The term uniform, as used in this policy, applies to every piece of equipment worn by a player, including helmet,
shoulder pads, thigh pads, knee pads, and any other item of protective gear, and to every visible item of apparel, including but
not limited to pants, jerseys, wristbands, gloves, stockings, shoes, visible undergarments, and accessories such as headwear
worn under helmets and hand towels. All visible items worn on game day by players must be issued by the club or the League,
or, if from outside sources, must have approval in advance by the League office.
ARTICLE 2. MANDATORY EQUIPMENT, APPAREL. Pursuant to the official colors established for each NFL club in the
League Constitution and Bylaws, playing squads are permitted to wear only those colors or a combination of those colors for
helmets, jerseys, pants, and stockings; provided that white is also an available color for jerseys and mandatory color for the
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lower portion of stockings. (See 5-3-3-Item 6, “Stockings,” below.) Each player on a given team must wear the same colors on
his uniform as all other players on his team in the same game. Home clubs shall choose their jersey color (either white or official
team color), and visiting clubs must wear the opposite. For preseason, regular season, or postseason games, the two competing
teams may wear jerseys in their official colors (non-white), provided the Commissioner determines that such colors are of
sufficient contrast.
ARTICLE 3. All players must wear the equipment and uniform apparel listed below, which must be of a suitably protective
nature, must be designed and produced by a professional manufacturer, and must not be cut, reduced in size, or otherwise
altered unless for medical reasons approved in advance by the Commissioner. During pregame team warm-ups, players may
omit certain protective equipment at their option, except that helmets, shoulder pads, thigh pads, and knee pads must be worn.
Item 1. Helmet, Face Protectors. Helmet with all points of the chin strap (white only) fastened and facemask attached.
Facemasks must not be more than ⅝-inch in diameter and must be made of rounded material; transparent materials are
prohibited. Clear (transparent) plastic eye shields are optional. Tinted eye shields may be worn only after the League office is
supplied with appropriate medical documentation and approval is subsequently granted. The League office has ﬁnal approval.
No visible identiﬁcation of a manufacturer’s name or logo on the exterior of a helmet or on any attachment to a helmet is
permitted unless provided for under a commercial arrangement between the League and manufacturer; in no event is
identiﬁcation of any helmet manufacturer permitted on the visible surface of a rear cervical pad. All helmets must carry a small
NFL shield logo on the rear lower-left exterior, and an approved warning label on the rear lower-right exterior. Both labels will be
supplied in quantity by the League office.
Item 2. Jerseys. Jersey must cover all pads and other protective equipment worn on the torso and upper arms, and must be
appropriately tailored to remain tucked into the uniform pants throughout the game. Tear-away jerseys are prohibited. Mesh
jerseys with large ﬁshnet material (commonly referred to as “bullet-hole” or “port-hole” mesh) are also prohibited. Surnames of
players in letters a minimum of 2½ inches high must be afﬁxed to the exterior of jerseys across the upper back above the
numerals; nicknames are prohibited. All jerseys must carry a small NFL Shield logo at the middle of the yoke of the neck on the
front of the garment. All fabrics must be approved by the League office prior to production.
Item 3. Numerals. Numerals on the back and front of jerseys as speciﬁed under NFL rules for the player’s speciﬁc position.
Such numerals must be a minimum of 8 inches high and 4 inches wide, and their color must be in sharp contrast with the color
of the jersey. Smaller numerals should be worn on the tops of the shoulders or upper arms of the jersey. Small numerals on the
back of the helmet or on the uniform pants are optional.
Item 4. Pants. Pants must be worn over the entire knee area; pants shortened or rolled up to meet the stockings above the
knee are prohibited. No part of the pants may be cut away unless an appropriate gusset or other device is used to replace the
removed material. All pants must carry a small NFL Shield logo on the front left groin area of the pants, midway between the ﬂy
opening and side seam, and ½-inch below the belt.
Item 5. Shoulder Pads, Thigh Pads, and Knee Pads. Shoulder pads, thigh pads, and knee pads which have been approved
by the League office. All pads must be covered by the outer uniform. Knee pads must be at least ¼-inch thick and must cover
the knees. Basketball-type knee pads are permitted, but must be covered by the outer uniform. Punters and placekickers may
omit thigh and knee pads.
Item 6. Stockings. Stockings must cover the entire area from the shoe to the bottom of the pants, and must meet the pants
below the knee. Players are permitted to wear as many layers of stockings and tape on the lower leg as they prefer, provided
the exterior is a one-piece stocking that includes solid white from the top of the shoe to the mid-point of the lower leg, and
approved team color or colors (non-white) from that point to the top of the stocking. Uniform stockings may not be altered (e.g.,
over-stretched, cut at the toes, or sewn short) in order to bring the line between solid white and team colors lower or higher than
the mid-point of the lower leg. No other stockings and/or opaque tape may be worn over the one-piece, two-color uniform
stocking. Barefoot punters and placekickers may omit the stocking of the kicking foot in preparation for and during kicking plays.
Item 7. Shoes. Shoes must be of standard football design, including “sneaker” type shoes such as basketball shoes, cross-
training shoes, etc. Each team must designate a dominant base color for its shoes, either black or white (with shoelace color
conforming to the dominant base color of the tongue area of the shoe). Each team must also designate one of its Constitutional
uniform colors as a dominant team color for its shoes. Each team must also designate one of its Constitutional uniform colors as
a secondary team color for its shoes. Each team may also designate a third uniform color as a tertiary team color that may be
used for accents on its shoes. The designation of team shoe colors as described above must be reported by each team to the
League office no later than July 1 each year. Each player may select among shoe styles previously approved by the League
office. All players on the same team must wear shoes with the same dominant base color. A player may wear an unapproved
standard football shoe style as long as the player tapes over the entire shoe to conform to his team’s selected dominant base
color (i.e., white or black). Logos, names, or other commercial identification on shoes are not permitted to be visible unless
advance approval is granted by the League office. Size and location of logos and names on shoes must be approved by the
League office. When a shoe logo or name approved by the League is covered with an appropriate use of tape, players will be
allowed to cut out the tape covering the original logo or name, provided the cut is clean and is the exact size of the logo or
name. The logo or name of the shoe manufacturer must not be re-applied to the exterior of taped shoes unless advance
approval is granted by the League office. Kicking shoes must not be modiﬁed (including using a shoelace wrapped around toe
and/or bottom of the shoe), and any shoe that is worn by a player with an artiﬁcial limb on his kicking leg must have a kicking
surface that conforms to that of a normal kicking shoe. Punters and placekickers may omit the shoe from the kicking foot in
preparation for and during kicking plays. Punters and placekickers may wear any combination of the tri-colored shoes provided
that the colors are consistent with those selected by the team and with the policy listed above.
ARTICLE 4. OTHER PROHIBITED EQUIPMENT, APPAREL. In addition to the prohibited items of equipment and apparel
speciﬁed above, the following also are prohibited:
Item 1. Projecting Objects. Metal or other hard objects that project from a player’s person or uniform, including from his shoes.
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Item 2. Uncovered Hard objects, Substances. Hard objects and substances, including but not limited to casts, guards or
braces for hand, wrist, forearm, elbow, hip, thigh, knee, and shin, unless such items are appropriately covered on all edges and
surfaces by a minimum of ⅜-inch foam rubber or similar soft material. Any such item worn to protect an injury must be reported
by the applicable coaching staff to the Umpire in advance of the game, and a description of the injury must be provided.
Item 3. Detachable Kicking Toe.
Item 4. Torn Items. Torn or improperly ﬁtting equipment creating a risk of injury to other players, e.g., the hard surfaces of
shoulder pads exposed by a damaged jersey.
Item 5. Improper Cleats. Shoe cleats made of aluminum or other material that may chip, fracture, or develop a cutting edge.
Conical cleats with concave sides or points which measure less than ⅜-inch in diameter at the tips, or cleats with oblong ends
which measure less than ¼ by ¾-inch at the end tips are also prohibited. Nylon cleats with ﬂat steel tips are permitted.
Item 6. Improper Tape. Opaque, contrasting-color tape that covers any part of the helmet, jersey, pants, stockings, or shoes;
transparent tape or tape of the same color as the background material is permissible for use on these items of apparel. Players
may use opaque white, black or one dominant club color tape on hands and arms, provided it conforms to above (“Uncovered
Hard Objects, Substances”) and below (“Approved Glove Color”). Opaque tape either black or white on shoes is permitted,
provided it is black or white to match the selected dominant shoe choice of the Club, and provided it does not carry up into the
stocking area.
Item 7. Items Colored Like Football. Headgear or any other equipment or apparel which, in the opinion of the Referee, may
confuse an opponent because of its similarity in color to that of the game football. If such color is worn, it must be broken by
stripes or other patterns of sharply contrasting color or colors.
Item 8. Adhesive, Slippery Substances. Adhesive or slippery substances on the body, equipment, or uniform of any player;
provided, however, that players may wear gloves with a tackiﬁed surface if such tacky substance does not adhere to the football
or otherwise cause handling problems for players.
ARTICLE 5. RECOMMENDED EQUIPMENT. It is recommended that all players wear hip pads designed to reasonably avoid
the risk of injury. Unless otherwise provided by individual team policy, it is the players’ responsibility and decision whether to
follow this recommendation and use such pads. If worn, such pads must be covered by the outer uniform.
ARTICLE 6. OPTIONAL EQUIPMENT. Among the types of optional equipment that are permitted to be worn by players are the
following:
Item 1. Garments Under Jerseys. Quarterbacks will be allowed to wear under the game jersey a solid colored T-shirt,
turtleneck, or sweatshirt (consistent with team undergarment color) with sleeves cut to any length, as long as both sleeves are
evenly trimmed and the edges are sewn and hemmed. All other players may wear garments under game jerseys only if the
undergarment sleeves either (a) are full length to the wrist; or (b) are the half sleeve length as provided by the licensee each of
which must be approved by the NFL. Players may not wear long-sleeved undergarments that include pebble-grip sleeves. Any
garments under jerseys that are exposed at the neck or sleeve area and that carry an exposed logo or commercial
name/identification must be licensed and approved by the League office for wear on the field. Undergarments must be tucked in
and not hanging out from the bottom of the jersey. All members of the same team who wear approved undergarments with
exposed necks or sleeves must wear the same color on a given day, which color must be white or a solid color that is an official
team color (solid means that sleeves must not carry stripes, designs, or team names). Players may not wear undergarments
with an exposed hood hanging outside the collar of the jersey.
Item 2. Approved Glove Color. Gloves, wrappings, elbow pads, and other items worn on the arms below or over the jersey
sleeves by interior offensive linemen (excluding tight ends) must be of the color that is mandatorily reported to the League office
by the club before July 1 each year. Such reported color must be white, black or other official uniform color of the applicable
team, and, once reported, must not be changed throughout that same season. Players at other positions (non-interior linemen)
also may wear gloves provided they are either (i) a solid white, solid black, or a solid color that is an official uniform color of the
applicable club, (ii) a bi-color combination of black or white with one (1) official uniform color of the applicable team, or (iii) a tri-
color combination of black or white, and/or up to two official uniform colors of the applicable club. For clubs with a third official
uniform color, player (non-interior linemen) gloves may also incorporate a third official uniform color as an accent only. Clubs are
not required to designate to the League office by July 1, the color of gloves that will be worn by their non-interior linemen.
Item 3. Rib Protectors. Rib protectors (“ﬂak jackets”) under the jersey.
Item 4. Wristbands. Wristbands, provided they are white or black only.
Item 5. Towels. Towels, provided they are white licensed towels approved by the League office for use on the playing field.
Players are prohibited from adding to these towels personal messages, logos, names, symbols, or illustrations. Such towels also
must be attached to or tucked into the front waist of the pants, and must be no longer than 6 by 8 inches (slightly larger size may
be issued to quarterbacks, or may be folded to these limits for wearing in games). A player may wear no more than one towel.
Players are prohibited from discarding on the playing field any loose towels or other materials used for wiping hands and the
football. Streamers or ribbons, regardless of length, hanging from any part of the uniform, including the helmet, are prohibited.
Item 6. Headwear. When players are on the field, during the pregame, game, and postgame periods, they may wear approved
caps, skull caps and bands, approved cold weather gear, or other approved headwear for medical purposes only, as determined
by the Commissioner. Any permissible headwear must be approved by the League office, and if worn under the helmet, no
portion may hang from or otherwise be visible outside the helmet. Players are not permitted to wear bandannas, stockings, or
other unapproved headwear anywhere on the field during the pregame, game, or postgame periods, even if such items are worn
under their helmets.


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                                                         Rule 5, Section 4
ARTICLE 7. LOGOS AND COMMERCIAL IDENTIFICATION. Throughout the period on game-day that a player is visible to the
stadium and television audience (including in pregame warm-ups, in the bench area, and during postgame interviews in the
locker room or on the field), players are prohibited from wearing, displaying, or orally promoting equipment, apparel, or other
items that carry commercial names or logos/identifications of companies, unless such commercial identification has been
approved in advance by the League office. The size of any approved logo or other commercial identification involved in an
agreement between a manufacturer and the League will be modest and unobtrusive, and there is no assurance that it will be
visible to the television audience.
ARTICLE 8. PERSONAL MESSAGES. Throughout the period on game-day that a player is visible to the stadium and
television audience (including in pregame warm-ups, in the bench area, and during postgame interviews in the locker room or on
the ﬁeld), players are prohibited from wearing, displaying, or otherwise conveying personal messages either in writing or
illustration, unless such message has been approved in advance by the League office. Items to celebrate anniversaries or
memorable events, or to honor or commemorate individuals, such as helmet decals, and arm bands and jersey patches on
players’ uniforms, are prohibited unless approved in advance by the League office. All such items approved by the League
office, if any, must relate to team or League events or personages. The League will not grant permission for any club or player to
wear, display, or otherwise convey messages, through helmet decals, arm bands, jersey patches, or other items afﬁxed to game
uniforms or equipment, which relate to political activities or causes, other non-football events, causes or campaigns, or
charitable causes or campaigns. Further, any such approved items must be modest in size, tasteful, non-commercial, and non-
controversial; must not be worn for more than one football season; and if approved for use by a speciﬁc team, must not be worn
by players on other teams in the League.
ARTICLE 9. GENERAL APPEARANCE. Consistent with the equipment and uniform rules, players must otherwise present a
professional and appropriate appearance while before the public on game-day. Among the types of activity that are prohibited
are use of tobacco products (smokeless included) while in the bench area and use of facial makeup.
Penalties:
a) For violation of this Section 4 discovered during pregame warm-ups or at other times prior to the game, player will
   be advised to make appropriate correction; if the violation is not corrected, player will not be permitted to enter the
   game.
b) For violation of this Section 4 that is discovered while player is in the game, and which involves the competitive or
   player safety aspects of the game (e.g., illegal kicking toe of shoe, an adhesive or slippery substance, failure to
   wear mandatory equipment), player will be removed from the game until he has complied.
c) For any other violation of this Section 4 (e.g., wristbands that are not League-approved, towel with a personal
   message, impermissible headwear under the helmet) that is discovered while the player is in the game, player will
   be advised to make appropriate correction at the next change of possession; if the violation is not corrected,
   player will not be permitted to enter the game.
d) For violation of this Section 4 detected in the bench area: Player and head coach will be asked to remove the
   objectionable item, properly equip the player, or otherwise correct the violation. The involved player or players will
   not be permitted to enter the game until the player has complied.
e) For illegal entry or return of a player suspended under this Section 4: Loss of five yards from succeeding spot and
   removal until properly equipped after one down. See 3-33.
f) For repeat violation: Disqualification from game.

    Notes:
    (1) In addition to the game-day penalties specified above, the Commissioner may subsequently impose independent
        disciplinary action on the club and involved player, up to and including suspension from the team’s next game—
        preseason, regular season, or postseason, whichever is applicable.
    (2) If a player is suspended for having adhesive or slippery substances on his body, equipment, or uniform, he must
        remain out of the game for one play, even if there is a team time out, the two-minute warning, or the end of a period.
    (3) If a player (kicker) is suspended for having an illegal kicking shoe, he must remain out of the game for one play, unless
        there is a team time out, the two-minute warning, or the end of the period.




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                                                RULE 6            FREE KICKS
SECTION 1         PROCEDURES FOR A FREE KICK
ARTICLE 1. FREE KICK. A free kick is a kickoff or safety kick that puts the ball in play to start a free kick down. It must be
made from any point on the kicking (offensive) team’s restraining line and between the inbounds lines.
(a) A kickoff puts the ball in play at the start of each half, after a try, and after a successful field goal. A dropkick or placekick
    may be used for a kickoff.
    Note: During a placekick on a kickoff, the kicking team may use a manufactured tee that is one inch in height and approved
    by the League. Once the ball has been placed on the kicking tee, the kicking tee cannot be moved. If the ball falls off the
    tee, or the tee is moved, the covering officials must stop play and restart the timing process without penalty to the kicking
    team. If the ball falls off the tee a second time during the same free kick down, the kicking team then must either use a
    player to hold the ball or must kick it off the ground. The ball may be placed on the ground leaning against the tee, provided
    the tee is in its normal upright position.
(b) A safety kick puts the ball in play after a safety. A dropkick, placekick, or punt may be used for a safety kick. A tee cannot
    be used for a safety kick.
Penalty: For illegal kick on a free kick down: Loss of five yards.
ARTICLE 2. RESTRAINING LINES. The restraining lines for a free kick shall be as follows, unless they are adjusted because
of a distance penalty:
(a) The restraining line for the kicking team shall be its 35-yard line for a kickoff and its 20-yard line for a safety kick.
(b) The restraining line for the receiving team shall be the yard line 10 yards in advance of the kicking team’s restraining line.
ARTICLE 3. FREE KICK FORMATION. When the ball is kicked on a free kick down:
(a) Before the kicker approaches the ball and until the ball is kicked,
    (1) all kicking team (Team A) players other than the kicker must be lined up and remain in their established positions no
        more than one yard behind their restraining line; and
    (2) at least five players of the kicking team must be on each side of the ball. At least two players must be lined up outside
        the yard-line number, and two players between the inbounds lines and the yard-line number.
    Notes:
    (1) A holder for a free kick counts as one of the required five players, regardless of where he is positioned.
    (2) A player who lines up one yard behind the restraining line must have at least one foot (either the front or the back foot)
        touching that yard line.
(b) All kicking team players must be inbounds and behind the ball when it is kicked, except:
    (1) the holder of a placekick (3-18-1-Item 2) may be beyond the line, and
    (2) the kicker may be beyond the line, provided that his kicking foot is not beyond the line.
(c) Until the ball is kicked, all receiving team (Team B) players must be inbounds and behind their restraining line, and at least
    eight players must be positioned between their restraining line and a spot 15 yards behind their restraining line (the “setup
    zone”). (See Section 2, Article 1, Item 2-b.)
Penalty: For a player being beyond the restraining line when the ball is kicked (offside), a player being out of bounds
when the ball is kicked, a kicking team player other than the kicker being more than one yard behind his restraining
line, or either team being in an illegal formation when the ball is kicked: Loss of five yards.
(d) Prior to the ball being touched by the receiving team or the end of the kick, it is a foul if a kicking team player voluntarily
    goes out of bounds (without being contacted by a receiving team player) to avoid a block.
Penalty: For voluntarily going out of bounds without contact: Loss of 5 yards.
ARTICLE 4. CATCH OR RECOVERY OF A FREE KICK. The following applies to the catch or recovery of a free kick:
(a) If a player of the receiving team catches or recovers the ball, he may advance.
(b) If the ball is declared dead while in the simultaneous possession of two opposing players, the ball is awarded to the
    receiving team.
(c) A player of the kicking team may legally touch, catch, or recover the ball if:
    (1) it first touches a receiving team player; or
    (2) it reaches or crosses the receiving team’s restraining line.
(d) The ball is dead if:
    (1) it is caught or recovered by a player of the kicking team. If the catch or recovery is legal, the ball belongs to the kicking
    team at the dead-ball spot.
    (2) it is not touched by the receiving team and touches the ground in the end zone (touchback).
(e) If the ball comes to rest inbounds after reaching the receiving team’s restraining line and no player attempts to possess it,
    the ball becomes dead and belongs to the receiving team at the dead-ball spot.
    Notes:
    (1) A player is deemed to have not touched the ball if it is batted or illegally kicked into him by an opponent. Such touching
        is ignored, though the bat or kick could be a foul for an Illegal Bat or Illegal Kick.
    (2) For illegal catch or recovery, see 6-2-4.
ARTICLE 5. FREE KICK CROSSES GOAL LINE. It is a touchback, if a free kick:
(a) is not touched by the receiving team, and the ball touches the ground in the end zone.
(b) goes out of bounds behind the receiving team’s goal line;
(c) strikes the receiving team’s goal post, uprights, or cross bar; or
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(d) is downed in the end zone by the receiving team.
ARTICLE 6. END OF FREE KICK. A free kick ends when either team possesses the ball, or when the ball is dead, if that
precedes possession. A running play begins when the receiving team establishes possession of the ball.
ARTICLE 7. SHORT FREE KICK. If the ball has not been touched by either team after the kick and rolls dead in the field of
play before reaching the receiving team’s restraining line, the ball belongs to the receiving team at the dead-ball spot.

SECTION 2        OTHER FREE KICK FOULS
ARTICLE 1. BLOCKING.
Item 1. Kicking Team.

    (a) Between the Restraining Lines. Prior to the ball being legally touched, a kicking team player may not block or use
        his hands or arms against an opponent between the restraining lines, except to push or pull aside a receiver who is
        actively attempting to obstruct his attempt to proceed downfield.
         After the ball is legally touched, a kicking team player may legally block an opponent, and he may use his hands and
         arms to push or pull an opponent out of the way in a personal attempt to recover the ball.

    (b) At or Beyond Receiver’s Restraining Line (Team B). Until the ball is legally touched or touches the ground, a
        kicking team player may not block or use his hands or arms against an opponent in the area that is at or five yards
        beyond the receiving team’s (Team B) restraining line, except to push or pull aside a receiver who is actively attempting
        to obstruct his attempt to proceed downfield. After the ball is legally touched or touches the ground, a kicking team
        player may legally block an opponent, and he may use his hand and arms to push or pull an opponent out of the way in
        a personal attempt to recover the ball.
During the kick, the kicking team is subject to the blocking restrictions of the defense.

For the exception prohibiting a block in the back by the kicking team while the ball is in flight, see 12-13-b-Note.

Item 2. Receiving Team.
(a) After the ball is kicked, receiving team players are subject to the blocking restrictions of the offense (see 12-1-1–3), and
    they may use their hands/arms legally to push or pull an opponent out of the way in a personal attempt to recover the ball.
(b) Until the ball is legally touched or the ball hits the ground, no player on the receiving team may initiate a block against the
    kicking team in the 15-yard area between the kicking team’s (Team A) restraining line and five yards behind the receiving
    team’s (Team B) restraining line.
(c) After the ball is kicked, a double-team block is permissible only by players who were initially lined up in the setup zone. A
    double-team block is defined as two players from the setup zone coming together in an attempt to block for the runner.
    Note: A “wedge block” is not permitted at any time. A wedge block is defined as two or more players intentionally aligning
    shoulder-to-shoulder within two yards of each other, and who move forward together in an attempt to block for the runner.
(d) After the ball is kicked, no player who was initially lined up outside the setup zone is permitted to come together with any
    other player (double-team) in an attempt to block for the runner.
Penalty: For illegal blocking or use of hands by either team: Loss of 10 yards.

For an illegal wedge or an illegal double-team block during the kick or during the return: Loss of 15 yards from the spot
of the foul. If the foul occurs in Team B’s end zone during the kick, it is enforced from the previous spot. See 12-2-5
for penalty for a low block.

ARTICLE 2. RUNNING INTO FREE KICKER. A player of the receiving team is not permitted to run into the kicker before he
recovers his balance. See also 12-2-6-h for personal fouls against the kicker.
Penalty: For running into the kicker: Loss of five yards.
ARTICLE 3. FREE KICK OUT OF BOUNDS. The kicking team may not kick the ball out of bounds or be the last to touch the
ball before it goes out of bounds between the goal lines. If the receiving team is the last to touch the ball before it goes out of
bounds, the receiving team puts the ball in play at the inbounds spot.
Penalty: For a kickoff out of bounds: The receiving team may elect to take possession of the ball 25 yards from the
spot of the kick or at the out-of-bounds spot.
Penalty: For a safety kick out of bounds: The receiving team may elect to take possession of the ball 30 yards from the
spot of the kick or at the out-of-bounds spot.
ARTICLE 4. FREE KICK ILLEGALLY TOUCHED.
Item 1. Ball Reaches Restraining Line. A player of the kicking team may not touch, catch, or recover the ball before it has
reached the receiving team’s restraining line, unless it has first been touched by a receiving team player.
Penalty: For illegal touching of a free kick by the kicking team: Loss of five yards, or the receiving team takes
possession of the ball at the spot of the illegal touch.
Item 2. Player Out of Bounds. If a kicking team player goes out of bounds during the kick, he may not touch or recover the ball
beyond the receiving team’s restraining line, unless it has first been touched by a receiving team player. If a kicking team player
touches the ball before re-establishing himself legally inbounds, it is a free kick out of bounds.
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                                                         Rule 6, Section 2
Penalty: For illegal touching of a free kick by the kicking team: Loss of five yards.

SECTION 3         ENFORCEMENT OF FOULS
ARTICLE 1. ENFORCEMENT FROM PREVIOUS SPOT. If there is a foul during a free kick, enforcement is from the previous
spot, and the free kick is made again. However, if the kicking team commits a foul prior to the end of the kick, and the receiving
team retains possession throughout the down, it will have the option of enforcing the penalty at the previous spot and replaying
the down or adding the penalty yardage to the dead-ball spot.
    Exceptions:
    (a) A personal foul (blocking) after a fair-catch signal is enforced from the spot of the foul;
    (b) A foul for fair-catch interference is enforced from the spot of the foul;
    (c) A foul for interference with the opportunity to make a catch is enforced from the spot of the foul;
    (d) A foul for an invalid fair catch signal is enforced from the spot of the foul;
    (e) A foul for intentionally forming an illegal wedge, whether during the free kick or during the return, is enforced from the
        spot of the foul;
    (f) For a free kick out of bounds, see Section 2, Article 3;
    (g) For a free kick illegally touched, see Section 2, Article 4; or
    (h) Double fouls are enforced according to the customary rules. See 14-5.
    Notes:
    (1) The dead-ball spot for free kicks that result in a touchback is the 25-yard line.
    (2) In (a), (d), and (e) above, if the foul occurs in Team B’s end zone, the enforcement is from the previous spot.




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                          RULE 7             BALL IN PLAY, DEAD BALL, SCRIMMAGE
SECTION 1           BALL IN PLAY
ARTICLE 1. LIVE BALL. After the ball has been declared ready for play, it becomes a live ball when it is legally snapped or
legally kicked (a free kick or fair catch kick). The ball remains dead if it is snapped or kicked before it is made ready for play.

SECTION 2         DEAD BALL
ARTICLE 1. DEAD BALL DECLARED. An official shall declare the ball dead and the down ended:
(a) when a runner is contacted by an opponent and touches the ground with any part of his body other than his hands or feet.
    The ball is dead the instant the runner touches the ground. A runner touching the ground with his hands or feet while in the
    grasp of an opponent may continue to advance; or
    Note: If, after contact by an opponent, any part of a runner’s leg above the ankle or any part of his arm above the wrist
    touches the ground, the runner is down.
(b) when a runner is held or otherwise restrained so that his forward progress ends.
(c) when a quarterback immediately drops to his knee (or simulates dropping to his knee) behind the line of scrimmage.
    Note: If a quarterback does not immediately drop to a knee, and contact from a rushing defender is unavoidable, it is not a
    foul unless the defender commits some other act that would constitute unnecessary roughness.
(d) when a runner declares himself down by:
    (1) falling to the ground, or kneeling, and clearly making no immediate effort to advance.
    (2) sliding feet-first on the ground. When a runner slides feet-first, the ball is dead the instant he touches the ground with
        anything other than his hands or his feet.
    Notes:
    (1) Defenders are required to treat a sliding runner as they would a runner who is down by contact.
    (2) A defender must pull up when a runner begins a feet-first slide. This does not mean that all contact by a defender is
        illegal. If a defender has already committed himself, and the contact is unavoidable, it is not a foul unless the defender
        makes forcible contact into the head or neck area of the runner with the helmet, shoulder, or forearm, or commits some
        other act that is unnecessary roughness.
    (3) A runner who desires to take advantage of this protection is responsible for starting his slide before contact by a
        defensive player is imminent; if he does not, and waits until the last moment to begin his slide, he puts himself in
        jeopardy of being contacted.
(e) when a runner is out of bounds.
(f) when an opponent takes a ball that is in the possession of a runner who is on the ground.
    Note: An opponent may take or grab a ball (hand to hand) in possession of a runner who is on his feet or is airborne.
(g) when a forward pass (legal or illegal) is incomplete. (See 8-1-4.)
(h) when any legal or illegal kick touches the receivers’ goal posts or crossbar, unless it scores a field goal. (See 9-4-2.)
(i) when a loose ball comes to rest anywhere in the field, and no player attempts to recover it; the official covering the play
    should pause momentarily before signaling that the ball is dead. Any legal (or illegal) kick is awarded to the receivers, and
    any other ball is awarded to the team last in possession. When awarded to a team behind a goal line, the ball is placed on
    the one-yard line.
(j) when any legal or illegal kick is caught or recovered by the kickers, except a scrimmage kick that is kicked from behind the
    line and is recovered behind the line (not a Try kick). See 9-3-2-Item 3 for exception.
(k) when a touchdown, touchback, safety, field goal, or Try has been made.
(l) when any receiver catches or recovers the ball after a fair catch signal (valid or invalid) has been made, provided the ball
    has not been touched by an opponent, before or after it strikes the ground.
(m) when an official sounds the whistle erroneously while the ball is still in play, the ball becomes dead immediately.
    (1) If the ball is in player possession, the team in possession may elect to put the ball in play where it has been declared
          dead or to replay the down.
    (2) If the ball is a loose ball resulting from a fumble, backward pass, or illegal forward pass, the team last in possession
          may elect to put the ball in play at the spot where possession was lost or to replay the down.
    (3) If the ball is a loose ball resulting from a legal forward pass, a free kick, a fair-catch kick, or a scrimmage kick, the ball is
          returned to the previous spot, and the down is replayed.
    (4) If there is a foul by either team during any of the above, and the team in possession at the time of the erroneous whistle
          elects not to replay the down, penalty enforcement is the same as for fouls during a run, forward pass, kick, fumble,
          and backward pass. If the team in possession elects to replay the down, all penalties will be disregarded, except for
          personal fouls and unsportsmanlike conduct fouls, which will be administered prior to the replaying of the down. If the
          down is replayed, the game clock will be reset to the time remaining when the snap occurred, and the clock will start on
          the snap.
(n) when a fumble is recovered or caught by a teammate of the fumbling player, and the fumble occurs on a play that is subject
    to the “two-minute” or “fourth-down” fumble provisions. See 8-7-5 and 8-7-6.
(o) when the ball is out of bounds.
(p) if a loose ball in play strikes a video board, guide wire, sky cam, or any other object, the ball will be dead immediately, and
    the down will be replayed at the previous spot.




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                                                          Rule 7, Section 2
    Notes:
    (1) If there is not an on-field ruling that the ball struck an object, the Replay Official is empowered to initiate a booth review,
        even if the event occurs prior to the two-minute warning. If, prior to the two-minute warning, no booth review is initiated
        by the Replay Official, a coach’s challenge is permitted under the established rules for such a challenge.
    (2) In the event the down is replayed, the game clock will be reset to the time remaining when the snap occurred, and the
        clock will start on the snap. All penalties will be disregarded, except for personal fouls or Unsportsmanlike Conduct
        fouls, which will be administered prior to the replaying of the down.
(q) when a runner’s helmet comes completely off.
    Note: The game clock will not stop when this occurs, and the play clock will be reset to 40 seconds. Penalty enforcement
    following the play is as ordinary for fouls during runs or kicks.
ARTICLE 2. BALL TOUCHES OFFICIAL. The ball is not dead because it touches an official who is inbounds, or because of a
signal by an official other than a whistle.

SECTION 3          NEW SERIES OF DOWNS
ARTICLE 1. NEW SERIES FOR TEAM A. A new series of four scrimmage downs is awarded to Team A when the following
conditions exist:
(a) During a given series, the ball is declared dead in possession of Team A while at or beyond the line to gain.
(b) Enforcement of a foul by Team B results in the placement of the ball at or beyond the line to gain,
    or if the enforcement of a foul awards an automatic first down to Team A.
(c) If there is a change of possession during the down, and Team A has possession at the end of the down.
(d) The kicking team recovers a scrimmage kick anywhere in the field of play after it first has been touched beyond the line of
    scrimmage by the receivers. See 9-3-2-Item 1.
(e) The kicking team legally recovers a free kick.
ARTICLE 2. NEW SERIES FOR TEAM B. A new series of four scrimmage downs is awarded to Team B when the following
conditions exist:
(a) Team A fails to advance the ball to the line to gain during a series of downs; or
(b) There is a change of possession during the down, and Team B has possession at the end of the down, or has been
    awarded possession at the end of the down; or
(c) When the ball is declared dead in possession of the receiving team after a free kick, scrimmage kick, or fair-catch kick.
ARTICLE 3. FORWARD PART OF BALL. The forward part of the ball in its position when it is declared dead in the field of play
shall be the determining point in measuring any distance gained or lost. The ball shall be rotated so that its long axis is parallel
to the sidelines before measuring, while maintaining the forward most point.
    Note: When an airborne player of either team completes a catch or interception inbounds after an opponent has driven him
    backward, the ball is declared dead, and forward progress is awarded at the spot where initial contact by the opponent was
    made after the player established firm grip and control of the ball while in the air.

SECTION 4         ACTION AT OR BEFORE THE SNAP
ARTICLE 1. BALL READY FOR PLAY. After the neutral zone has been established (ball is made or declared ready for play),
an offensive player may not make a false start, a defensive player may not encroach (initiate contact with a member of the
offensive team) or commit a neutral zone infraction, and no player of either team may be offside when the ball is put in play.
ARTICLE 2. FALSE START. It is a False Start if the ball has been placed ready for play, and, prior to the snap, an offensive
player who has assumed a set position charges or moves in such a way as to simulate the start of a play, or if an offensive
player who is in motion makes a sudden movement toward the line of scrimmage. Any quick abrupt movement by a single
offensive player, or by several offensive players in unison, which simulates the start of the snap, is a false start.
    Exception: This does not apply to an offensive player under the center who turns his head or shoulders, unless the
    movement is an obvious attempt to draw an opponent offside.
    Note: See 4-6-5-d, for actions by a defensive player who attempts to cause an offensive player to commit a false start.
Item 1. Interior Lineman. It is a False Start if an interior lineman (tackle to tackle) takes or simulates a three-point stance, and
then changes his position or moves the hand that is on the ground.
An interior lineman who is in a two-point stance is permitted to reset in a three-point stance or change his position, provided that
he resets prior to the snap. If he does not reset prior to the snap, it is a False Start.
Item 2. Eligible Receiver. If all 11 offensive players have been set for at least one full second, and an eligible receiver who is
on the line of scrimmage moves forward, it is a False Start, regardless of whether the action is quick and abrupt or slow and
deliberate.
If an eligible receiver who is on the line of scrimmage moves backward immediately prior to the snap and does not reset before
the snap, it is a False Start.
Any eligible receiver is permitted to change from a two-point stance to a three-point stance, or from a three-point stance to a
two-point stance, provided he resets prior to the snap. If he does not reset, it is a False Start.
Item 3. Player Under Center. It is legal for a player who has taken a position under or behind the center to go in motion,
whether he has placed his hands under center, on his knees, or on the body of the center. However, it is a False Start, if the
action is quick and abrupt. If the player fails to come to a complete stop for at least one full second prior to the ball being
snapped, it is Illegal Motion.
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                                                           Rule 7, Section 4
Item 4. Shotgun Formation. A player who is in position to receive the snap in shotgun formation is permitted to shift his feet
prior to the snap, but any quick and abrupt movement is a False Start. This includes thrusting his hands forward when there is
not a simultaneous snap.
Item 5. Attempt to Draw Offside. Any obvious attempt by the quarterback or other player in position to receive the snap to
draw an opponent offside is a False Start.
Item 6. Offense Not Set. With the game clock running after the two-minute warning of either half, if all 11 offensive players are
not set simultaneously for one full second prior to the snap, it is a False Start.
Penalty: For a False Start: Loss of five yards from the line of scrimmage. The foul is enforced prior to the snap.
    Note: The official shall blow the whistle immediately. The penalty for a False Start shall be enforced regardless of whether
    the snap is made or there is a reaction by the defense.

ARTICLE 3. ENCROACHMENT. It is Encroachment if a defensive player enters the neutral zone and contacts an offensive
player or the ball prior to the snap, or if he interferes with the ball during the snap. The play is dead immediately.
Penalty: For Encroachment: Loss of five yards from the line of scrimmage. The foul is enforced prior to the snap.
ARTICLE 4. NEUTRAL ZONE INFRACTION. It is a Neutral Zone Infraction when:
(a) a defender moves beyond the neutral zone prior to the snap and is parallel to or beyond an offensive lineman, with an
    unimpeded path to the quarterback or kicker, even though no contact is made by a blocker; officials are to blow their
    whistles immediately
(b) a defender enters the neutral zone prior to the snap, causing the offensive player(s) in close proximity (including a
    quarterback who is under center) to react (move) immediately to protect himself (themselves) against impending contact;
    officials are to blow their whistles immediately. If there is no immediate reaction by the offensive player(s) in close proximity,
    and the defensive player returns to a legal position prior to the snap without contacting an opponent, there is no foul. A
    flexed or split receiver is considered to be in close proximity if he is lined up on the side of the ball on which the violation
    occurs; other offensive players are considered to be in close proximity if they are within two-and-one-half positions of the
    defender who enters the neutral zone. If the defender is directly over the center, a quarterback under center, the center, and
    the guards and tackles on both sides of the center are considered to be within close proximity; if the defender is in a gap,
    the two offensive players on either side of the gap are considered to be within close proximity (including a quarterback
    under center, if applicable)
(c) a player, after he has received a warning, enters the neutral zone. It is a foul, even if he returns to a legal position prior to
    the snap without contacting an opponent or causing a reaction (movement) by an offensive player in close proximity.
    Note: During the last two minutes of a half, after the ball has been spotted for the succeeding down at the line of scrimmage
    and the offense is legally set, if the ball is snapped before all members of the defensive team are on their side of the line of
    scrimmage, play shall be stopped immediately, and the defensive team penalized five yards for a neutral zone infraction.
Penalty: For a Neutral Zone Infraction: Loss of five yards from line of scrimmage. Foul is enforced prior to snap.
ARTICLE 5. OFFSIDE. A player is offside when any part of his body is in or beyond the neutral zone or beyond a restraining
line when the ball is put in play.
Penalty: For offside: Loss of five yards.
ARTICLE 6. COMPLETE STOP. All offensive players are required to come to a complete stop and be in a set position
simultaneously for at least one full second prior to the snap. Failure to do so is an Illegal Shift. (See 7-4-2-Item 6 for such a foul
after the two-minute warning of either half.)
ARTICLE 7. SHIFTS. The offensive team is permitted to shift and have two or more players in motion multiple times before the
snap. However, after the last shift, all players must come to a complete stop and be in a set position simultaneously for at least
one full second.
If any eligible backfield player goes in motion (one at a time) after the last shift and comes to a complete stop, there is no
requirement for a full second pause before a second player can legally go in motion.
However, if the first player has not come to a complete stop when the second player goes in motion, it is another shift and
requires another simultaneous stop for at least one full second by all players.
It is also an illegal shift if a player under or behind center goes in motion and fails to come to a complete stop for at least one full
second before a second player goes in motion.
    Note: The offensive team must present a legal formation both before and after a shift.
Penalty: For an illegal shift: Loss of five yards.
ARTICLE 8. ILLEGAL MOTION. When the ball is snapped, one player who is lined up in the backfield may be in motion,
provided that he is moving parallel to or away from the line of scrimmage. No player is permitted to be moving toward the line of
scrimmage when the ball is snapped. All other players must be stationary in their positions.
If an eligible receiver who is on the line moves to another position on the line (not forward), he must reset prior to the sn ap. If he
does not reset, it is Illegal Motion.
It is also Illegal Motion if a player under or behind center goes in motion and fails to come to a complete stop for at least one full
second prior to the snap.
Penalty: For a player illegally in motion at the snap: Loss of five yards.

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                                                           Rule 7, Section 5
SECTION 5         POSITION OF PLAYERS AT THE SNAP
ARTICLE 1. OFFENSIVE TEAM. The offensive team must be in compliance with the following at the snap:
(a) It must have seven or more players on the line (3-19)
(b) Eligible receivers must be on both ends of the line, and all of the players on the line between them must be ineligible
    receivers
(c) No player may be out of bounds
      Note: Offensive linemen may lock legs.
Penalty: For illegal formation by the offense: Loss of five yards.

SECTION 6           PUTTING THE BALL IN PLAY
ARTICLE 1. BALL IN PLAY. The offensive team must put the ball in play with a snap at the spot where the previous down
ended, unless the enforcement of a penalty moves the ball to another spot or the down ended outside the inbounds lines. If a
fair-catch kick is chosen after a fair catch, 10-2-1 and 11-4-3 apply.
ARTICLE 2. SNAP AT INBOUNDS SPOT. The ball is next put in play (snap) at the inbounds spot by the team entitled to
possession (7-1-1–2 and 7-4-1) when:
(a) a loose ball is out of bounds between the goal lines
      Exception: The ball is next put in play at the previous spot if a forward pass is incomplete.
(b)   a runner is out of bounds between the goal lines
(c)   the ball is dead in a side zone
(d)   the ball is placed in the side zone as the result of a penalty enforcement
(e)   a fair catch is made or awarded in a side zone
ARTICLE 3. RESTRICTIONS FOR SNAPPER. The snap (3-32) may be made by any offensive player who is on the line of
scrimmage but must conform to the following provisions:
(a) The snap must start with the ball on the ground, with its long axis horizontal and at right angles to the line.
(b) It is not necessary that the snap be between the snapper’s legs, but it must be one quick and continuous motion of the hand
     or hands of the snapper. The ball must leave or be taken from his hands during this motion.
(c) The snapper may not snap the ball after it is ready for play until all of the officials have had a reasonable time to assume
     their normal positions. If this occurs, the ball remains dead, and no penalty is assessed unless it is a repeated act after a
     warning (delay of game).
Penalty: For illegally snapping the ball: Loss of five yards from the line of scrimmage.
ARTICLE 4. LEGAL SNAP. A snap is a backward pass. The snap must be received by a player who is not on the line at the
snap, unless the ball first strikes the ground. If the ball first strikes the ground, or is muffed by an eligible backfield receiver, or
quarterback under center, it can be recovered and advanced by any player.
Penalty: For snapping the ball to an ineligible snap receiver: Loss of five yards from the line of scrimmage. The whistle
shall be blown immediately.




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                      RULE 8             FORWARD PASS, BACKWARD PASS, FUMBLE
SECTION 1            FORWARD PASS
ARTICLE 1. DEFINITION. It is a forward pass if:
(a) the ball initially moves forward (to a point nearer the opponent’s goal line) after leaving the passer’s hand(s)
(b) the ball first strikes the ground, a player, an official, or anything else at a point that is nearer the opponent’s goal line than
    the point at which the ball leaves the passer’s hand(s).
    Note: A ball that is intentionally fumbled and goes forward is a forward pass. A ball that is intentionally muffed, and goes
    forward or backward, is a batted ball (12-5-1-Note).
Item 1. Forward Movement of Hand. When a player is in control of the ball and is attempting to pass it forward, any intentional
forward movement of his hand starts a forward pass.
(a) If, after intentional forward movement of his hand, contact by an opponent materially affects the passer, causing the ball to
    go backward, it is a forward pass, regardless of where the ball strikes the ground, a player, an official, or anything else.
(b) If, after an intentional forward movement of his hand, the passer loses possession of the ball during an attempt to bring it
    back toward his body, it is a fumble.
(c) If the passer loses possession of the ball while attempting to re-cock his arm, it is a fumble.
ARTICLE 2. LEGAL FORWARD PASS. The offensive team may make one forward pass from behind the line during each
down. If the ball, whether in player possession or loose, crosses the line of scrimmage, a forward pass is not permissible,
regardless of whether the ball returns behind the line of scrimmage before the pass is thrown.
Item 1. Illegal Passes. Any other forward pass by either team is illegal and is a foul by the passing team, including:
(a) A forward pass thrown when the passer is beyond the line of scrimmage.
    Note: It is a forward pass from beyond the line of scrimmage if the passer’s entire body and the ball are beyond the line of
    scrimmage when the ball is released, whether the passer is airborne or touching the ground. The penalty for a forward pass
    thrown from beyond the line is enforced from the spot where the ball is released.
(b) A second forward pass thrown from behind the line of scrimmage.
(c) A forward pass thrown after the ball has crossed the line of scrimmage and has returned behind it.
(d) A forward pass thrown after there has been a change of possession.
Item 2. Intercepted Illegal Pass. If an illegal pass is caught or intercepted, ball may be advanced and the penalty declined.
Penalties:
(a) For a forward pass from beyond the line: Loss of down and five yards from the spot of the pass. See S.N. below.
(b) For a second forward pass from behind the line, or for a forward pass that was thrown after the ball returned
    behind the line: Loss of five yards from the previous spot.
(c) For a forward pass that is thrown after a change of possession: Loss of five yards from the spot of the pass.
    Notes:
    (1) Eligibility, pass interference, and intentional grounding rules apply when a forward pass is thrown from behind the line,
        regardless of whether the pass is an illegal forward pass. Eligibility, pass interference, and intentional grounding rules
        do not apply if a forward pass is thrown (a) from beyond the line, (b) on a Free Kick play, (c) on a Fair Catch kick play,
        or (d) after a change of possession.
    (2) Roughing the passer rules apply on all passes (legal or illegal) thrown from behind the line of scrimmage (12-2-9). If a
        pass is thrown from beyond the line of scrimmage, unnecessary roughness may apply for action against the passer.
    (3) When a distance penalty in Penalty (a) leaves the ball in advance of the necessary line to gain, it is first-and-10 for the
        offensive team.
    (4) See 3-2-4 for the definition of team possession during a forward pass (a loose ball), or for when possession ends.
ARTICLE 3. COMPLETED OR INTERCEPTED PASS. A player who makes a catch may advance the ball. A forward pass is
complete (by the offense) or intercepted (by the defense) in the field of play, at the sideline, or in the end zone if a player, who is
inbounds:
(a) secures control of the ball in his hands or arms prior to the ball touching the ground; and
(b) touches the ground inbounds with both feet or with any part of his body other than his hands; and
(c) after (a) and (b) have been fulfilled, performs any act common to the game (e.g., tuck the ball away, extend it forward, take
    an additional step, turn upfield, or avoid or ward off an opponent), or he maintains control of the ball long enough to do so.
    Notes:
    (1) Movement of the ball does not automatically result in loss of control.
    (2) If a player, who satisfied (a) and (b), but has not satisfied (c), contacts the ground and loses control of the ball, it is an
        incomplete pass if the ball hits the ground before he regains control, or if he regains control out of bounds.
    (3) A receiver is considered a player in a defenseless posture (See Rule 12, Section 2, Article 7) throughout the entire
        process of the catch and until the player is capable of avoiding or warding off the impending contact of an opponent.
    (4) If a pass is caught simultaneously by two eligible opponents, and both players retain it, the ball belongs to the passers.
        It is not a simultaneous catch if a player gains control first and an opponent subsequently gains joint control. If the ball
        is muffed after simultaneous touching by two such players, all the players of the passing team become eligible to catch
        the loose ball.
    (5) If a player, who is in possession of the ball, is held up and carried out of bounds by an opponent before both feet or any
        part of his body other than his hands touches the ground inbounds, it is a completed or intercepted pass. It is not
        necessary for the player to maintain control of the ball when he lands out of bounds.

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                                                          Rule 8, Section 1
ARTICLE 4. INCOMPLETE PASS. Any forward pass (legal or illegal) is incomplete and the ball is dead immediately if the pass
strikes the ground or goes out of bounds. An incomplete pass is a loss of down, and the ball returns to the previous spot.
    Note: If there is any question whether a forward pass is complete, intercepted, or incomplete, it is to be ruled incomplete.
ARTICLE 5. ELIGIBLE RECEIVERS. The following players are eligible to catch a forward pass that is thrown from behind the
line of scrimmage.
(a) Defensive players.
(b) Offensive players who are on either end of the line, provided they either have the numbers of eligible players (1–49 and 80–
     89) or have legally reported to play a position on the end of the line. See 5-1-2.
(c) Offensive players who are legally at least one yard behind the line at the snap, provided they either have the numbers of
     eligible players (1–49 and 80–89) or have legally reported to play a position in the backfield.
(d) All other offensive players after the ball has been touched by any defensive player or any eligible offensive player.
ARTICLE 6. INELIGIBLE RECEIVERS. All offensive players other than those identified in Article 5 above are ineligible to catch
a legal or illegal forward pass thrown from behind the line of scrimmage, including:
(a) Players who are not on either end of their line or at least one yard behind it when the ball is snapped.
(b) Offensive players wearing numbers 50–79, unless they have reported a change in their eligibility status to the Referee and
     have assumed a position on their line or in their backfield as required by Article 5;
(c) Players who fail to notify the Referee of being eligible when required;
(d) An eligible receiver who has been out of bounds prior to or during a pass, even if he has re-established himself inbounds
     with both feet or with any part of his body other than his hands.
    Exception: If an eligible receiver is forced out of bounds by a foul by a defender, including illegal contact, defensive
    holding, or defensive pass interference, provided he attempts to return inbounds immediately, he becomes eligible to legally
    touch the pass (without prior touching by another eligible receiver or defender) as soon as he re-establishes himself
    inbounds with both feet or with any part of his body other than his hands. See Article 8, Note 3.
(e) A player who takes his stance behind center as a T-formation quarterback is not an eligible receiver unless, before the ball
    is snapped, he legally moves to a position at least one yard behind the line of scrimmage or on the end of the line, and is
    stationary in that position for at least one second before the snap.
    Note: If he leaves his position behind the center and does not receive the snap, it is Illegal Motion unless he has been
    stationary for at least one full second prior to the snap.
ARTICLE 7. LEGAL TOUCHING. A forward pass (legal or illegal) thrown from behind the line may be touched by any eligible
player. A pass in flight may be tipped, batted, or deflected in any direction by any eligible player at any time, including such a
pass in the end zone.
ARTICLE 8. ILLEGAL TOUCHING OF A FORWARD PASS. It is a foul for illegal touching if a forward pass (legal or illegal)
thrown from behind the line of scrimmage:
(a) is first touched intentionally or is caught by an originally ineligible offensive player; or
Penalty: Loss of five yards at the previous spot.
(b) first touches or is caught by an eligible receiver who has gone out of bounds, either of his own volition or by being legally
    forced out of bounds, and has re-established himself inbounds.
Penalty: Loss of down at the previous spot.
    Notes:
    (1) If a forward pass (legal or illegal) is caught by an ineligible offensive player, the ball remains alive.
    (2) The bat of a pass in flight by any player does not end a pass, nor does it change the impetus if the bat sends it in
        touch.
    (3) If a player touches the ball after having been out of bounds, but prior to re-establishing himself inbounds with both feet
        or any part of his body other than his hands, the pass is incomplete, and there is no penalty for illegal touching.

SECTION 2         INTENTIONAL GROUNDING
ARTICLE 1. DEFINITION. It is a foul for intentional grounding if a passer, facing an imminent loss of yardage because of
pressure from the defense, throws a forward pass without a realistic chance of completion. A realistic chance of completion is
defined as a pass that is thrown in the direction of and lands in the vicinity of an originally eligible receiver.
Item 1. Passer or Ball Outside Tackle Position. Intentional grounding will not be called when a passer, who is outside, or has
been outside, the tackle position, throws a forward pass that lands at or beyond the line of scrimmage, even if no offensive
player(s) have a realistic chance to catch the ball (including when the ball lands out of bounds over the sideline or endline). If the
ball crosses the line of scrimmage (extended) beyond the sideline, there is no intentional grounding. If a loose ball leaves the
area bordered by the tackles, this area no longer exists; if the ball is recovered, all intentional grounding rules apply as if the
passer is outside this area.
Item 2. Physical Contact. Intentional grounding should not be called if:
(a) the passer initiates his passing motion toward an eligible receiver and then is significantly affected by physical contact from
    a defensive player that causes the pass to land in an area that is not in the direction and vicinity of an eligible receiver; or
(b) the passer is out of the pocket, and his passing motion is significantly affected by physical contact from a defensive player
    that causes the ball to land short of the line of scrimmage.
Item 3. Stopping Clock. A player under center is permitted to stop the game clock legally to save time if, immediately upon
receiving the snap, he begins a continuous throwing motion and throws the ball directly into the ground.

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                                                           Rule 8, Section 2
Item 4. Delayed Spike. A passer, after delaying his passing action for strategic purposes, is prohibited from throwing the ball to
the ground in front of him, even though he is under no pressure from defensive rusher(s).
Penalty: For intentional grounding:
(a) loss of down and 10 yards from the previous spot; or
(b) loss of down at the spot of the foul; or
(c) if the passer is in his end zone when the ball is thrown, it is a safety. See 4-7 for actions to conserve time inside
    two minutes of either half.
    Note: If the foul occurs less than 10 yards behind the line of scrimmage, but more than half the distance to the goal line, the
    ball is to be placed at the spot of the pass.

SECTION 3         INELIGIBLE PLAYER DOWNFIELD
ARTICLE 1. LEGAL AND ILLEGAL ACTS. On a scrimmage play during which a legal forward pass is thrown, an ineligible
offensive player, including a T-formation quarterback, is not permitted to move more than one yard beyond the line of
scrimmage before the pass has been thrown.
Item 1. Legally Downfield. An ineligible player is not illegally downfield if, after initiating contact with an opponent within one
yard of the line of scrimmage during his initial charge:
(a) he moves more than one yard beyond the line while legally blocking or being blocked by an opponent
(b) after breaking legal contact with an opponent more than one yard beyond the line of scrimmage, he remains stationary until
    a forward pass is thrown
(c) after losing legal contact with an opponent more than one yard beyond the line of scrimmage, he is forced behind the line of
    scrimmage by an opponent, at which time he is again subject to normal blocking restrictions for an ineligible offensive
    player.
    Note: If an ineligible offensive player moves beyond the line while legally blocking or being blocked by an opponent, an
    eligible offensive player may catch a pass between them and the line of scrimmage.
Item 2. Illegally Downfield. An ineligible offensive player is illegally downfield if:
(a) he moves more than one yard beyond the line of scrimmage without contacting an opponent
(b) after losing contact with an opponent within one yard of the line of scrimmage, he advances more than one yard beyond the
    line of scrimmage
(c) after losing contact with an opponent more than one yard beyond the line of scrimmage, he continues to move toward his
    opponent’s goal line.
Penalty: For ineligible offensive player downfield: Loss of five yards from the previous spot.
ARTICLE 2. AFTER PASS IS THROWN. After the ball leaves the passer’s hand, ineligible pass receivers can advance more
than one yard beyond the line of scrimmage, or beyond the position reached by their initial charge, provided that they do not
block or contact a defensive player, who is more than one yard beyond the line of scrimmage, until the ball is touched by a
player of either team. Such prior blocking and/or contact is pass interference if it occurs in the vicinity of where the ball is thrown.
See 8-3-1-Note above for exception when blocker maintains continuous contact.

SECTION 4          LEGAL AND ILLEGAL CONTACT WITH ELIGIBLE RECEIVERS
ARTICLE 1. LEGAL CONTACT WITHIN FIVE YARDS. Within the area five yards beyond the line of scrimmage, a defensive
player may chuck an eligible receiver in front of him. The defender is allowed to maintain continuous and unbroken contact
within the five-yard zone, so long as the receiver has not moved beyond a point that is even with the defender.
ARTICLE 2. ILLEGAL CONTACT WITHIN FIVE YARDS. Within the five-yard zone, if the player who receives the snap
remains in the pocket with the ball, a defender may not make original contact in the back of a receiver, nor may he maintain
contact after the receiver has moved beyond a point that is even with the defender.
    Note: If a defender contacts a receiver within the five-yard zone of the line of scrimmage, loses contact, and then contacts
    him again within the five-yard zone, it is a foul for illegal contact.
ARTICLE 3. ILLEGAL CONTACT BEYOND FIVE-YARD ZONE. Beyond the five-yard zone, if the player who receives the
snap remains in the pocket with the ball, a defender cannot initiate contact with a receiver who is attempting to evade him. A
defender may use his hands or arms only to defend or protect himself against impending contact caused by a receiver.
    Note: If a defender contacts a receiver within the five-yard zone and maintains contact with him, he must release the
    receiver as they exit the five-yard zone. If the defender maintains contact beyond five yards, it is illegal contact.
ARTICLE 4. INCIDENTAL CONTACT BEYOND FIVE-YARD ZONE. Beyond the five-yard zone, incidental contact may exist
between receiver and defender.
Penalty: For illegal contact by the defense: Loss of five yards and automatic first down.

ARTICLE 5. ILLEGAL CUT BLOCK. It is an Illegal Cut Block if:
(a) an eligible receiver who takes a position more than two yards outside of his own tackle (flexed receiver) is blocked below
    the waist at, behind, or beyond the line of scrimmage
(b) an eligible receiver who is lined up within two yards of the tackle whether on or behind the line, is blocked below the waist
    after he goes beyond the line of scrimmage (such players may be blocked below the waist at or behind the line of
    scrimmage).
Penalty: For illegal cut block: Loss of 15 yards and automatic first down.


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                                                           Rule 8, Section 4
ARTICLE 6. DEFENSIVE HOLDING. It is defensive holding if a player grasps an eligible offensive player (or his jersey) with his
hands, or extends an arm or arms to cut off or encircle him. See 12-1-6.
Penalty: For holding by the defense: Loss of five yards and automatic first down.
    Note: Any offensive player who pretends to possess the ball, and/or one to whom a teammate pretends to give the ball,
    may be tackled until he crosses the line of scrimmage between the offensive tackles of a normal tight offensive line.
ARTICLE 7. END OF RESTRICTIONS. If the quarterback or the receiver of the snap demonstrates no further intention to pass
the ball (i.e., hands off or pitches the ball to another player, throws a forward or backward pass, loses possession of the ball by a
muff that touches the ground or a fumble, or if he is tackled) the restrictions on the defensive team prohibiting illegal contact, or
an illegal cut block, against an eligible receiver will end, and a defensive player is permitted to use his hands, arms, or body to
push, pull, or ward off an offensive receiver, pursuant to Rule 12, Section 1, Article 5. If the quarterback leaves the pocket area
with the ball in his possession, the restrictions on illegal contact and an illegal cut block both end, but the restriction on defensive
holding remains in effect.
If a team presents an apparent punting formation, defensive acts that normally constitute illegal contact (chuck beyond five
yards, etc.) are permitted, provided that the acts do not constitute defensive holding.

SECTION 5         PASS INTERFERENCE
ARTICLE 1. DEFINITION. It is pass interference by either team when any act by a player more than one yard beyond the line
of scrimmage significantly hinders an eligible player’s opportunity to catch the ball. Pass interference can only occur when a
forward pass is thrown from behind the line of scrimmage, regardless of whether the pass is legal or illegal, or whether it crosses
the line.
Defensive pass interference rules apply from the time the ball is thrown until the ball is touched. See Article 2 for prohibited acts
while the ball is in the air.
Offensive pass interference rules apply from the time the ball is snapped until the ball is touched. See Article 2 for prohibited
acts while the ball is in the air and Article 4 for prohibited acts prior to the pass.
ARTICLE 2. PROHIBITED ACTS BY BOTH TEAMS WHILE THE BALL IS IN THE AIR. Acts that are pass interference
include, but are not limited to:
(a) Contact by a player who is not playing the ball that restricts the opponent’s opportunity to make the catch;
(b) Playing through the back of an opponent in an attempt to make a play on the ball;
(c) Grabbing an opponent’s arm(s) in such a manner that restricts his opportunity to catch a pass;
(d) Extending an arm across the body of an opponent, thus restricting his ability to catch a pass, and regardless of whether the
     player committing such act is playing the ball;
(e) Cutting off the path of an opponent by making contact with him, without playing the ball;
(f) Hooking an opponent in an attempt to get to the ball in such a manner that it causes the opponent’s body to turn prior to the
     ball arriving; or
(g) Initiating contact with an opponent by shoving or pushing off, thus creating separation.
    Note: If there is any question whether player contact is incidental, the ruling should be no interference.
ARTICLE 3. PERMISSIBLE ACTS BY BOTH TEAMS WHILE THE BALL IS IN THE AIR. Acts that are permissible by a player
include, but are not limited to:
(a) Incidental contact by an opponent’s hands, arms, or body when both players are competing for the ball, or neither player is
     looking for the ball. If there is any question whether contact is incidental, the ruling shall be no interference.
(b) Inadvertent tangling of feet when both players are playing the ball or neither player is playing the ball.
(c) Contact that would normally be considered pass interference, but the pass is clearly uncatchable by the involved players,
     except as specified in 8-3-2 and 8-5-4 pertaining to blocking downfield by the offense.
(d) Laying a hand on an opponent that does not restrict him in an attempt to make a play on the ball.
(e) Contact by a player who has gained position on an opponent in an attempt to catch the ball.
    Notes:
    (1) When the ball is in the air, eligible offensive and defensive receivers have the same right to the path of the ball and are
        subject to the same restrictions.
    (2) Acts that do not occur more than one yard beyond the line of scrimmage are not pass interference, but could be
        offensive or defensive holding (see 12-1-3 and 12-1-6).
    (3) Whenever a team presents an apparent punting formation and until the ball is kicked, defensive acts that normally
        constitute pass interference are permitted against the end man on the line of scrimmage, or against an eligible receiver
        behind the line of scrimmage who is aligned or in motion more than one yard outside the end man on the line, provided
        that the acts do not constitute illegal holding. Defensive holding, such as tackling a receiver, still can be called and
        result in a five-yard penalty from the previous spot, if accepted. Offensive pass interference rules still apply.
ARTICLE 4. OTHER PROHIBITED ACTS BY THE OFFENSE. Blocking more than one yard beyond the line of scrimmage by
an offensive player prior to a pass being thrown is offensive pass interference. See 8-3-1-Item 1 for exception for an ineligible
offensive player.
    Note: It is also pass interference by the offense to block a defender beyond the line while the pass is in the air, if the block
    occurs in the vicinity of the player to whom the pass is thrown. See 8-3-1-Note for exception for ineligible players.
Penalty: For pass interference by the defense: First down for the offensive team at the spot of the foul. If the
interference is also a personal foul (12-2), the 15-yard penalty for such a foul is also enforced, either from the spot of
the foul (for interference), or from the end of the run if the foul for pass interference is declined. If the interference is
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behind the defensive goal line, it is first down for the offensive team on the defense’s one-yard line, or, if the previous
spot was inside the two-yard line, halfway between the previous spot and the goal line.
Penalty: For pass interference by the offense: Loss of 10 yards from the previous spot.

SECTION 6         ENFORCEMENT SPOT
ARTICLE 1. ENFORCEMENT SPOT. If there is a foul by either team from the time of the snap until a forward pass thrown from
behind the line ends, the penalty is enforced from the previous spot. A pass play ends and a running play begins at the instant
that a pass is caught.
    Exceptions:
    (a) Pass interference by the defense is enforced from the spot of the foul. If it occurs in the fouling team’s end zone, the ball
        will be placed at the one-yard line, or half the distance to the goal line from the previous spot, whichever is more
        beneficial to the offense.
    (b) Intentional grounding is a loss of down at the spot of the foul, or a loss of down and a 10-yard penalty from the previous
        spot, whichever is less beneficial for the offense. See 8-2-1-Penalty.
    (c) If there is a personal foul or unsportsmanlike conduct foul by the defense prior to completion of a forward pass thrown
        from behind the line, enforcement is from the previous spot or the dead-ball spot, whichever is more beneficial to the
        offense. If the play results in a score for the offense, enforcement is on the ensuing kickoff. If the passing team is fouled
        and subsequently loses possession after a completion, the passing team retains possession of the ball, and
        enforcement is from the previous spot.
    (d) If there is a personal foul or unsportsmanlike conduct foul by the offense prior to an interception of a forward pass
        thrown from behind the line, enforcement is from the dead-ball spot. If the intercepting team subsequently loses
        possession, the penalty is enforced from the spot of the interception, and the intercepting team retains possession.
    (e) It is a safety when the offensive team commits a foul behind its own goal line.
    Note: When the dead-ball spot is normally a touchback, enforcement is from the 20-yard line.

SECTION 7         BACKWARD PASS AND FUMBLE
ARTICLE 1. BACKWARD PASS. A runner may throw a backward pass at any time (3-22-5). Players of either team may
advance after catching a backward pass, or recovering a backward pass after it touches the ground.
    Exception: See actions to conserve time (4-7-1).
    Note: A direct snap from center to a player in the backfield, a muffed hand-to-hand snap, or a snap that is untouched by
    any player are backward passes, and the ball remains alive.
ARTICLE 2. BACKWARD PASS OUT OF BOUNDS. If a backward pass goes out of bounds between the goal lines, the ball is
dead (7-6-2-a), and it is next put in play at the inbounds spot. Rule 11 governs if a backward pass is declared dead behind the
goal line.
ARTICLE 3. FUMBLE. A fumble is any act, other than a pass or kick, which results in a loss of player possession.
    Exception: If a runner intentionally fumbles forward, it is a forward pass (3-22).
Item 1. Recovery and Advance. Any player of either team may recover or catch a fumble and advance, either before or after
the ball strikes the ground.
    Exceptions:
    (a) Fourth-down fumble. See 8-7-5 below.
    (b) Fumble after two-minute warning. See 8-7-6 below.
Item 2. Legal Recovery. For a legal recovery of a fumble, see 3-2-7.
Item 3. Out of Bounds. When a fumble goes out of bounds between the goal lines, the following shall apply:
(a) If a fumble goes backward and out of bounds, the ball is next put in play at the inbounds spot by the team that was last in
    possession;
(b) If a fumble goes forward and out of bounds, the ball is next put in play at the spot of the fumble by the team that was last in
    possession;
(c) If a ball is fumbled in a team’s own end zone and goes forward into the field of play and out of bounds, it will result in a
    safety, if that team provided the impetus that put the ball into the end zone (See 11-5-1 for exception for momentum). If the
    impetus was provided by the opponent, the play will result in a touchback; or
(d) Notwithstanding any of the above, when there has not been a change of possession during the down, and the spot of the
    ball is not at or beyond the line to gain after fourth down, the ball is awarded to Team B at the spot that the ball is declared
    dead.
Item 4. Out of Bounds in End Zone. When a fumble goes out of bounds in the end zone, the following shall apply:
(a) If a ball is fumbled in the field of play, and goes forward into the opponent’s end zone and over the end line or sideline, a
    touchback is awarded to the defensive team; or
(b) If a ball is fumbled in a team’s own end zone or in the field of play and goes out of bounds in the end zone, it is a safety, if
    that team provided the impetus that sent the ball into the end zone (See 11-5-1 for exception for momentum). If the impetus
    was provided by the opponent, it is a touchback.
ARTICLE 4. HANDING BALL FORWARD. No player may hand the ball forward except to an eligible receiver who is behind the
line of scrimmage.
(a) Loss of player possession by unsuccessful execution of attempted handing is a fumble charged to the player that last had
     possession.
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                                                          Rule 8, Section 7
(b) A muffed handoff (legal or illegal) is a fumble, and the ball remains alive.
Penalty: For handing ball forward beyond the line of scrimmage: Five yards and loss of down from spot of foul.
Penalty: For handing ball forward to ineligible receiver behind line of scrimmage or not from scrimmage: Loss of five
yards.
ARTICLE 5. FOURTH-DOWN FUMBLE. If a fourth-down fumble occurs during a play from scrimmage:
(a) The ball may be advanced by any member of the defensive team.
(b) The player who fumbled is the only Team A player permitted to recover and advance the ball.
(c) If the recovery or catch is by a teammate of the player who fumbled, the ball is dead, and the spot of the next snap is the
    spot of the fumble, or the spot of the recovery if the spot of the recovery is behind the spot of the fumble.
    Note: After a change of possession has occurred, the restrictions in (b) and (c) are no longer in effect for the remainder of
    the down.
ARTICLE 6. FUMBLE AFTER TWO-MINUTE WARNING. If a fumble by either team occurs after the two-minute warning:
(a) The ball may be advanced by any opponent.
(b) The player who fumbled is the only player of his team who is permitted to recover and advance the ball.
(c) If the recovery or catch is by a teammate of the player who fumbled, the ball is dead, and the spot of the next snap is the
    spot of the fumble, or the spot of the recovery if the spot of the recovery is behind the spot of the fumble.
    Note: The restrictions in (b) and (c) are applicable during a Try throughout the game.
ARTICLE 7. ENFORCEMENT SPOT DURING A BACKWARD PASS OR FUMBLE.
(a) When the spot of the backward pass or fumble is beyond the line of scrimmage, or when there is not a line of scrimmage,
    and there is a foul during the backward pass or fumble, the Basic Spot is the spot of the backward pass or the spot of the
    fumble. The three-and-one method of enforcement is used. See 14-3-6.
(b) When the spot of a backward pass or fumble is behind the line of scrimmage, all fouls committed by either team, including a
    foul by Team B in Team A’s end zone, are enforced from the previous spot, except a foul by the offense in its end zone is a
    safety.
(c) For enforcement when the offense commits a personal foul or unsportsmanlike conduct foul prior to the recovery by the
    defense of a backward pass or fumble. See 14-4-3.
    Note: When Team B gains possession in its end zone, and the impetus was by Team A, if Team B fumbles or throws a
    backward pass in the end zone, and fouls while the ball is loose, the spot of the fumble or the backward pass is considered
    to be the B20-yard line.




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                                           RULE 9             SCRIMMAGE KICK
SECTION 1          KICK FROM SCRIMMAGE
ARTICLE 1. KICK ON OR BEHIND LINE OF SCRIMMAGE. Team A may attempt a punt, drop kick, or placekick from on or
behind the line of scrimmage.
Penalty: For a punt, drop kick, or placekick that is kicked from beyond the line of scrimmage or not from scrimmage:
Loss of 10 yards from the spot of the kick.
    Notes:
    (1) This is not considered illegally kicking the ball.
    (2) The penalty for a punt, drop kick, or placekick from beyond the line is to be enforced from the spot where the ball is
        punted or kicked when the player’s entire body and the ball are beyond the line of scrimmage. This includes either
        when the player is airborne or touching the ground.
    (3) A second kick from behind the line of scrimmage is legal provided the ball has not crossed the line.
ARTICLE 2. KICKING TEAM PLAYERS ON LINE DURING KICK. During a kick from scrimmage, only the end men (eligible
receivers) on the line of scrimmage at the time of the snap, or an eligible receiver who is aligned or in motion behind the line and
is more than one yard outside the end man, are permitted to advance more than one yard beyond the line before the ball is
kicked.
Penalty: For advancing more than one yard beyond the line of scrimmage before the ball is kicked: Loss of five yards.
ARTICLE 3. DEFENSIVE TEAM FORMATION.
Item 1. Punt Formation. When Team A presents a punt formation:
(1) A Team B player, who is within one yard of the line of scrimmage, must have his entire body outside the snapper’s shoulder
    pads at the snap.
Penalty: For illegal formation by the defense: Loss of five yards.
(2) Team B players cannot push teammates into the offensive formation.
Penalty: For pushing teammates into offensive formation: Loss of 15 yards.
    Note: The restriction in (1) above does not apply if a team does not present a standard punt formation (an equal number of
    players on either side of the snapper in a tight formation, and one player split out wide to either side), or if, after the
    offensive team has assumed a set position, there is a shift, or a player goes in motion.
Item 2: Field Goal or Try Kick Formation. When Team A presents a field goal or Try Kick formation:
(1) A Team B player, who is within one yard of the line of scrimmage, must have his entire body outside the snapper’s shoulder
    pads at the snap.
(2) No more than six Team B players may be on the line of scrimmage on either side of the snapper at the snap.
Penalty: For illegal formation by the defense: Loss of five yards.
(3) Team B players cannot push teammates into the offensive formation.
Penalty: For pushing teammates into offensive formation: Loss of 15 yards.
    Note: The restrictions in (1) and (2) above do not apply if a team does not present a standard field goal or Try Kick
    formation (an equal number of players on either side of the snapper in a tight formation), or if, after the offensive team has
    assumed a set position, there is a shift, or a player goes in motion.
ARTICLE 4. BLOCKING DURING KICK. The following blocking rules apply during a scrimmage kick down:
(a) All players on the receiving team are prohibited from blocking below the waist during a down in which there is a scrimmage
    kick.
(b) Prior to the ball being kicked, the kicking team is subject to the blocking restrictions applicable to the offense, and the
    receiving team is subject to the blocking restrictions applicable to the defense, except that a kicking team player may use
    his hands to ward off, push, or pull aside a receiver who is legally or illegally attempting to obstruct his attempt to proceed
    downfield.
(c) After the ball is kicked and goes beyond the line of scrimmage, and until the kick ends (either team secures possession of
    the ball, or the ball is dead by rule), the kicking team is subject to the blocking restrictions of the defense, and the receiving
    team is subject to the blocking restrictions of the offense. (For the exception prohibiting a block in the back by the kicking
    team while the ball is in flight, see 12-1-3-b-Note). After the kick ends, both teams are subject to the normal restrictions
    applicable to offense and defense.
    Exception: If the ball goes beyond the line of scrimmage and returns behind the line untouched by the receiving team
    beyond the line, the blocking restrictions do not change, and the kicking team continues to be subject to the blocking
    restrictions of the offense and the receiving team to the blocking restrictions of the defense.
(d) After the ball has been kicked, and until the receiving team establishes possession, the yardage for penalties by either team
    shall be enforced as for offensive fouls.
    Note: It is a foul for unnecessary roughness if a player of the receiving team goes out of bounds and blocks a kicking team
    player who is out of bounds. (12-2-6-c)
ARTICLE 5. KICKING TEAM PLAYER VOLUNTARILY OUT OF BOUNDS. During a scrimmage kick that crosses the line of
scrimmage, and prior to the end of the kick, it is a foul if a kicking team player goes out of bounds voluntarily (without being
contacted by a receiving team player) to avoid a block by a receiving team player.
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Penalty: Loss of five yards.
If a member of the kicking team is forced out of bounds, or goes out of bounds voluntarily, and does not attempt to return
inbounds in a reasonable amount of time, it is a foul for Unsportsmanlike Conduct. (12-3-1-v)

SECTION 2           TOUCHING A SCRIMMAGE KICK
ARTICLE 1. TOUCHING BEHIND THE LINE. Any touching of the ball behind the line of scrimmage by a kicking team player is
legal, even if the ball has crossed the line and returns behind the line.
ARTICLE 2. FIRST TOUCHING BEYOND THE LINE. “First touching” is when a player of the kicking team touches a
scrimmage kick in the field of play that is beyond the line of scrimmage before it has been touched by a player of the receiving
team beyond the line. If the ball is first touched by a player of the kicking team, it remains in play. First touching is a violation,
and the receivers shall have the option of taking possession of the ball at the spot of first touching, provided no live-ball penalty
is accepted on the play, or at the spot where the ball is dead. First touching does not offset a foul by the receivers; if there is a
live-ball foul by the receivers that is enforced, either before or after the first touching violation, the violation is disregarded, and
the penalty is enforced as customary.
    Notes:
    (1) If the receiving team gains possession, subsequently loses possession, and fouls after the kicking team gains
        possession, the spot of first touching is disregarded, and the kicking team retains possession. Enforcement of the
        receiving team’s foul is as customary.
    (2) If the receiving team fouls during the kick, gains possession, then subsequently loses possession, and the kicking team
        accepts the penalty, the first-touch violation is disregarded. The ball reverts to the receiving team, and its penalty is
        enforced from the end of the kick, or the spot of the foul, whichever is less beneficial to it. If the kicking team declines
        the penalty, it is the receiving team’s ball at the spot of the first-touch violation.
    (3) There may be multiple “first touch” spots if the kicking team touches the ball multiple times before it is touched by a
        player of the receiving team.
    (4) A Team B player is deemed not to have touched a kick if such touching occurs in the immediate vicinity of the line in an
        attempt to block the kick.
    (5) If a player of the kicking team touches the goal line with any part of his body while touching the ball, the ball is dead,
        and the result of the play is a touchback.
    (6) The spot of first touching is normally the yard line at which the ball is when touched. If the first touching occurs while
        the ball is in the air above or beyond the goal line, and prior to the ball touching the goal line or the ground beyond the
        goal line, the spot of first touching is deemed to be the spot from which the touching player left the field of play, but in
        no event inside the receiving team’s one-yard line.
ARTICLE 3. KICKING TEAM PLAYER OUT OF BOUNDS. A player of the kicking team, who has been out of bounds, may not
touch or recover a scrimmage kick beyond the line of scrimmage until it has been touched by a kicking team player who has not
been out of bounds, or until it has been touched by a player of the receiving team beyond the line.
    Note: If a player touches or recovers the ball before he has re-established himself inbounds, the ball is out of bounds at the
    spot of the touch, and there is no foul.
Penalty: For illegal touching of a scrimmage kick: Loss of five yards. If the illegal touching is inside the receiver’s five-
yard line, in addition to the other specified options, the receiving team may elect to take a touchback.
ARTICLE 4. BLOCKED INTO KICK. There is no distinction between a player touching a ball or being touched by it, but a
player is not considered to have touched the ball if he is blocked into it by an opponent, provided he is in a passive position and
not blocking. A player who is engaged with and blocking his opponent when he contacts the ball is deemed to have touched the
ball.
ARTICLE 5. BALL BATTED OR ILLEGALLY KICKED INTO OPPONENT. A receiving team player is deemed to have not
touched the ball if it is batted or illegally kicked into him by an opponent. Such touching by the receiving team is disregarded,
though the bat or kick could create a first touching violation or a foul for an illegal bat or illegal kick.

SECTION 3         CATCH OR RECOVERY OF A SCRIMMAGE KICK
ARTICLE 1. KICKERS CATCH OR RECOVER BEHIND LINE. When a scrimmage kick is caught or recovered by the kicking
team behind the line of scrimmage, the kicking team may advance, even if the ball has crossed the line and returned behind the
line. (3-25-4)
Item 1. Same Series of Downs. If the ball has returned behind the line untouched by the receiving team beyond the line, and
the kicking team catches or recovers the ball, the existing series of downs continues unless the kicking team advances the ball
to the line to gain, in which case there is a new series of downs.
Item 2. New Series of Downs. If the ball has returned behind the line after being touched by the receiving team beyond the
line, and the kicking team catches or recovers the ball, by rule there has been a change of possession, and the kicking team will
be awarded a new series of downs.
ARTICLE 2. KICKERS CATCH OR RECOVER BEYOND LINE. When the kickers catch or recover a kick beyond the line of
scrimmage, the ball is dead at the spot of recovery, even if a member of the receiving team has first touched the ball.
Item 1. Legal Catch or Recovery. If the receiving team touches the ball beyond the line, a subsequent catch or recovery by the
kicking team is legal, but the ball is dead. In the event of such a catch or recovery, it is first-and-10 for the kickers, or if the ball is
caught or recovered by the kickers in the receiver’s end zone, it is a touchdown for the kickers. (7-3-1-d)
Item 2. Illegal Catch or Recovery. If the kickers catch or recover a kick beyond the line that has not been touched beyond the
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line by the receiving team, the ball is dead, and it is first-and-10 for the receivers at the spot of catch or recovery (see 11-4-2 for
missed goals). If a kick from behind the line is touched by the receiving team behind the line, such touching does not make the
kicking team eligible to catch or recover the kick beyond the line.
Item 3. Touchback. If a player of the kicking team illegally catches or recovers a scrimmage kick, other than a field-goal attempt
from beyond the 20-yard line, and touches the goal line with any part of his body while in possession of the ball, the ball is dead,
and the result of the play is a touchback. For a missed field goal from beyond the 20-yard line, see 11-4-2.
ARTICLE 3. RECEIVERS CATCH OR RECOVERY. If the receivers catch or recover any kick, they may advance. For fair catch
exception, see 10-2. For exception for a ball that has crossed the goal line. (9-4-1)
ARTICLE 4. SIMULTANEOUS CATCH OR RECOVERY. When a legal kick is simultaneously caught or recovered anywhere
by two eligible opposing players, or if the ball is lying on the field of play with no player attempting to recover it, it is awarded to
the receivers. (7-2-1-i)

SECTION 4            BALL CROSSES GOAL LINE, TOUCHES GOAL POSTS, OUT OF BOUNDS, DEAD IN FIELD OF PLAY
ARTICLE 1. BALL CROSSES RECEIVERS’ GOAL LINE. If a scrimmage kick crosses the receiver’s goal line from the impetus
of the kick, the following shall apply:
(a) If the ball has not been touched by a player of the receiving team beyond the line of scrimmage, it is dead immediately, and
     the result of the play is a touchback, when:
     (1) it touches the ground on or behind the receiver’s goal line
     (2) it touches a player of the kicking team who is touching the ground on or behind the receiver’s goal line
     (3) it touches a player of the kicking team who has touched the ground on or behind the receiver’s goal line and has not re-
          established himself in the field of play. See 11-4-2 for options for missed field goals beyond the 20-yard line.
(b) If the receivers catch the ball in the end zone, or recover it in the end zone after touching it in the field of play or the end
     zone, they may advance.
(c) If the kickers catch or recover the ball in the end zone after the receivers first touch the ball in the field of play or the end
     zone, it is a touchdown for the kickers.
(d) If there is a spot of first touching by the kickers outside the receivers’ 20-yard line, the receiving team has the option to take
     possession of the ball at the spot of the first touching.
(e) If the scrimmage kick is a punt, and the ball goes out of bounds in the field of play after being touched by a receiver in the
     end zone or in the field of play, it is the receiving team’s ball at the out-of-bounds spot.
ARTICLE 2. KICK TOUCHES RECEIVERS’ GOAL POSTS. If a missed field goal or try, or a punt, has touched the receiver’s
goal post, uprights, or crossbar, the ball is dead in the receiver’s end zone, and all customary rules pertaining to punts, missed
field goals, and tries apply.
ARTICLE 3. KICK TOUCHES KICKERS’ GOAL POSTS. If a scrimmage kick touches the kickers’ goal post, uprights, or
crossbar, the ball is dead, and it is a safety. See 11-5-1.
ARTICLE 4. BALL OUT OF BOUNDS OR NOT RECOVERED IN FIELD OF PLAY. If a scrimmage kick goes out of bounds
between the goal lines or is lying in the field of play with no player attempting to recover it, it is the receiver’s ball at the dead-ball
spot, unless the special rules for missed field goals in 11-4-2 apply.

SECTION 5         SPOTS OF ENFORCEMENT
ARTICLE 1. SPOTS OF ENFORCEMENT. If there is a foul from the time of the snap until a legal scrimmage kick ends,
enforcement is from the previous spot. This includes a foul during a run prior to a legal kick, and a foul by the kicking team
during a missed field-goal attempt.
    Exceptions:
    (1) If the offensive team commits a foul in its own end zone, it is a safety.
    (2) Unless the kick is a missed field-goal attempt, if there is a foul by the kicking team, the receiving team will have the
        option of taking the penalty at the previous spot and replaying the down, or adding the penalty yardage on to the dead-
        ball spot.
         Notes:
         (a) The dead-ball spot for scrimmage kicks that result in a touchback is the 20-yard line.
         (b) If there is a foul for an illegal touch inside the five-yard line, the receiving team also has the option of accepting a
             touchback.
    (3) Fair-catch interference, interference with the opportunity to make a catch, an invalid fair-catch signal, or a personal foul
        (blocking) after a fair-catch signal are enforced from the spot of the foul.
    (4) Except for fouls that are committed in an attempt to block the kick (such as running into or roughing the kicker,
        defensive holding (pull-and-shoot), leverage, leaping, and pushing teammate(s) into the offensive formation), if the
        receiving team commits a foul during a kick that crosses the line of scrimmage, the penalty for its infraction will be
        enforced as if it had been in possession of the ball at the time the foul occurred (a post-possession foul), provided that
        the receiving team does not lose possession of the ball at any time during the down. The penalty shall be enforced
        from whichever of the following spots is least beneficial to the receiving team:
         (a) the end of the kick; or
         (b) the spot of the foul.
         If the least beneficial spot is in the end zone, the spot of enforcement is the 20-yard line, unless enforcement results in
         a safety (14-4-4).

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    (5) For enforcement of a personal or unsportsmanlike conduct foul on a play that results in a score, see 14-2-3; for illegally
        kicking a loose ball, see 12-5-2; and for an illegal bat, see 12-5-1.

When Team B establishes possession of the ball, a scrimmage kick ends, and a running play begins, and fouls that occur
thereafter are enforced from the dead-ball spot or the spot of the foul (three-and-one method, 14-3-6).




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                 RULE 10                      OPPORTUNITY TO CATCH A KICK, FAIR CATCH
SECTION 1          OPPORTUNITY TO CATCH A KICK
ARTICLE 1. INTERFERENCE. During a scrimmage kick that crosses the line of scrimmage, or during a free kick, members of
the kicking team are prohibited from interfering with any receiver making an attempt to catch the airborne kick, or from obstructing
or hindering his path to the airborne kick, and regardless of whether any signal was given.
Item 1. Contact with Receiver. It is interference if a player of the kicking team contacts the receiver, or causes a passive player
of either team to contact the receiver, before or simultaneous to the receiver touching the ball.
Item 2. Right of Way. A receiver who is moving toward a kicked ball that is in flight has the right of way. If opponents obstruct his
path to the ball, or cause a passive player of either team to obstruct his path, it is interference, even if there is no contact, or if he
catches the ball in spite of the interference, and regardless of whether any signal was given.
    Note: It is not a foul if a kicking team player is blocked into the receiver, or the contact is the result of a foul.
Penalties:
(a) For interference with the opportunity to make a catch when a prior signal has not been made: Loss of 15 yards from
    the spot of the foul, and the offended team is entitled to put the ball in play by a snap from scrimmage. See 4-8-2-d.
(b) For interfering with a fair catch after a signal: Loss of 15 yards from the spot of the foul. A fair catch is awarded even
    if the ball is not caught. See 10-2-4.

SECTION 2        FAIR CATCH
ARTICLE 1. DEFINITION. A Fair Catch is an unhindered catch of an airborne scrimmage kick that has crossed the line of
scrimmage, or of an airborne free kick, by a player of the receiving team who has given a valid fair catch signal.
ARTICLE 2. FAIR-CATCH SIGNAL.
Item 1. Valid Fair-Catch Signal. A fair-catch signal is valid if it is made while the kick is in flight by a player who fully extends one
arm above his helmet and waves it from side to side. A receiver is permitted to legally raise his hand(s) to his helmet to shield his
eyes from the sun, but is not permitted to raise them above his helmet except to signal for a fair catch.
Item 2. Invalid Fair-Catch Signal. If a player raises his hand(s) above his shoulder(s) in any other manner, it is an invalid fair-
catch signal. If there is an invalid fair-catch signal, the ball is dead when caught or recovered by any player of the receiving team,
but it is not a fair catch. (The ball is not dead if it touches an opponent before or after it strikes the ground. See Article 3-b).
    Note: A fair-catch signal given behind the line of scrimmage on a scrimmage kick is ignored and is neither valid nor invalid.
Penalty: For an invalid fair-catch signal: Loss of five yards from the spot of the signal. If the foul occurs in Team B’s end
zone during a free kick, it is enforced from the previous spot.
Item 3. Muff. After a valid fair-catch signal, the opportunity to catch a kick does not end if the ball is muffed. The player who
signaled for a fair catch must have a reasonable opportunity to catch the muffed ball before it hits the ground without interference
by members of the kicking team, and regardless of whether the ball strikes another player or an official.
Penalty: For interference with the opportunity to make a fair catch after a muff: A fair catch is awarded at the spot of the
interference even if the ball is not caught.
Item 4. Intentional Muff. An intentional muff forward prior to a catch in order to gain ground is an illegal bat (see 12-5-1-Note).
Item 5. Illegal Block. Until the ball touches a teammate or an opponent, a player who makes a valid or invalid fair-catch signal is
prohibited from blocking or initiating contact with a player of the kicking team.
Penalty: For an illegal block after a fair-catch signal: Loss of 15 yards from the spot of the foul. If the foul occurs in Team
B’s end zone during a free kick, it is enforced from the previous spot.
ARTICLE 3. RESTRICTIONS.
(a) If a player of the receiving team makes a valid fair-catch signal, and the ball is not touched by a player of the kicking team,
    the following apply:
    (1) If he catches the ball, it is dead immediately, and it is a fair catch. If he muffs the ball, but catches it before it touches the
          ground, it is also a fair catch. After a fair catch, the ball is next put in play by the receiving team at the dead-ball spot (or
          at the succeeding spot after enforcement of any applicable penalties). See Article 4.
    (2) If he recovers the ball after it strikes the ground, it is dead immediately, but it is not a fair catch.
    (3) If the ball is caught or recovered by a teammate who did not make a valid fair-catch signal, the ball is dead immediately,
          but it is not a fair catch. The ball will next be put in play by a snap by the receiving team at the dead-ball spot (or at the
          succeeding spot after enforcement of any applicable penalties).
(b) If the ball touches a player of the kicking team, before or after it strikes the ground, any player of the receiving team may catch
    or recover it and advance. If a player of the receiving team who has given a valid fair-catch signal catches the ball before it
    hits the ground and elects not to advance the ball, it is a fair catch.
(c) If a receiver has made a fair catch, an opponent is prohibited from blocking or tackling him, or causing a passive player of
    either team to contact him. Incidental contact is not a foul.
Penalty: For illegal contact with a player who has made a fair catch: Loss of 15 yards from the dead-ball spot and
disqualification if flagrant.
ARTICLE 4. PUTTING BALL IN PLAY AFTER FAIR CATCH. After a fair catch is made, or is awarded as the result of fair-catch
interference, the receiving team has the option of putting the ball in play by either a:
(a) fair-catch kick (drop kick or placekick without a tee) from the spot of the catch (or the succeeding spot after enforcement of
     any applicable penalties) (3-10 and 11-4-3), or
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                                                         Rule 10, Section 2
(b) snap from the spot of the catch (or the succeeding spot after enforcement of any applicable penalties).
    Note: A receiver may make or be awarded a fair catch in his end zone. If there is fair-catch interference or illegal contact with
    the receiver after he has made a fair catch, the 15-yard penalty is enforced from the receiver’s 20-yard line, and the option
    for a fair-catch kick is awarded.
ARTICLE 5. EXTENSION OF A PERIOD. If time expires during a play in which a player has signaled for a fair catch, the following
shall apply:
(a) If the player makes a fair catch, the receiving team may elect to extend the period with a fair-catch kick, but does not have
     the option to extend the period by a snap from scrimmage.
(b) If the kicking team interferes with a receiver who has signaled for a fair catch, the receiving team will be awarded a 15-yard
     penalty and the option to extend the period by attempting a fair-catch kick or by a snap from scrimmage.




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                                                  RULE 11              SCORING
SECTION 1     VALUE OF SCORES
ARTICLE 1. WINNING TEAM. The team that scores the greater number of points during the entire game is the winner.
    Note: If a team forfeits a game, the opponent will be declared the winner by a score of 2-0, but the points will not be added
    to the winning team’s record for purposes of offensive production or tie-breakers.
ARTICLE 2. TYPES OF SCORING PLAYS. Points are scored as follows:
(a) Touchdown: 6 points
(b) Field Goal: 3 points
(c) Safety: 2 points
(d) Try after touchdown: 1 point (Field Goal or Safety) or 2 points (Touchdown)

SECTION 2          TOUCHDOWN
ARTICLE 1. TOUCHDOWN PLAYS. A touchdown is scored when:
(a) the ball is on, above, or behind the plane of the opponents’ goal line (extended) and is in possession of a runner who has
    advanced from the field of play into the end zone
(b) a ball in possession of an airborne runner is on, above, or behind the plane of the goal line, and some part of the ball
    passed over or inside the pylon
(c) a ball in player possession touches the pylon, provided that, after contact by an opponent, no part of the player’s body,
    except his hands or feet, struck the ground before the ball touched the pylon
(d) any player who is legally inbounds catches or recovers a loose ball (3-2-4) that is on, above, or behind the opponent’s goal
    line
(e) the Referee awards a touchdown to a team that has been denied one by a palpably unfair act
    Notes:
    (1) The ball is automatically dead when it is in legal possession of a player and is on, above, or behind the opponent’s goal
        line.
    (2) If a player attempts to catch a pass, the ball is not dead, and a touchdown is not scored, until the receiver completes
        the catch. See 3-2-7.

SECTION 3        TRY
ARTICLE 1. GENERAL RULES. After a touchdown, a Try is an opportunity for either team to score one or two additional points
during one scrimmage down.
The Try begins when the Referee sounds the whistle for play to start. The team that scored the touchdown shall put the ball in
play:
(a) anywhere on or between the inbound lines;
(b) 15 yards from the defensive team’s goal line for a Try-kick; or
(c) two yards from the defensive team’s goal line for a Try by pass or run.
    Notes:
    (1) A team’s choice is not final and is subject to change following a team timeout or accepted penalty
    (2) All general rules for fumbles after the two-minute warning apply to the Try (See 8-7-6)
    (3) The Game Clock will not run during the Try
    (4) If the ball has been declared ready for play by the Referee, and the offensive team wants to change the location of the
        ball, they can do so by calling a timeout
    (5) See 9-1-3 for restriction applicable to Team B formation at the snap
    (6) See 16-1-3-a for exception when a touchdown is scored in an overtime period, and 4-8-2-c when a touchdown is
        scored during a down in which time expires in the fourth period.
ARTICLE 2. RESULTS OF A TRY. During a Try, the following shall apply:
(a) If a kick results in a field goal by the offense, one point is awarded. An artificial or manufactured tee shall not be permitted to
    assist in the execution of a Try-kick. (The conditions of 11-4-1 must be met.)
(b) If a Try results in a touchdown by either team, two points are awarded.
(c) If the Try results in what would ordinarily be a safety against either team, one point is awarded to the opponent.
(d) If any play results in a touchback, the Try is unsuccessful, and there shall be no replay.
(e) The Try ends when:
    (1) either team scores;
    (2) the ball is dead by rule; or
    (3) a fumble by either team is recovered by a teammate of the fumbling player.
ARTICLE 3. FOULS COMMITTED DURING TRY.
If a foul results in a retry, Team A will have the option to enforce the penalty from the spot where it attempted the try (previous
spot) or from the yard line for the other try option.
Exception: Defensive pass interference is a spot foul. If the foul is in the end zone, the ball will be placed on the defense’s one-
yard line, or half the distance to the goal, whichever is more advantageous to Team A. In addition, Team A may have the
penalty enforced half the distance from the other Try spot.
Item 1. Fouls Before the Signal. If there is a foul by either team after a touchdown and before the ready-for-play signal, it is
enforced on the next kickoff.

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Item 2. Fouls Before the Snap. If there is a foul by the offense which causes a play to be whistled dead prior to the snap, it
shall be treated the same as if it had occurred prior to a scrimmage play. The whistle shall be blown immediately. (See 7-4-1). If
a foul by the defense prevents the attempt of a Try, the offensive team has the option to have the distance penalty assessed on
the next Try or on the ensuing kickoff.
Item 3. Fouls by Team A. The following applies if there is a foul by Team A:
(a) If there is a foul by Team A during a successful Try, after the penalty, the Try shall be repeated, unless the penalty results in
    a loss of down.
(b) If the penalty for a foul results in a loss of down, the Try is unsuccessful, and there shall be no replay.
(c) All fouls committed after a change of possession will result in a distance penalty being assessed on the ensuing kickoff,
    provided the penalty does not negate a successful Try.
(d) All personal or unsportsmanlike conduct fouls will result in a distance penalty being assessed on the ensuing kickoff,
    provided the penalty does not negate a successful Try.
(e) If the foul results in a safety, Team B is awarded one point.
Item 4. Fouls by Team B. The following applies if there is a foul by Team B:
(a) All fouls will result in the distance penalty being assessed on the ensuing kickoff, unless Team A chooses to attempt a retry
    after enforcement of the penalty, or the penalty negates a score by Team B.
(b) If the foul results in a safety, Team A is awarded one point.
    Note: If the foul is for defensive pass interference, and it is declined, no distance penalty is enforced on the kickoff.
Item 5. Fouls by Both Teams With No Change of Possession. If there are fouls by both teams during a Try in which there is
not a change of possession, the Try must be replayed (14-5-1).
Exception: See 14-4-9-Item 3-exc. 2 for enforcement when the scoring team commits a dead ball foul after a score.
Item 6. Fouls by Both Teams With Change of Possession. If both teams foul during a Try in which there is a change or
changes of possession, the following shall apply:
(a) If both teams foul before the first change of possession, the Try shall be repeated.
(b) If Team B fouls before the first change of possession, the Try shall be repeated.
(c) If Team A fouls before the first change of possession, the Try shall be deemed to have failed.
(d) If neither team fouls before the first change of possession, and both teams subsequently commit fouls, the Try shall be
    deemed to have failed.
Item 7. Fouls After a Try. If there is a foul by either team after a Try, it is enforced on the succeeding kickoff. If there are fouls
by both teams, normal enforcement rules apply.
ARTICLE 4. KICKOFF AFTER TRY. After a Try, the team on defense during the Try shall receive the kickoff (6-1-1-a).

SECTION 4          FIELD GOAL
ARTICLE 1. SUCCESSFUL FIELD GOAL. A field goal is scored when all of the following conditions are met:
(a) The kick must be a placekick or dropkick made by the offense from on or behind the line of scrimmage or from the spot of a
    fair catch (fair-catch kick). If a fair catch is made or awarded outside the inbound line, the spot of the kick is the nearest
    inbound line.
(b) After the ball is kicked, it must not touch the ground or any player of the offensive team before it passes through the goal.
(c) The entire ball must pass through the vertical plane of the goal, which is the area above the crossbar and between the
    uprights or, if above the uprights, between their outside edges. If the ball passes through the goal, and returns through the
    goal without striking the ground or some object or person beyond the goal, the attempt is unsuccessful.
    Note: See 9-1-3 for restriction applicable to Team B formation at the snap.
ARTICLE 2. MISSED FIELD GOALS. If there is a missed field-goal attempt, and the ball has not been touched by the receivers
beyond the line in the field of play, the following shall apply:
(a) If the spot of the kick was inside the receivers’ 20-yard line, it is the receivers’ ball at the 20-yard line or
(b) If the spot of the kick was from the receivers’ 20-yard line or beyond the receivers’ 20-yard line, it is the receivers’ ball at the
    spot of the kick.
    Note: These options apply only if the ball has been beyond the line.
    Exceptions:
    (1) If there is a missed field-goal attempt and the ball is touched by the receivers beyond the line of scrimmage in the field
        of play, all general rules for a kick from scrimmage will apply, and the special rules pertaining to field goals in (a) and
        (b) are not applicable.
    (2) If a field-goal attempt from anywhere on the field is blocked, and the ball has not been beyond the line, general rules for
        scrimmage kicks apply, and the special rules pertaining to field goals in (a) and (b) are not applicable.
    (3) If the ball has gone beyond the line and returns behind the line untouched by Team B beyond the line, and either team
        recovers and attempts to advance the ball, all special rules for missed field goals in (a) and (b) are no longer
        applicable, and general rules for scrimmage kicks apply. If either team recovers and does not attempt to advance the
        ball, Team B has the option to take the ball at the dead-ball spot or the spot of the kick.
         Note: If a foul occurs during an unsuccessful field-goal attempt in (1), (2), or (3) above, Rule 9-5-1 governs.
    (4) If the receiving team commits a post-possession foul during the kick, all special rules for missed field goals in (a) and
        (b) are no longer applicable, and general rules for scrimmage kicks apply.


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    Note: If the ball has not been touched by the receivers beyond the line in the field of play and goes out of bounds in the
    field of play after being touched by a receiver in the end zone, it is the receiving team’s option to take the ball at the spot of
    the kick or the receiving team’s 20-yard line.

    SUPPLEMENTAL NOTES:
    (1) If the receivers do not touch the ball beyond the line of scrimmage in the field of play or in the end zone, and the ball
        bounces back into the field of play after it touches the ground on or behind the receiver’s goal line, it is the receivers’
        ball at the spot of the kick. If the attempt was from inside the 20-yard line, it is a touchback. The ball is dead as soon as
        it touches the ground in the end zone.
    (2) If the ball goes out of bounds after it is first touched by the receivers beyond the line of scrimmage in the field of play, it
        is the receivers’ ball at the out-of-bounds spot.
    (3) If the receivers first touch the ball beyond the line of scrimmage in the field of play or in the end zone, and the kickers
        recover, the ball belongs to the kickers at the spot of recovery. If the recovery is in the end zone, it is a touchdown.
    (4) If the receivers first touch the ball beyond the line of scrimmage in the field of play, and without any new impetus, the
        ball rolls into the end zone where it is declared dead in the possession of the receivers, it is a touchback.
    (5) For a successful field goal, or for an unsuccessful attempt that does not land in the field of play, the maximum amount
        of time that can run off the game clock is five seconds.
ARTICLE 3. FAIR-CATCH KICK. The rules for a field-goal attempt from scrimmage apply to a field-goal attempt following a
Fair Catch (a Fair-Catch Kick).
    Exceptions:
    (1) The fair-catch kick line for the kicking team is the yard line through the most forward point from which the ball is kicked.
    (2) The fair-catch kick line for the receiving team is the yard line 10 yards in advance of the kicking team’s fair-catch kick
        line.
    Note: Though a fair-catch kick is not a free kick, the rules for a free-kick formation apply (6-1-3). However, the kicking team
    cannot possess the ball unless it has first been touched or possessed by the receivers.
ARTICLE 4. NO TEE. An artificial or manufactured tee shall not be permitted to assist in the execution of a field goal.
ARTICLE 5. BALL NEXT IN PLAY. After a field goal, the team scored upon will receive the kickoff. See 6-1-1-a.

SECTION 5          SAFETY
ARTICLE 1. SAFETY. It is a Safety:
(a) if the offense commits a foul in its own end zone or;
(b) when an impetus by a team sends the ball behind its own goal line, and the ball is dead in the end zone in its possession or
    the ball is out of bounds behind the goal line.
    Exceptions:
    It is not a safety:
    (1) If a forward pass from behind the line of scrimmage is incomplete in the end zone.
    (2) If a defensive player, in the field of play, intercepts a pass or catches or recovers a fumble, backward pass, scrimmage
          kick, free kick, or fair catch kick, and his original momentum carries him into his end zone where the ball is declared
          dead in his team’s possession. The ball belongs to the defensive team at the spot where the player’s foot or other body
          part touched the ground to establish possession. If that spot is in the end zone, the result of the play is a touchback,
          even if the ball is not on, above, or beyond the goal line. (11-6-1)
          (a) If a player of the team which intercepts, catches, or recovers the ball commits a live-ball foul in the end zone, it is a
               safety.
          (b) If a player who intercepts, catches, or recovers the ball throws a completed illegal forward pass from the end zone,
               the ball remains alive. If his opponent intercepts the illegal pass thrown from the end zone, the ball remains alive. If
               he scores, it is a touchdown.
          (c) If a player of the team which intercepts, catches, or recovers the ball commits a foul in the field of play, and the ball
               becomes dead in the end zone, the basic spot is the spot of the change of possession.
          (d) If the spot where possession changed is inside the one-yard line, the ball is to be spotted at the one-yard line.
    Notes:
    (1) A ball in the end zone which is carried toward the field of play is still in the end zone until the entire ball is in the field of
        play (3-12-4).
    (2) The impetus is always attributed to the offense, unless the defense creates a new force that sends the ball behind its
        own goal line by muffing a ball which is at rest or nearly at rest, or by batting or kicking any loose ball (3-17).
ARTICLE 2. BALL IN PLAY AFTER SAFETY. After a safety, the team scored upon must put the ball in play by a free kick
(punt, dropkick, or placekick) from its 20-yard line. An artificial or manufactured tee cannot be used. See 6-1-1-b and 6-1-3.
    Exception: For extension of either half, see 4-8-2-g.

SECTION 6       TOUCHBACK
   Note: A touchback, while not a score, is included in this rule because, like scoring plays, it is a case of a ball that is dead on
   or behind a goal line.
ARTICLE 1. DEFINITION. It is a Touchback if the ball is dead on or behind the goal line a team is defending, provided that the
impetus comes from an opponent, and that it is not a touchdown or an incomplete forward pass.


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                                                           Rule 11, Section 6
    Note: A ball in the end zone which is carried toward the field of play is still in the end zone until the entire ball is in the field
    of play (3-12-4).
ARTICLE 2. TOUCHBACK SITUATIONS. When a team provides the impetus (3-17) that sends a loose ball behind its
opponent’s goal line, it is a touchback:
(a) if the ball is dead in the opponent’s possession in its end zone
(b) if the ball is out of bounds behind the goal line (see 8-7-3-Item 4-a)
(c) if a scrimmage kick has not been touched by a player of the receiving team beyond the line of scrimmage, and the ball:
    (1) touches the ground on or behind the receiver’s goal line
    (2) touches a player of the kicking team who is touching the ground on or behind the receiver’s goal line
    (3) touches a player of the kicking team who has touched the ground on or behind the receiver’s goal line and has not re-
          established himself in the field of play (see 11-4-2-b for exception for a missed field goal from beyond the 20-yard line)
(d) if any legal or illegal kick touches the receivers’ goal posts, crossbar, or uprights, other than one which scores a field goal
(e) if the kickers interfere with the opportunity to catch an airborne kick or with a fair catch behind the receivers’ goal line (10-1
    and 10-2)
(f) if a player of the kicking team illegally catches or recovers a scrimmage kick in the field of play, and carries the ball across
    the goal line, or touches the goal line with any part of his body while in possession of the ball. For exception for a missed
    field goal from beyond the 20-yard line, see 11-4-2-b.
    Notes:
    (1) If the impetus is a scrimmage kick, and there has been a spot of first touching by the kickers beyond the receivers’ 20-
        yard line, the receivers shall have the option of taking possession of the ball at the spot of first touching.
    (2) The impetus is not from a kick if a muff, bat, juggle, or illegal kick of any kicked ball (by a player of either team) creates
        a new momentum which sends it on, above, or behind the goal line. See 3-17.
ARTICLE 3. BALL NEXT IN PLAY. After a touchback, the team that has been awarded the touchback next snaps the ball at its
20-yard line from any point on or between the inbound lines, unless the touchback results from a free kick, in which case the ball
shall be placed at the team’s 25-yard line.




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                                           RULE 12            PLAYER CONDUCT
SECTION 1          BLOCKING, USE OF HANDS AND ARMS
ARTICLE 1. LEGAL AND ILLEGAL BLOCK. A player of either team may block (obstruct or impede) an opponent at any time,
provided that the act is not:
(a) pass interference (see Rule 8, Section 5, Article 1);
(b) illegal contact (see Rule 8, Section 4);
(c) fair catch interference or interference with the opportunity to catch a kick (see Rule 10, Section 1, Articles 1–2);
(d) clipping against a non-runner (see Section 2, Article 1);
(e) an illegal chop block (see Section 2, Article 3);
(f) an illegal crackback block (see Section 2, Article 2);
(g) an illegal low block during a free kick, scrimmage kick, or after a change of possession (see Section 2, Article 5);
(h) unnecessary roughness (see Section 2, Article 6);
(i) roughing the passer (see Section 2, Article 9);
(j) an illegal cut block (see Rule 8, Section 4, Article 5);
(k) roughing the kicker or holder (see Section 2, Articles 10 and 11);
(l) offensive (see Section 1, Article 3(c)) or defensive (Section 1, Article 6) holding;
(m) illegal use of hands (see Section 1, Article 3-a);
(n) an illegal block in the back above the waist (see Section 1, Article 3-b);
(o) tripping (see Section 1, Article 4-c and Article 8);
(p) an illegal peel back block (see Section 2, Article 4); or
(q) an illegal blindside block (see Section 2, Article 7-a-9).
Penalty: For illegal use of hands, arms, or body by the offense: Loss of 10 yards.
ARTICLE 2. LEGAL BLOCK BY OFFENSIVE PLAYER. An offensive player is permitted to block an opponent by contacting
him with his head, shoulders, hands, and/or outer surface of the forearm, or with any other part of his body that is not prohibited
by another rule.
A blocker may use his arms, or open or closed hands, to contact an opponent on or outside the opponent’s frame (the body of
an opponent below the neck that is presented to the blocker), provided that he does not materially restrict him. The blocker
immediately must work to bring his hands inside the opponent’s frame, and as the play develops, the blocker is permitted to
work for and maintain his position against an opponent, provided that he does not illegally clip or illegally push from behind.
An offensive player is permitted to use his hands or arms to restrict an opponent:
(a) If he is a runner. A runner may ward off opponents with his hands and arms. He may also lay his hand on a teammate or
    push him into an opponent, but he may not grasp or hold on to a teammate.
(b) During a loose ball that has touched the ground. An offensive player may use his hands/arms legally to block or
    otherwise push or pull an opponent out of the way in a personal attempt to recover the ball. See specific fumble, pass, or
    kick rules and especially 6-2-1.
(c) During a kick. A kicking team player may use his hands/arms to ward off or to push or pull a receiver who is legally or
    illegally attempting to obstruct his attempt to proceed.
ARTICLE 3. ILLEGAL BLOCK BY OFFENSIVE PLAYER. It is a foul if an offensive blocker:
(a) Thrusts his hands forward above the frame of an opponent to contact him on the head, neck, or face
    Note: Contact in close-line play that is not direct and forcible is not a foul.
Penalty: For illegal use of hands by the offense: Loss of 10 yards.
(b) Blocks an opponent (from behind) in the back above the opponent’s waist, or uses his hands or arms to push an opponent
    from behind in a manner that affects his movement, except in close-line play.
    Note: The prohibition applies to a player of the kicking team while the ball is in flight during a free kick or scrimmage kick.
The use of hands on the back is not a foul when:
(1) a player is making a personal attempt to recover a loose ball;
(2) the opponent turns away from the blocker when contact is imminent;
(3) both of the blocker’s hands are on the opponent’s side. (If either hand is on the back, it is a foul.)
Penalty: For an illegal block in the back above the waist by the offense: Loss of 10 yards.
(c) Use his hands or arms to materially restrict an opponent or alter the defender’s path or angle of pursuit. It is a foul
    regardless of whether the blocker’s hands are inside or outside the frame of the defender’s body. Material restrictions
    include but are not limited to:
    (1) grabbing or tackling an opponent;
    (2) hooking, jerking, twisting, or turning him; or
    (3) pulling him to the ground.
Penalty: For holding by the offense: Loss of 10 yards.
    Blocking Notes:
    (1) When a defensive player is held by an offensive player during the following situations, Offensive Holding will not be
        called:
        (a) if the runner is being tackled simultaneously by another defensive player;
        (b) if the runner simultaneously goes out of bounds;
        (c) if a Fair Catch is made simultaneously;
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         (d)   if the action clearly occurs after a forward pass has been thrown to a receiver beyond the line of scrimmage;
         (e)   if the action occurs away from the point of attack and not within close line play;
         (f)   if a free kick results in a touchback;
         (g)   if a scrimmage kick simultaneously becomes a touchback;
         (h)   if the action is part of a double-team block, unless the defender splits the double team, gets to the outside of either
               blocker, or is taken to the ground; or
         (i)   if, during a defensive charge, a defensive player uses a “rip” technique that puts an offensive player in a position
               that would normally be holding.
    Exception: Holding will be called if the defender’s feet are taken away from him by the offensive player’s action.
    (2) If a blocker falls on or pushes down a defender whose momentum is carrying him to the ground, Offensive Holding will
        not be called unless the blocker prevents the defender from rising from the ground.
    (3) If the official has not seen the entire action that sends a defender to the ground, Offensive Holding will not be called.
ARTICLE 4. OTHER PROHIBITED ACTS. No offensive player may:
(a) pull a runner in any direction at any time
(b) use interlocking interference, by grasping a teammate or by using his hands or arms to encircle the body of a teammate
(c) trip an opponent
(d) push or throw his body against a teammate to aid him in an attempt to obstruct an opponent or to recover a loose ball.
Penalty: For assisting the runner, interlocking interference, tripping, or illegal use of hands, arms, or body by the
offense: Loss of 10 yards.
ARTICLE 5. LEGAL USE OF HANDS OR ARMS BY DEFENSE. A defensive player may use his hands, arms, or body to
push, pull, or ward off offensive players:
(a) when he is defending himself against an obstructing opponent while attempting to reach the runner
(b) when an opponent is obviously attempting to block him
(c) in a personal attempt to reach a loose ball that has touched the ground during a backward pass, fumble, or kick
(d) during a forward pass that has crossed the neutral zone and has been touched by any player
    Exceptions:
    (1) An eligible receiver is considered to be an obstructing opponent only to a point five yards beyond the line of scrimmage
        unless the player who receives the snap demonstrates no further intention to pass the ball (including handing off the
        ball, pitching the ball, or moving out of the pocket). See 8-4-2–3 for rules applicable to Illegal Contact with an eligible
        receiver.
    (2) See 8-4-5 for rules applicable for an Illegal Cut Block against an eligible receiver.
ARTICLE 6. DEFENSIVE HOLDING. It is a foul for defensive holding if:
(a) a defensive player tackles or holds any opponent other than a runner, except as permitted in Article 5
(b) during a punt, field goal attempt, or Try-kick attempt, B1 grabs and pulls an offensive player out of the way, allowing B2 to
    shoot the gap (pull-and-shoot) in an attempt to block the kick, except if B1 is advancing toward the kicker
    Note: Any offensive player who pretends to possess the ball, and/or one to whom a teammate pretends to give the ball,
    may be tackled until he crosses the line of scrimmage between the tackles of a normal tight offensive line.
Penalty: For defensive holding: Loss of five yards and an automatic first down.
ARTICLE 7. ILLEGAL USE OF HANDS BY DEFENSE. It is a foul if a defensive player thrusts his hands or arms forward
above the frame of an opponent to contact him on the neck, face, or head.
    Note: Contact in close-line play that is not direct and forcible is not a foul.
Penalty: For Illegal Use of Hands by the Defense: Loss of five yards and an automatic first down.
ARTICLE 8. TRIPPING BY DEFENSIVE PLAYER. A defensive player is prohibited from tripping an opponent, including the
runner.
Penalty: For tripping by the defense: Loss of 10 yards and an automatic first down.

SECTION 2            PERSONAL FOULS
ARTICLE 1. CLIPPING. There shall be no clipping against a non-runner. This does not apply to offensive blocking in close-line
play where it is legal to clip above the knee(s), but it is illegal to clip at or below the knee(s). If an offensive player’s block (legal
or illegal) is followed by the blocker rolling up on the back or side of the leg(s) of a defender, it is clipping, including in close-line
play. Close-line play is that which occurs in an area extending laterally to the position originally occupied by the offensive tackles
and longitudinally three yards on either side of the line of scrimmage. See 3-7, close-line play.
    Exception: An offensive lineman may not clip a defender above the knees who, at the snap, is aligned on the line of
    scrimmage opposite another offensive lineman who is more than one position away, and the defender is responding to the
    flow of the ball away from the blocker.
    Example: Tackle cannot clip nose tackle on a sweep away.
    Note: If there is a block from the side, or if an opponent turns his back as the block is being made, it is not clipping if the
    opponent is able to see or ward off the block. Provided the blocker does not roll up on the back or side of the opponent’s
    leg(s).
         (a) When a blocker, who is moving in the same direction as an opponent, initially contacts the opponent on his side,
             and subsequently contacts the opponent below his waist from behind, it is not clipping if the contact is continuous.
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         (b) Clipping shall not be called if an official has not observed the blocker’s initial contact with an opponent.
Penalty: For clipping: Loss of 15 yards.
ARTICLE 2. ILLEGAL CRACKBACK BLOCK. It is an Illegal Crackback Block if a defensive player is contacted below the
waist within an area five yards on either side of the line of scrimmage, including within close-line play, by an offensive player
who is moving toward the position from which the ball was snapped, if:
(1) the offensive player was in a set position and aligned more than two yards outside an offensive tackle (flexed) when the ball
    was snapped; or
(2) the offensive player was in a backfield position when the ball was snapped and moved to a position more than two yards
    outside an offensive tackle; or
(3) the offensive player was in a backfield position and in motion when the ball was snapped.
    Notes:
    (1) If there is a broken play, significantly changing the original direction, the crackback block is legal. When the change in
        direction is the result of a designed play (reverse), the restriction remains in effect.
    (2) A player who is protected from a crackback block is also a defenseless player (see Article 7).
Penalty: For an Illegal crackback block: Loss of 15 yards.
ARTICLE 3. CHOP BLOCK. A Chop Block is a block by the offense in which one offensive player (designated as A1 for
purposes of this rule) blocks a defensive player in the area of the thigh or lower while another offensive player (A2) engages that
same defensive player above the waist.
All Chop Blocks are illegal, including in the following situations:
Forward pass plays and kicking plays:
    (a) A1 chops a defensive player while the defensive player is physically engaged above the waist by the blocking attempt
        of A2.
    (b) A2 physically engages a defensive player above the waist with a blocking attempt, and A1 chops the defensive player
        after the contact by A2 has been broken and while A2 is still confronting the defensive player.
    (c) A1 chops a defensive player while A2 confronts the defensive player in a pass-blocking posture but is not physically
        engaged with the defensive player (a “lure”).
    (d) A1 blocks a defensive player in the area of the thigh or lower, and A2, simultaneously or immediately after the block by
        A1, engages the defensive player high (“reverse chop”).
Running Plays:
   (e) A1 is lined up in the backfield at the snap and subsequently chops a defensive player engaged above the waist by A2.
   (f) A1, an offensive lineman, chops a defensive player after the defensive player has been engaged by A2 (high or low).
    Note: It is not a foul if the blocker’s opponent initiates the contact above the waist, or if the blocker is trying to slip or escape
    from his opponent and any engagement with him is incidental.
Penalty: For an Illegal Chop Block: Loss of 15 yards.
ARTICLE 4. ILLEGAL “PEEL BACK” BLOCK. An offensive player cannot initiate contact on the side and below the waist
against an opponent if:
(a) the blocker is moving toward his own end line; and
(b) he approaches the opponent from behind or from the side.
    Note: If the near shoulder of the blocker contacts the front of both of his opponent’s legs, the “peel back” block is legal.
Penalty: For illegal “peel back” block: Loss of 15 yards.
ARTICLE 5. BLOCKING BELOW THE WAIST ON KICKS AND CHANGES OF POSSESSION. Blocks below the waist are
prohibited in the following situations:
(a) By players of either team after a change of possession; or
(b) By players of the kicking team after a Free Kick, Safety Kick, Fair-Catch Kick, Punt, Field-Goal Attempt, or Try Kick; or
(c) By players of the receiving team during a down in which there is a Free Kick, Safety Kick, Fair-Catch Kick, Punt, Field- Goal
    Attempt, or Try Kick.
Penalty: For illegally blocking below the waist: Loss of 15 yards.
ARTICLE 6. UNNECESSARY ROUGHNESS. There shall be no unnecessary roughness. This shall include, but will not be
limited to:
(a) using the foot or any part of the leg to strike an opponent with a whipping motion (leg whip);
(b) forcibly contacting a runner when he is out of bounds;
    Note: Defensive players must make an effort to avoid contact. Players on defense are responsible for knowing when a
    runner has crossed the boundary line, except in doubtful cases where he might step on a boundary line and continue
    parallel with it.
(c) a player of the receiving team who has gone out of bounds and blocks a kicking team player out of bounds during the kick.
    If this occurs on a kick from scrimmage, post-possession rules will apply if appropriate (9-5-1);
(d) running, diving into, or throwing the body against or on a runner whose forward progress has been stopped, who has slid
    feet first, or who has declared himself down by going to the ground untouched and has made no attempt to advance (see 7-
    2-1-a, d);
(e) running, diving into, or throwing the body against or on any player on the ground either before or after the ball is dead;
(f) throwing the runner to the ground after the ball is dead;
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(g) unnecessarily running, diving into, cutting, or throwing the body against or on a player who (1) is out of the play or (2)
    should not have reasonably anticipated such contact by an opponent, before or after the ball is dead;
(h) a kicker/punter, who is standing still or fading backward after the ball has been kicked, is out of the play and must not be
    unnecessarily contacted by the receiving team through the end of the down or until he assumes a distinctly defensive
    position. However, a kicker/punter is a defenseless player through the conclusion of the down (see 12-2-7a–8);
(i) using any part of a player’s helmet or facemask to butt, spear, or ram an opponent (Note: This provision does not prohibit
    incidental contact by the mask or the helmet in the course of a conventional tackle or block on an opponent); or
(j) grabbing a helmet opening of an opponent and forcibly twisting, turning, or pulling his head.
Penalty: For unnecessary roughness: Loss of 15 yards. The player may be disqualified if the action is judged by the
official(s) to be flagrant. If the foul is by the defense, it is also an automatic first down.
    Note: When in question about a roughness call or potentially dangerous tactics, the covering official(s) should always call
    unnecessary roughness.
ARTICLE 7. PLAYERS IN A DEFENSELESS POSTURE. It is a foul if a player initiates unnecessary contact against a player
who is in a defenseless posture.
(a) Players in a defenseless posture are:
    (1) A player in the act of or just after throwing a pass (passing posture).
    (2) A receiver running a pass route when the defender approaches from the side or behind. If the receiver becomes a
         blocker or assumes a blocking posture, he is no longer a defenseless player.
    (3) A receiver attempting to catch a pass who has not had time to clearly become a runner. If the player is capable of
         avoiding or warding off the impending contact of an opponent, he is no longer a defenseless player.
    (4) The intended receiver of a pass in the action during and immediately following an interception or potential interception.
         If the player is capable of avoiding or warding off the impending contact of an opponent, he is no longer a defenseless
         player.
          Note: Violations of this provision will be enforced after the interception, and the intercepting team will maintain
          possession.
    (5)  A runner already in the grasp of a tackler and whose forward progress has been stopped.
    (6)  A kickoff or punt returner attempting to field a kick in the air.
    (7)  A player on the ground.
    (8)  A kicker/punter during the kick or during the return (Also see Article 6-h) for additional restrictions against a
         kicker/punter).
    (9) A quarterback at any time after a change of possession (Also see Article 9-f) for additional restrictions against a
         quarterback after a change of possession).
    (10) A player who receives a “blindside” block when the path of the blocker is toward or parallel to his own end line.
    (11) A player who is protected from an illegal crackback block (see Article 2).
    (12) The offensive player who attempts a snap during a Field Goal attempt or a Try Kick.
(b) Prohibited contact against a player who is in a defenseless posture is:
    (1) forcibly hitting the defenseless player’s head or neck area with the helmet, facemask, forearm, or shoulder, even if the
        initial contact is lower than the player’s neck, and regardless of whether the defensive player also uses his arms to
        tackle the defenseless player by encircling or grasping him;
    (2) lowering the head and making forcible contact with any part of the helmet against any part of the defenseless player’s
        body; or
    (3) illegally launching into a defenseless opponent. It is an illegal launch if a player (i) leaves both feet prior to contact to
        spring forward and upward into his opponent, and (ii) uses any part of his helmet to initiate forcible contact against any
        part of his opponent’s body. (This does not apply to contact against a runner, unless the runner is still considered to be
        a defenseless player, as defined in Article 7.)
    Notes:
    (1) The provisions of (b) do not prohibit incidental contact by the mask or helmet in the course of a conventional tackle or
        block on an opponent.
    (2) A player who initiates contact against a defenseless opponent is responsible for avoiding an illegal act. This includes
        illegal contact that may occur during the process of attempting to dislodge the ball from an opponent. A standard of
        strict liability applies for any contact against a defenseless opponent, even if the opponent is an airborne player who is
        returning to the ground or whose body position is otherwise in motion, and irrespective of any acts by the defenseless
        opponent, such as ducking his head or curling up his body in anticipation of contact.
Penalty: For unnecessary roughness: Loss of 15 yards and an automatic first down. The player may be disqualified if
the action is judged by the official(s) to be flagrant.
ARTICLE 8. USE OF THE HELMET. It is a foul if a player lowers his head to initiate and make contact with his helmet against
an opponent.
Penalty: Loss of 15 yards. If the foul is by the defense, it is also an automatic first down. The player may be
disqualified.
ARTICLE 9. ROUGHING THE PASSER. Because the act of passing often puts the quarterback (or any other player attempting
a pass) in a position where he is particularly vulnerable to injury, special rules against roughing the passer apply. The Referee
has principal responsibility for enforcing these rules. Any physical acts against a player who is in a passing posture (i.e. before,
during, or after a pass) which, in the Referee’s judgment, are unwarranted by the circumstances of the play will be called as
fouls. The Referee will be guided by the following principles:
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(a) Roughing will be called if, in the Referee’s judgment, a pass rusher clearly should have known that the ball had already left
    the passer’s hand before contact was made; pass rushers are responsible for being aware of the position of the ball in
    passing situations; the Referee will use the release of the ball from the passer’s hand as his guideline that the passer is now
    fully protected; once a pass has been released by a passer, a rushing defender may make direct contact with the passer
    only up through the rusher’s first step after such release (prior to second step hitting the ground); thereafter the rusher must
    be making an attempt to avoid contact and must not continue to “drive through” or otherwise forcibly contact the passer;
    incidental or inadvertent contact by a player who is easing up or being blocked into the passer will not be considered
    significant.
(b) A rushing defender is prohibited from committing such intimidating and punishing acts as “stuffing” a passer into the ground
    or unnecessarily wrestling or driving him down after the passer has thrown the ball, even if the rusher makes his initial
    contact with the passer within the one-step limitation provided for in (a) above. When tackling a passer who is in a
    defenseless posture (e.g., during or just after throwing a pass), a defensive player must not unnecessarily or violently throw
    him down or land on top of him with all or most of the defender’s weight. Instead, the defensive player must strive to wrap
    up the passer with the defensive player’s arms and not land on the passer with all or most of his body weight.
(c) In covering the passer position, Referees will be particularly alert to fouls in which defenders impermissibly use the helmet
    and/or facemask to hit the passer, or use hands, arms, or other parts of the body to hit the passer forcibly in the head or
    neck area (see also the other unnecessary roughness rules covering these subjects). A defensive player must not use his
    helmet against a passer who is in a defenseless posture—for example, (1) forcibly hitting the passer’s head or neck area
    with the helmet or facemask, even if the initial contact of the defender’s helmet or facemask is lower than the passer’s neck,
    and regardless of whether the defensive player also uses his arms to tackle the passer by encircling or grasping him; or (2)
    lowering the head and making forcible contact with any part of the helmet against any part of the passer’s body. This rule
    does not prohibit incidental contact by the mask or the helmet in the course of a conventional tackle on a passer.
(d) A defensive player is prohibited from clubbing the arm of a passer during a pass or just after a pass has been thrown;
    however, a defensive player may grasp, pull, or otherwise make normal contact with a passer’s arm in attempting to tackle
    him.
(e) A rushing defender is prohibited from forcibly hitting in the knee area or below a passer who has one or both feet on the
    ground, even if the initial contact is above the knee. It is not a foul if the defender is blocked (or fouled) into the passer and
    has no opportunity to avoid him.
      Notes:
      (1) A defender cannot initiate a roll or lunge and forcibly hit the passer in the knee area or below, even if he is being
          contacted by another player.
      (2) It is not a foul if the defender swipes or grabs a passer in the knee area or below in an attempt to tackle him, provided
          he does not make forcible contact with the helmet, shoulder, chest, or forearm.
(f)   A passer who is standing still or fading backward after the ball has left his hand is obviously out of the play and must not be
      unnecessarily contacted by an opponent through the end of the down or until the passer becomes a blocker, or a runner, or,
      in the event of a change of possession during the down, until he assumes a distinctly defensive position. However, at any
      time after the change of possession, it is a foul if:
      (1) an opponent forcibly hits the quarterback’s head or neck area with his helmet, facemask, forearm, or shoulder
      (2) if an opponent lowers his head and makes forcible contact with any part of his helmet against any part of the passer’s
           body. This provision does not prohibit incidental contact by the mask or the helmet in the course of a conventional
           block.
(g) When the passer goes outside the pocket area and either continues moving with the ball (without attempting to advance the
    ball as a runner) or throws while on the run, he loses the protection of the one-step rule provided for in (a) above, and the
    protection against a low hit provided for in (e) above, but he remains covered by all the other special protections afforded to
    a passer in the pocket (b, c, d, and f), as well as the regular unnecessary roughness rules applicable to all player positions.
    If the passer stops behind the line and clearly establishes a passing posture, he will then be covered by all of the special
    protections for passers.
(h) The Referee must blow the play dead as soon as the passer is clearly in the grasp and control of any tackler behind the
    line, and the passer’s safety is in jeopardy.
      Note: A player who initiates contact against a passer is responsible for avoiding an illegal act. This includes illegal contact
      that may occur during the process of attempting to dislodge the ball. A standard of strict liability applies for any contact
      against a passer, irrespective of any acts by the passer, such as ducking his head or curling up his body in anticipation of
      contact.
Penalty: For Roughing the Passer: Loss of 15 yards and an automatic first down; disqualification, if flagrant.
      Notes:
      (1) When in doubt about a roughness call or potentially dangerous tactic against the quarterback, the Referee should
          always call roughing the passer.
      (2) See 8-6-1-c–d for personal fouls prior to completion or interception.
ARTICLE 10. ROUGHING/RUNNING INTO THE KICKER. No defensive player may run into or rough a kicker who kicks from
behind the line unless such contact:
(a) is incidental to and occurs after the defender has touched the kick in flight
(b) is caused by the kicker’s own motions
(c) occurs during a quick kick or a rugby-style kick
(d) occurs during or after a run behind the line
(e) occurs after the kicker recovers a loose ball on the ground
(f) occurs because a defender is pushed or blocked (causing a change of direction) into the kicker
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                                                          Rule 12, Section 2
(g) is the result of a foul by an opponent
Item 1. Roughing the kicker. It is a foul for roughing the kicker if a defensive player:
(a) contacts the plant leg of the kicker while his kicking leg is still in the air
(b) slides into or contacts the kicker when both of the kicker’s feet are on the ground. It is not a foul if the contact is not severe,
    or if the kicker returns both feet to the ground prior to the contact and falls over a defender on the ground
    Note: When in doubt, it is a foul for roughing the kicker.
Item 2. Running into the Kicker. It is a foul for running into the kicker if a defensive player:
(a) contacts the kicking foot of the kicker, even if the kicker is airborne when the contact occurs
(b) slides under the kicker, preventing him from returning both feet to the ground
Penalties:
(1) For roughing the kicker: Loss of 15 yards from the previous spot (personal foul) and an automatic first down. The
    player may be disqualified if the action is flagrant.
(2) For running into the kicker: Loss of five yards from the previous spot (not a personal foul). There is not an
    automatic first down.
ARTICLE 11. ROUGHING THE HOLDER. It is a foul for roughing the holder if a defensive player forcibly contacts the holder of
a place kick, unless the contact:
(a) is incidental and occurs after the defender has touched the kick in flight
(b) is caused because a defender is blocked into the holder
(c) occurs after the holder recovers a ball that has touched the ground
Penalty: For roughing the holder: Loss of 15 yards from the previous spot (personal foul) and an automatic first down.
The player may be disqualified is the action is flagrant.
    Notes:
    (1) Any unnecessary roughness committed by defensive players is roughing the kicker or holder. The severity of the
        contact and the potential for injury are to be considered.
    (2) When two defensive players are making a bona fide attempt to block a kick from scrimmage (punt, drop kick, and/or
        placekick), and one of them runs into the kicker or holder after the ball has left the kicker’s foot at the same instant the
        second player blocks the kick, the foul for running into the kicker or holder shall not be enforced, unless in the judgment
        of the Referee, the player running into the kicker or holder was clearly the direct cause of the kick being blocked.
ARTICLE 12. STRIKING, KICKING, OR KNEEING OPPONENTS. All players are prohibited from:
(a) striking an opponent with his fists
(b) kicking or kneeing an opponent
(c) striking, swinging at, or clubbing the head, neck, or face of an opponent with the wrist(s), arm(s), elbow(s), or hand(s)
    Exceptions: Contact to the head, neck, or face of an opponent with the palm of the hand is permitted:
    (1) by a defensive player who is attempting to ward off an offensive player at the line of scrimmage, provided that it is not a
        repeated act against the same opponent during any one contact; or
    (2) by any player in a personal attempt to recover a loose ball.
Penalty: For fouls in (a) through (c): Loss of 15 yards. If any of the fouls is judged by the official(s) to be flagrant, the
offender may be disqualified as long as the entire action is observed by the official(s). If the foul is by the defense, it is
also an automatic first down.
ARTICLE 13. STRIKING WITH FOREARMS OR ELBOWS. A player in blocking shall not strike an opponent below the
shoulders with his forearm or elbows by turning the trunk of his body at the waist, pivoting, or in any other way that is clearly
unnecessary.
Penalty: For striking an opponent below the shoulders with the forearm or elbow: Loss of 15 yards. If the foul is by the
defense, it is also an automatic first down.
ARTICLE 14. TWISTING, PULLING, OR TURNING THE FACEMASK. No player shall grasp and control, twist, turn, push, or
pull the facemask of an opponent in any direction.
    Note: If a player grasps an opponent’s facemask, he must immediately release it. If he does not immediately release it and
    controls his opponent, it is a foul.
Penalty: For twisting, turning, pushing, pulling, or controlling the mask: Loss of 15 yards. The player may be
disqualified if the action is flagrant. If the foul is by the defense, it is also an automatic first down.
ARTICLE 15. HORSE-COLLAR TACKLE. No player shall grab the inside collar of the back or the side of the shoulder pads or
jersey, or grab the jersey at the name plate or above, and pull the runner toward the ground. This does not apply to a runner
who is in the tackle box or to a quarterback who is in the pocket.
    Note: It is not necessary for a player to pull the runner completely to the ground in order for the act to be illegal. If his knees
    are buckled by the action, it is a foul, even if the runner is not pulled completely to the ground.
Penalty: For a Horse-Collar Tackle: Loss of 15 yards and an automatic first down.
ARTICLE 16. USE OF HELMET AS A WEAPON. A player may not use a helmet that is no longer worn by anyone as a
weapon to strike, swing at, or throw at an opponent.
Penalty: For illegal use of a helmet as a weapon: Loss of 15 yards and automatic disqualification. If the foul is by the
defense, it is also an automatic first down.

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                                                          Rule 12, Section 2
ARTICLE 17. ILLEGAL CUT BLOCK. See 8-4-5.

SECTION 3         UNSPORTSMANLIKE CONDUCT
ARTICLE 1. PROHIBITED ACTS. There shall be no unsportsmanlike conduct. This applies to any act which is contrary to the
generally understood principles of sportsmanship. Such acts specifically include, among others:
(a) Throwing a punch, or a forearm, or kicking at an opponent, even though no contact is made.
(b) Using abusive, threatening, or insulting language or gestures to opponents, teammates, officials, or representatives of the
    League.
(c) Using baiting or taunting acts or words that may engender ill will between teams.
(d) Any violent gesture, or an act that is sexually suggestive or offensive.
(e) Prolonged or excessive celebrations or demonstrations by an individual player or multiple players.
(f) Using any object as a prop, or possessing any foreign or extraneous object(s) that are not part of the uniform on the field or
    the sideline during the game, other than the football after a scoring play or change of possession.
(g) Unnecessary physical contact with a game official.
(h) Removal of his helmet by a player in the field of play or the end zone during a celebration or demonstration, or during a
    confrontation with a game official or any other player.
      Notes:
      (1) Under no circumstance is a player allowed to shove, push, or strike an official in an offensive, disrespectful, or
          unsportsmanlike manner. The player shall be disqualified from the game, and any such action must be reported to the
          Commissioner.
      (2) Two violations of (a), (b), or (c) (above) by the same player, which occur before or during the game, will result in
          disqualification in addition to the yardage penalty. Any violations at the game site on the day of the game, including
          postgame, may result in discipline by the Commissioner. Any violation of (g) above may result in disqualification and
          also will include discipline by the Commissioner. An official must see the entire action for a player to be disqualified.
      (3) Violations of (a), (b), (c), (d), and (g) will be penalized if they occur anywhere on the field or in the bench area.
      (4) Violations of (e) and (f) will be penalized if they occur anywhere on the field other than the bench area.
      (5) If any foreign object(s) are deemed a safety hazard by the game officials, in addition to a yardage penalty, the player
          will be subject to ejection from the game, whether he uses the object or not.
Penalty: (for (a) through (h)): Loss of 15 yards from the succeeding spot or whatever spot the Referee, after consulting
with the crew, deems equitable. If the foul is by the defense, it is also an automatic first down.
(i)   Using acts or words by the defensive team that are designed to disconcert an offensive team at the snap. An official must
      blow his whistle immediately to stop play.
(j)   Concealing the ball underneath the uniform or using any article of equipment to simulate a ball.
(k)   Using entering substitutes, legally returning players, substitutes on sidelines, or withdrawn players to confuse opponents,
      including lingering by players leaving the field after being replaced by a substitute. See 5-2.
(l)   An offensive player lining up or going in motion less than five yards from the sideline in front of his team’s designated bench
      area. However, an offensive player is permitted to line up less than five yards from the sidelines on the same side as his
      team’s player bench, provided he is not in front of the designated bench area.
(m)   Attempting to conserve time after the two-minute warning of either half by repeatedly violating the substitution rule while the
      ball is dead and time is in. See 4-7-2.
(n)   Two successive delay-of-game penalties during the same down.
(o)   Jumping or standing on a teammate or opponent to block or attempt to block an opponent’s kick or apparent kick.
(p)   Placing a hand or hands on a teammate or opponent to gain additional height to block or attempt to block an opponent’s
      kick or apparent kick, or in an attempt to jump through a gap to block an opponent’s kick or apparent kick.
(q)   Picking up a teammate to block or attempt to block an opponent’s kick or apparent kick.
(r)   Running forward and leaping across the line of scrimmage in an obvious attempt to block a field goal or Try Kick, or
      apparent kick, unless the leaping player was in a stationary position on the line of scrimmage when the ball was snapped. A
      player, who is behind the line of scrimmage before or at the snap, may run forward and leap, provided he does not cross
      the line of scrimmage or land on players.
(s)   Pulling an opponent off a pile of players in an aggressive or forcible manner.
(t)   Goaltending by a defensive player leaping up to deflect a kick as it passes above the crossbar of a goalpost. The referee
      may award three points for a palpably unfair act (12-3-4).
(u)   A punter, placekicker, or holder who simulates being roughed or run into by a defensive player.
(v)   If a member of the kicking team is forced out of bounds, or goes out of bounds voluntarily, and does not attempt to return
      inbounds in a reasonable amount of time.
(w)   Attempting to call an excess or illegal timeout to “freeze” a kicker prior to a field goal attempt or a Try Kick when:
      (1) a team has already been charged a timeout during the same dead ball period
      (2) a team has exhausted its three charged team timeouts that are permitted in a half
If an attempt is made to call a timeout in these situations, the officials shall not grant a timeout, play will continue, and a penalty
for unsportsmanlike conduct shall be enforced after the down has been completed. The penalty shall also be enforced if a
timeout is inadvertently granted.
      Note: The Referee (or another official) will notify the Head Coach (i) that two charged timeouts by the same team in the
      same dead ball period are not permitted, and (ii) when he has exhausted his three charged team timeouts in a half.
Penalty: For unsportsmanlike conduct (for (j) through (x)): Loss of 15 yards from:
(a) the succeeding spot if the ball is dead; or
(b) the previous spot if the ball was in play.

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                                                             Rule 12, Section 3
If the infraction is flagrant, the player is also disqualified. If the foul is by the defense, it is also an automatic first down.
ARTICLE 2. FOULS TO PREVENT SCORE. The defense shall not commit successive or repeated fouls to prevent a score.
Penalty: For successive or repeated fouls to prevent a score: If the violation is repeated after a warning, the score
involved is awarded to the offensive team.
ARTICLE 3. INTENTIONAL FOULS TO MANIPULATE GAME CLOCK. A team may not commit multiple fouls during the
same down in an attempt to manipulate the game clock.
Penalty: For multiple fouls to run off time from the game clock: Loss of 15 yards, and the game clock will be reset to
where it was at the snap. After the penalty is enforced, the game clock will start on the next snap.
ARTICLE 4. PALPABLY UNFAIR ACT. A player or substitute shall not interfere with play by any act which is palpably unfair.
Penalty: For a palpably unfair act: Offender may be disqualified. The Referee, after consulting the officiating crew,
enforces any such distance penalty as they consider equitable and irrespective of any other specified code penalty.
The Referee may award a score. See 15-1-3.

SECTION 4          AUTOMATIC DISQUALIFICATION
ARTICLE 1. MULTIPLE FOULS. In addition to any penalty referenced elsewhere in the Official Playing Rules, a player will be
automatically disqualified if that player is penalized twice in the same game for committing one of the unsportsmanlike conduct
fouls listed below, or a combination of the fouls listed below:
(a) Throwing a punch, or a forearm, or kicking at an opponent, even though no contact is made.
(b) Using abusive, threatening, or insulting language or gestures to opponents, teammates, officials, or representatives of the
     League.
(c) Using baiting or taunting acts or words that may engender ill will between teams.
The player will be automatically disqualified regardless of whether the penalty is accepted or declined by the opponent. The
fouls do not have to be judged by the official to be flagrant for the automatic disqualification to occur, and any foul that occurs
during the pregame warm-up period will carry over into the game. Nothing in this section supersedes the Game Official’s
discretion to judge a foul to be flagrant and disqualify the player based on one occurrence.
     Note: This rule also applies to non-player personnel (e.g., management personnel, coaches, trainers, equipment
     personnel).

SECTION 5         ILLEGAL BATS AND KICKS
ARTICLE 1. ILLEGAL BAT. It is an illegal bat if:
(a) any player bats or punches a loose ball in the field of play toward his opponent’s goal line
(b) any player bats or punches a loose ball (that has touched the ground) in any direction, if it is in either end zone
(c) an offensive player bats a backward pass in flight toward his opponent’s goal line
     Exception: A forward pass in flight may be tipped, batted, or deflected in any direction by any eligible player at any time.
     Note: If a forward pass that is controlled by a player prior to completing the catch is thrown forward, it is an illegal bat. If it is
     caught by a teammate or intercepted by an opponent, the ball remains alive. If it is not caught, the ball is dead when it hits
     the ground.
Penalty: For illegal batting or punching the ball: Loss of 10 yards. If the foul is by Team A before possession changes
during a scrimmage down: Loss of down and loss of 10 yards except for a foul by Team A beyond the line of
scrimmage during a scrimmage kick, in which case there is no loss of down.
Article 2. ILLEGALLY KICKING BALL. No player may deliberately kick a loose ball or a ball that is in a player’s possession.
Penalty: For illegally kicking the ball: Loss of 10 yards. If the foul is by Team A before possession changes during a
scrimmage down: Loss of down and loss of 10 yards except for a foul by Team A beyond the line of scrimmage during
a scrimmage kick, in which case there is no loss of down.
     Notes:
     (1) If a loose ball is unintentionally touched by any part of a player’s leg (including the knee), it is not considered kicking
         and is treated as touching.
     (2) If the penalty for an illegal bat or kick is declined, the procedure is the same as though the ball had been muffed.
         However, if the act (impetus) sends the ball behind a goal line, 3-17 applies.
     (3) The penalty for Articles 1 and 3 does not preclude a penalty for a palpably unfair act. See Palpably Unfair Act (12-3-4).
     (4) The ball is not dead when an illegally kicked ball is recovered, unless another rule prescribes otherwise.




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                                      RULE 13           NON-PLAYER CONDUCT
SECTION 1          NON-PLAYER CONDUCT
ARTICLE 1. NON-PLAYER FOULS. There shall be no unsportsmanlike conduct by a substitute, coach, attendant, or any other
non-player (entitled to sit on a team’s bench) during any period or timeout (including between halves).
    Notes:
    (1) “Loud speaker” coaching from the sidelines is not permissible.
    (2) A player may communicate with a coach provided the coach is in his prescribed area during dead-ball periods.
    (3) It is impermissible for the grounds crew or other team personnel to clear away snow for a Try kick, field goal, punt, or
        kickoff.
ARTICLE 2. TEAM ATTENDANTS MAY ENTER FIELD DURING TIMEOUT. Either or both team attendants and their helpers
may enter the field to attend their team during a team timeout by either team. No other non-player may come on the field without
the Referee’s permission, unless he is an incoming substitute (5-2-2).
During any team timeout, all playing rules continue in force. Representatives of either team are prohibited from entering the field
unless they are incoming substitutes, or team attendants or trainers entering to provide for the welfare of a player, and any
game-type activities are prohibited on the field. The Head Coach may enter the field to check on the welfare of a player who is
injured, but no assistant coach may enter the field.
ARTICLE 3. BENCH CREDENTIALS. With the exception of uniformed players eligible to participate in the game, all persons in
a team’s bench area must wear a visible credential clearly marked “BENCH.” For all NFL games—pre-season, regular season,
and post-season the home club will be issued a maximum of 27 credentials and the visiting club will be issued a maximum of 25
credentials for use in its bench area. Such credentials must be worn by coaches, players under contract to the applicable club
but ineligible to participate in the game, and team support personnel (trainers, doctors, equipment men). From time to time,
persons with game services credentials (e.g., oxygen technicians, ball boys/girls) and authorized club personnel not regularly
assigned to the bench area may be in a team’s bench area for a brief period without bench credentials. Clubs are prohibited
from allowing into their bench areas any persons who are not officially affiliated with the club or otherwise serving a necessary
game day function.
ARTICLE 4. RESTRICTED AREAS. All team personnel must observe the zone restrictions applicable to the bench area and
the border rimming the playing field. The only persons permitted within the solid six-foot white border (1-1) while play is in
progress on the field are game officials. For reasons involving the safety of participating players whose actions may carry them
out of bounds, officials’ unobstructed coverage of the game, and spectators’ sightlines to the field, the border rules must be
observed by all coaches and players in the bench area. Violators are subject to penalty by the officials.
ARTICLE 5. MOVEMENT ON SIDELINES. Coaches and other non-participating team personnel (including uniformed players
not in the game at the time) are prohibited from moving laterally along the sidelines any further than the points that are 18 yards
from the middle of the bench area (i.e., 32-yard lines to left and right of bench areas when benches are placed on opposite sides
of the field). Lateral movement within the bench area must be behind the solid six-foot white border.
    Exception: When the ball is positioned near a goal line, a Head Coach may move laterally down the sideline outside the
    bench area to call a team timeout or challenge an on-field ruling.
ARTICLE 6. NON-BENCH AREAS. Clubs are prohibited from allowing into the non-bench areas of field level any persons who
have not been accredited to those locations by the home club’s public relations office for purposes related to news media
coverage, stadium operations, or pregame and halftime entertainment. The home club is responsible for keeping the field level
cleared of all unauthorized persons. Photographers and other personnel accredited for field-level work must not be permitted in
the end zones or any other part of the official playing field while play is in progress.
Penalty: For illegal acts under Articles 1 through 6 above: Loss of 15 yards from team for whose supposed benefit foul
was made. (Unsportsmanlike Conduct.)
Enforcement is from:
(a) the succeeding spot if the ball is dead.
(b) whatever spot the Referee, after consulting with the crew, deems equitable, if the ball was in play.
For a flagrant violation, the Referee may exclude the offender(s) from the playing field enclosure for the remainder of
the game.
ARTICLE 7. PALPABLY UNFAIR ACT (NON-PLAYER). A non-player shall not commit any act which is palpably unfair.
Penalty: For a palpably unfair act, see 12-3-4. The Referee, after consulting with the crew, shall make such ruling as
he/she considers equitable (15-1-3). (Unsportsmanlike Conduct.)
    Note: Various actions involving a palpably unfair act may arise during a game. In such cases, the officials may award a
    distance penalty in accordance with 12-3-4, even when it does not involve disqualification of a player or substitute. 17-1.
ARTICLE 8. NON-PLAYER PERSONNEL. Non-player personnel of a club (e.g., management personnel, coaches, trainers,
equipment personnel) are prohibited from making unnecessary physical contact with or directing abusive, threatening, or
insulting language or gestures at opponents, game officials, or representatives of the League.
Penalty: Loss of 15 yards. (Unsportsmanlike Conduct.) Enforcement is from:
(a) the succeeding spot if the ball is dead;
(b) the previous spot if the ball was in play; or
(c) whatever spot the Referee, after consulting with the crew, deems equitable. (Palpably Unfair Act.)

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                                                   Rule 13, Section 1
Note: Violations which occur before or during the game may result in disqualification in addition to the yardage penalty. Any
violation at the game site on the day of the game, including postgame, may result in discipline by the Commissioner.




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                                       RULE 14            PENALTY ENFORCEMENT
                               (Governing all cases not otherwise specifically provided for)

SECTION 1         GENERAL RULES
ARTICLE 1. REFUSAL OF PENALTIES. Unless expressly prohibited, the penalty for any foul may be declined by the offended
team, and play proceeds as though no foul had been committed. The yardage distance for any penalty may be declined, even
though the penalty is accepted.
      Note: If the defensive team commits a foul during an unsuccessful Try, the offensive team may decline the distance penalty,
      and the down is replayed from the previous spot.
      Exception: If there is a Double Foul, enforcement is pursuant to Section 5 below.
      Note: In all situations, a disqualified or suspended player must be removed, including when the foul that led to the
      disqualification or suspension is declined, a penalty for another foul is chosen (Multiple Foul), or fouls by both teams offset
      (Double Foul).
ARTICLE 2. NUMBER OF DOWN AFTER PENALTY.
Item 1. Foul by Team A. If the ball is behind the line to gain after the enforcement of a distance penalty for a foul by Team A that
occurs prior to (between downs) or during a play from scrimmage, the number of the ensuing down remains the same, unless it is
a combination penalty involving loss of down (see Item 2).
Item 2. Combination Penalty. A combination penalty involving both distance and loss of down is enforced for the following fouls:
(a)   A forward pass from beyond the line (8-1-2-Pen. a)
(b)   A forward pass that is intentionally grounded (8-2-1)
(c)   Handing the ball forward beyond the line of scrimmage
(d)   Kicking a Loose Ball (See 12-5-2-Pen.)
If a loss-of-down penalty is enforced prior to fourth down, the number of the ensuing down is one greater than that of the previous
down. If it is enforced on fourth down, the ball is awarded to Team B; if there is a combination penalty on fourth down, the distance
penalty is also enforced.
Item 3. Line to Gain and Change of Possession. If a change (or multiple changes) of possession is negated by enforcement of
a penalty against Team A during a play from scrimmage, the line to gain for Team A remains the same.
Item 4. Ball in Advance of Line to Gain. If the ball is in advance of the line to gain after the enforcement of a distance penalty
for a foul by Team A during a play from scrimmage, it is first-and-10 for Team A. It is also first-and-10 after enforcement for a Dead
Ball Foul (Section 4, Article 9) by Team A at the end of a play from scrimmage when there has not been a change of possession.
      Exception: A foul against an official, regardless of when it occurs, is always treated as a Foul Between Downs. See 12-3-1-
      g.
Item 5. Foul by Team B. After a penalty for a foul by Team B prior to (between downs) or during a play from scrimmage, the
ensuing down is first-and-10 for Team A.
      Exceptions:
      (1) Offside
      (2) Encroachment
      (3) Neutral zone infraction
      (4) Delay of game
      (5) Illegal substitution
      (6) Excess time out
      (7) Running into the kicker
      (8) More than 11 players on the field at the snap
      (9) More than 11 players in the formation prior to the snap
      (10) Illegal formation by the defense during a scrimmage kick play
For the above exceptions, the number of the down and the line to gain remain the same unless a distance penalty places the ball
on or in advance of the line to gain, in which case it is first-and-10 for Team A.
Item 6. Foul After Change of Possession. If there is a foul, including a dead-ball foul, after team possession has changed during
a down, following enforcement of a distance penalty, it is first-and-10 for the team that was in possession at the time of the foul.
Item 7. Foul Between Downs. If there is a Foul Between Downs, the down remains the same, unless enforcement of the foul
results in a first down.
Item 8. Double Fouls. If there is a Double Foul during the down, and the fouls offset, the down is replayed, and the number of
the down remains the same.
ARTICLE 3. CHOICE OF PENALTIES (MULTIPLE FOULS). If there is a Multiple Foul (3-14-1-d) during the down, only one
penalty may be enforced after the Referee has explained the alternatives to the offended team.
      Exceptions:
      (1) A foul against an official is not part of a Multiple Foul and will be enforced in addition to any other foul.
      (2) If there is a personal foul that is also defensive pass interference, both fouls may be enforced.



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                                                          Rule 14, Section 2
SECTION 2            SPECIAL ENFORCEMENT FOR PENALTIES
ARTICLE 1. HALF-DISTANCE PENALTY. If the enforcement of a distance penalty would move the ball more than half the
distance from the spot of enforcement to the offender’s goal line, the penalty shall be half the distance from the spot of enforcement
to its goal line. This general rule supersedes any other general or specific enforcement of a distance penalty.
    Exceptions:
    (1) See Rule 8-2-1 for enforcement for intentional grounding.
    (2) See Rule 12-3-4 for enforcement for a palpably unfair act.
ARTICLE 2. FOUL BEHIND A GOAL LINE.
(a) When the spot of enforcement for a foul by the defense is behind the offensive goal line, a distance penalty is enforced from
    the goal line. However, if the play results in a touchback, the penalty is enforced from the 20-yard line, or from the 25-yard
    line if the impetus was from a free kick. See Section 4, Article 6 for fouls during a backward pass or fumble and Section 4,
    Article 4 (b), Note, for exception when a player’s momentum carries him into the end zone.
(b) When the spot of enforcement for a foul by the offense is behind the offensive goal line, it is a safety.
(c) When the spot of enforcement for a foul by the offense is behind the defensive goal line, a distance penalty is enforced from
    the goal line.
ARTICLE 3. FOUL DURING A SCORE. If a team commits a personal or unsportsmanlike conduct foul, or a palpably unfair act,
during a down in which the opponent scores, the penalty is enforced on the succeeding free kick (unless the score resulted from
the enforcement). On a successful Try kick, any foul by Team B that does not result in a retry or negate a score may be enforced
on the succeeding free kick.
    Exception: If a personal foul, unsportsmanlike conduct foul, or a palpably unfair act occurs on a touchdown or successful
    field goal, the scoring team has the option to begin a new series or to replay the down following enforcement of the penalty
    from the previous spot, and the score does not count. On a successful Try kick, the scoring team has the option to replay the
    down following enforcement of the penalty from the previous spot or the other Try spot.

SECTION 3       SPOT FROM WHICH PENALTY IS ENFORCED
ARTICLE 1. GOVERNING PROVISIONS. The general provisions of Rule 14 govern all spots of enforcement, except for specific
enforcements designated elsewhere in these rules.
ARTICLE 2. FOUL BY NON-PLAYER. Penalties for fouls committed by non-players shall be enforced as provided for in Rule 13.
ARTICLE 3. ENFORCEMENT SPOT NOT GOVERNED. When the spot of enforcement is not governed by a general or specific
rule, it is the spot of the foul.
ARTICLE 4. SPOTS OF ENFORCEMENT. The Spot of Enforcement is the spot at which a penalty is enforced. There are six
spots that are commonly used:
(a) The Previous Spot: The spot at which the ball was last put in play.
(b) The Spot of the Foul: The spot at which a foul was committed or, by rule, is considered to have been committed.
(c) The Spot of a Backward Pass or a Fumble: The spot at which the backward pass or fumble occurred during the down in which
    there was a foul.
(d) The Dead Ball Spot: The spot at which the ball became dead.
(e) The Succeeding Spot: The spot at which the ball will next be put in play (i.e., the spot of the ball after enforcement for a foul,
    or, if there has been no foul, the spot at which the ball became dead).
(f) The Spot of a Change of Possession: The spot at which possession is gained by or awarded to the opponent.
ARTICLE 5. BASIC SPOT. The Basic Spot is a reference point that is used to determine the Spot of Enforcement for fouls
committed pursuant to the Three-and-One Method of Enforcement. It is applicable for fouls committed during (i) a running play or
(ii) a backward pass or fumble.
(a) For fouls committed during a running play which is not followed by a change of possession, the Basic Spot is the dead-ball
    spot.
(b) For fouls committed during a running play which is followed by a change of possession, the Basic Spot is the spot where
    possession is lost.
(c) For fouls committed during a backward pass or fumble, the Basic Spot is the spot of the backward pass or the spot of the
    fumble.
ARTICLE 6. THREE-AND-ONE METHOD OF ENFORCEMENT. For fouls committed during a run, a fumble or a backward pass,
the penalty is enforced from the Basic Spot if:
(a) the defense fouls in advance of the Basic Spot
(b) the defense fouls behind the Basic Spot
(c) the offense fouls in advance of the Basic Spot
If the offense fouls behind the Basic Spot, enforcement is from the spot of the foul (three-and-one method of enforcement).
    Exceptions for fouls committed by the offense:
    (1) Fouls committed by the offense behind the line of scrimmage, except for fouls committed in the end zone, are enforced
        from the previous spot. See Rule 8-2-1 for enforcement for intentional grounding.
    (2) If the offense commits a foul in its end zone that is accepted, it is a safety.
    (3) If the offense commits a foul beyond the line of scrimmage and the Basic Spot is behind the line of scrimmage,
        enforcement is from the previous spot. If the dead-ball spot is in the offensive end zone, it is a safety, regardless of where
        the foul occurs.
    (4) If the offense commits a foul in the defense’s end zone prior to scoring a touchdown, enforcement is from the goal line.
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                                                          Rule 14, Section 3
    Exception for fouls committed by the defense:
    (1) When the Basic Spot is behind the line of scrimmage, and the defense has committed a foul either behind or beyond the
        line of scrimmage, the penalty is enforced from the previous spot.

SECTION 4        SPOTS OF ENFORCEMENT
ARTICLE 1. FOUL BEFORE OR AT THE SNAP.
Item 1. Before the Snap. A foul that occurs prior to the snap is enforced from the succeeding spot, and the down remains the
same, unless enforcement of the foul results in a first down.
Item 2. At the Snap. A foul that occurs at the snap is enforced from the previous spot, and the down is repeated, unless
enforcement of the foul results in a first down.
ARTICLE 2. FOUL COMMITTED DURING RUNNING PLAY. For a foul committed during a running play when there is not a
subsequent change of possession during the down, the Basic Spot is the dead-ball spot. The three-and-one method of
enforcement is used (see Section 3, Article 6).
    Note: A foul during a run prior to a forward pass or kick from behind the line is enforced as a foul during a passing play or
    during a scrimmage kick.
ARTICLE 3. FOUL COMMITTED DURING RUNNING PLAY BEFORE CHANGE OF POSSESSION. When a foul occurs during
a running play, and the run in which the foul occurs is followed by a change of possession, the Basic Spot is the spot where
possession is lost. The three-and-one method of enforcement is used (see Section 3, Article 6).
    Notes:
    (1) If the foul is by the defensive team, the ball reverts to the offensive team prior to enforcement of the foul.
    (2) If the foul is by the offensive team, the defense must decline the penalty to retain possession. However, if the foul by the
        offense was a Personal Foul or Unsportsmanlike Conduct Foul, the defense retains possession, and enforcement is from
        the dead-ball spot. If the defense subsequently loses possession, the penalty is enforced from the spot where possession
        changed, and the defense retains possession.
    (3) If there are Multiple Fouls by the defense, the enforcement shall be that which is most beneficial to the offense.

ARTICLE 4. FOUL COMMITTED AFTER CHANGE OF POSSESSION (END ZONE ENFORCEMENT). If there is a foul by either
team after a change of possession, and the dead-ball spot is in Team B’s end zone, enforcement shall be as follows:
(a) Fouls by Team A:
    (1) If the impetus that sent the ball in touch was provided by Team B, enforcement is from the goal line. See Note below for
        exception when a player’s momentum carries him into the end zone.
    (2) If the impetus that sent the ball in touch was provided by Team A, enforcement is from the 20-yard line, or from the 25-
            yard line if the impetus was from a free kick.
(b) Fouls by Team B (Team A impetus):
    (1) If Team B attempts to advance the ball, and the spot of its foul is in the end zone, the result is a safety.
    (2) If Team B does not attempt to advance the ball, and its foul occurs in the end zone, enforcement is from the 20-yard line,
        or from the 25-yard line if the impetus was from a free kick.
    (3) If the spot of its foul is in the field of play, the penalty is enforced from either the spot of the foul or the touchback spot
        (20 or 25), whichever is least beneficial to Team B, regardless of whether Team B attempts to advance the ball.
    Note: If a Team B player’s original momentum carries him into his end zone, where the ball is declared dead in his team’s
    possession, the dead-ball spot is considered to be the spot at which the player established possession. See 11-5-1-Exc. 2.
(c) Fouls by Team B (Team B impetus):
    (1) Regardless of whether the foul is in the field of play or in the end zone, the result is a safety.
    Note: Dead-ball fouls by either team are enforced from the succeeding spot.
ARTICLE 5. FOUL COMMITTED DURING PASSING PLAY. If there is a foul by either team from the time of the snap until a
forward pass thrown from behind the line ends, the penalty is enforced from the previous spot. A pass play ends and a running
play begins at the instant that a pass is caught.
    Exceptions:
    (1) Intentional grounding is a loss of down at the spot of the foul, or a loss of down and a 10-yard penalty from the previous
        spot, whichever is less beneficial for the offense. If the foul occurs less than 10 yards behind the line of scrimmage, but
        more than half the distance to the goal line, the ball shall be placed at the spot of the pass. (If the pass is thrown from
        the end zone, it is a safety).
    (2) Pass interference by the defense is enforced at the spot of the foul. If it occurs in the fouling team’s end zone, the ball
        will be placed at the one-yard line, or half the distance to the goal line from the previous spot, whichever is more beneficial
        to the offense.
    (3) It is a safety when the offensive team commits a foul behind its own goal line.
    (4) If there is a personal foul or unsportsmanlike conduct foul by the defense prior to the completion of a forward pass thrown
        from behind the line, enforcement is from the previous spot or the dead-ball spot, whichever is more beneficial to the
        offense. If the passing team is fouled and subsequently loses possession after a completion, the passing team retains
        possession of the ball, and enforcement is from the previous spot.
    (5) If there is a personal foul or unsportsmanlike conduct foul by the offense prior to an interception of a forward pass thrown
        from behind the line, enforcement is from the dead-ball spot. If the intercepting team subsequently loses possession, the
        penalty is enforced from the spot of the interception, and the intercepting team retains possession. This also applies to a
        personal foul or unsportsmanlike conduct foul by the offense prior to a forward pass thrown from behind the line, and the
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    offense fails to make the line to gain.
    Notes:
    (1) The penalty for a forward pass from behind the line after the ball has been beyond the line, or for a second forward pass
        from behind the line, is enforced from the previous spot, unless the spot of the pass is behind the passer’s goal line, in
        which case it is a safety.
    (2) If a forward pass is thrown from beyond the line of scrimmage, or when there is no line of scrimmage, it is a foul during
        a running play.
ARTICLE 6. FOUL DURING A BACKWARD PASS OR FUMBLE. If there is a foul by either team during a backward pass or
fumble, the Basic Spot is the spot of the backward pass or fumble. The three-and-one method of enforcement is used (see Section
3, Article 6).
    Notes:
    (1) If Team B gains possession in its end zone, and the impetus was provided by Team A, if Team B fumbles or throws a
        backward pass in the end zone and fouls while the ball is loose, the spot of the fumble or the backward pass is considered
        to be the B20-yard line, or the 25-yard line if the impetus was from a free kick.
    (2) If a Team B player’s original momentum carries him into his end zone, where he fumbles the ball, the spot of the fumble
        is considered to be the spot at which the player established possession. See 11-5-1-Exc. 2.
    (3) If there is a personal foul or unsportsmanlike conduct foul by the offense during a fumble or backward pass that is
        recovered by the defense, enforcement is from the dead-ball spot. If the recovering team subsequently loses possession,
        the penalty is enforced from the spot of its recovery, and it retains possession. This also applies to a personal foul or
        unsportsmanlike conduct foul by the offense during a fumble or backward pass that is recovered by the offense, and the
        offense fails to make the line to gain.
ARTICLE 7. FOUL DURING FREE KICK PLAY. If there is a foul during a free kick, enforcement is from the previous spot, and
the free kick is made again. However, if the kicking team commits a foul prior to the end of the kick, and the receiving team retains
possession throughout the down, it will have the option of enforcing the penalty at the previous spot and replaying the down or
adding the penalty yardage to the dead-ball spot.
    Exceptions:
    (1) A personal foul (blocking) after a fair-catch signal is enforced from the spot of the foul.
    (2) A foul for fair-catch interference is enforced from the spot of the foul.
    (3) A foul for interference with the opportunity to make a catch is enforced from the spot of the foul.
    (4) A foul for an invalid fair catch signal is enforced from the spot of the foul.
    (5) A foul for intentionally forming an illegal wedge, whether during the free kick or during the return, is enforced from the
        spot of the foul.
    (6) For a free kick out of bounds, see 6-2-3.
    (7) For a free kick illegally touched, see 6-2-4.
    (8) Double fouls are enforced according to customary rules.
    Note: The dead-ball spot for free kicks that result in a touchback is the 25-yard line.
A free kick ends when Team B establishes possession. Fouls by Team A prior to the time that Team B establishes possession
are offensive fouls. If Team A legally recovers a free kick, there is no change of possession. After Team B establishes possession,
a running play begins, and fouls that occur thereafter are enforced from the dead-ball spot or the spot of the foul (three-and-one
method).
ARTICLE 8. FOUL DURING SCRIMMAGE KICK PLAY. If there is a foul from the time of the snap until a legal scrimmage kick
ends, enforcement is from the previous spot. This includes a foul during a run prior to a legal kick, and a foul by the kicking team
during a missed field-goal attempt.
    Exceptions:
    (1) If the offensive team commits a foul in its own end zone, it is a safety.
    (2) Unless the kick is a missed field-goal attempt, if there is a foul by the kicking team, the receiving team will have the option
        of taking the penalty at the previous spot and replaying the down, or adding the penalty yardage on to the dead-ball spot.
        Notes:
        (a) The dead-ball spot for scrimmage kicks that result in a touchback is the 20-yard line.
        (b) If there is a foul for an illegal touch inside the five-yard line, the receiving team also has the option of accepting a
             touchback.
    (3) Fair-catch interference, interference with the opportunity to make a catch, an invalid fair-catch signal, or a personal foul
        (blocking) after a fair-catch signal are enforced from the spot of the foul.
    (4) Except for fouls that are committed in an attempt to block the kick (such as running into or roughing the kicker, defensive
        holding (pull-and-shoot), leverage, leaping, and pushing teammate(s) into the offensive formation), if the receiving team
        commits a foul during a kick that crosses the line of scrimmage, the penalty for its infraction will be enforced as if it had
        been in possession of the ball at the time the foul occurred (a post-possession foul), provided that the receiving team
        does not lose possession of the ball at any time during the down. The penalty shall be enforced from whichever of the
        following spots is least beneficial to the receiving team:
         (a) the end of the kick; or
         (b) the spot of the foul.
         If the least beneficial spot is in the end zone, the spot of enforcement is the 20-yard line, unless enforcement results in a
         safety (14-4-4).

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    (5) For enforcement of a personal or unsportsmanlike conduct foul on a play that results in a score, see 14-2-3; for illegally
         kicking a loose ball, see 12-5-2; and for an illegal bat, see 12-5-1.
When Team B establishes possession of the ball, a scrimmage kick ends, and a running play begins, and fouls that occur thereafter
are enforced from the dead-ball spot or the spot of the foul (three-and-one method, 14-3-6).
ARTICLE 9. DEAD BALL FOUL AND FOUL BETWEEN DOWNS. A Dead Ball Foul is a foul that occurs in the continuing action
after a down ends, or a taunting foul that occurs at any time. The penalty for a Dead Ball Foul is enforced from the succeeding
spot, and the down counts.
A Foul Between Downs is a foul that occurs after the end of the down and after any continuing action resulting from the down, but
prior to the next snap or free kick. The penalty for a Foul Between Downs is enforced from the succeeding spot, and the down
counts, but it cannot be combined with a Live Ball Foul or a Dead Ball Foul to create a Multiple or Double Foul. A Foul Between
Downs is always enforced separately from any other foul. A foul against an official, regardless of when it occurs, is always treated
as a Foul Between Downs. See 12-3-1-h-pen.
    Exception: If there is a personal, unsportsmanlike conduct, or taunting foul by either team following the end of the second or
    fourth periods, the penalty yardage will be enforced on the second-half kickoff or the kickoff in overtime, unless it is part of a
    Double Foul (See Section 5).
Item 1. Dead Ball Foul by Team A. If there is a Dead Ball Foul by Team A after a down in which Team A has made a first down,
after enforcement of the penalty it will be first-and-10 for Team A. If there is a Foul Between Downs after a down in which Team
A has made a first down, after enforcement of the penalty it will be first-and-25 for Team A.
Item 2. Dead Ball Fouls by Both Teams. Dead Ball Fouls by both teams are offset at the succeeding spot, and the down counts,
but any disqualified player or players must be removed pursuant to Rule 5, Section 2, Article 7.
Item 3. Live Ball and Dead Ball Fouls. Live Ball Fouls and Dead Ball Fouls combine to create Double Fouls or Multiple Fouls,
and all customary rules for enforcement apply.
    Exceptions:
    (1) If there is a 5-yard vs. 15-yard Double Foul on the last play of a half, and the 15-yard penalty is for a Dead Ball, personal,
        unsportsmanlike conduct, or taunting foul by either team, the penalty yardage will be enforced on the second half kickoff
        or the kickoff to start overtime. There will be no extension of the period.
    (2) If the scoring team commits a Dead Ball Foul after a score, and its opponent’s Live Ball Foul is not for unsportsmanlike
        conduct or unnecessary roughness, the opponent’s foul is disregarded, the score counts, and the offensive team’s Dead
        Ball Foul is enforced on the kickoff. If the opponent’s foul is for unsportsmanlike conduct or unnecessary roughness, the
        score counts, and both fouls are enforced on the kickoff.
    Notes:
    (1) When a foul occurs simultaneously with the ball becoming dead, it is considered to be a Dead Ball Foul.
    (2) The succeeding spot for a foul that occurs after a touchdown and before a whistle for a Try is the next kickoff.
    (3) The time between downs includes the interval during all timeouts (including intermissions). See 3-37-1.

SECTION 5         FOULS BY BOTH TEAMS (DOUBLE FOULS)
ARTICLE 1. DOUBLE FOUL WITHOUT CHANGE OF POSSESSION. If there is a Double Foul (3-14-1-e) during a down in which
there is not a change of possession, the penalties are offset, and the down is replayed at the previous spot. If it is a scrimmage
down, the number of the next down and the line to gain is the same as for the down in which the fouls occurred.
    Exceptions:
    (1) If one or more fouls by one team includes a 15-yard penalty, and the penalty for the foul or fouls committed by the other
        team is for a five-yard penalty without an automatic First Down, a loss of down, or a 10-second runoff (15 yards versus
        five yards), or that is not a spot foul, the 15-yard penalty is enforced from the previous spot, and the five-yard penalty is
        disregarded. Five vs. 15 enforcement cannot be declined by the team that committed the minor foul, except as described
        in (2) below. See 4-8-2-h and 14-4-9-Item 3-Exc. 1 for dead ball fouls at the end of a half.
    (2) If one of the fouls is a Dead Ball Foul for delay of game for spiking the ball and the opponent’s foul is a Live Ball Foul,
        the team that committed the delay of game foul, in addition to Article 1 above, will have the option to decline the foul
        committed by its opponent and be assessed the penalty for delay from the dead-ball spot.
    (3) If both fouls are Dead Ball Fouls or are treated as such (14-4-9), the penalties are offset, and the ball is next put in play
        at the succeeding spot, unless the Dead Ball fouls occur after the ball has been made ready for play, in which case 5 vs.
        15 enforcement applies.
    Note: Disqualification of one or more players is enforced, even though the penalties are offset.
ARTICLE 2. DOUBLE FOUL WITH A CHANGE OF POSSESSION. If there is a Double Foul during a down in which there is a
change or changes of possession, including if one of the fouls is a post-possession foul by Team B during a scrimmage kick, the
team last gaining possession will keep the ball after enforcement for its foul, provided it did not foul prior to last gaining possession
(“clean hands”).
If the team last in possession does not have “clean hands” when it establishes possession, the penalties offset, and the down is
replayed at the previous spot.
    Exceptions:
    (1) If Team A fouls during a kickoff, punt, safety kick, fair-catch kick, or field-goal attempt prior to the change of possession,
        Team B may elect to replay the down at the previous spot.
    (2) If a safety results from the enforcement of a foul by Team B, the down is replayed at the previous spot.

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(3) If both teams foul after the last change of possession (Double Foul After Change of Possession), the penalties are offset,
    and the team last in possession shall retain the ball at the spot where possession was gained. If the spot where possession
    was gained is normally a touchback, the ball is placed on the 20-yard line, or the 25-yard line if the impetus was from a free
    kick. If it is normally a safety, the ball is placed on the one-yard line. On kicking plays, if Team A fouls prior to the change
    of possession, Team B shall also have the option in (1) above.




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                               RULE 15             OFFICIALS AND INSTANT REPLAY
SECTION 1         OFFICIALS
ARTICLE 1. GAME OFFICIALS. The game shall be played under the supervision of seven officials: the Referee, Umpire, Down
Judge, Line Judge, Field Judge, Side Judge, and Back Judge. In the absence of seven officials, the crew is to be rearranged
according to the remaining members of the crew.
ARTICLE 2. JURISDICTION. The officials’ jurisdiction begins 100 minutes before the scheduled kickoff and ends when the
Referee declares the final score.
ARTICLE 3. REFEREE’S AUTHORITY. The Referee is to have general oversight and control of the game. The Referee is the
final authority for the score. If there is a disagreement between members of the crew regarding the number of down, any
decision, or the application, enforcement, or interpretation of a rule, the Referee’s decision will be final. The Referee’s decisions
upon all matters not specifically placed under the jurisdiction of other officials by rule are final.
ARTICLE 4. RESPONSIBILITIES AND MECHANICS. Officiating responsibilities and mechanics are specified in the Mechanics
Manual, published annually by the National Football League.
ARTICLE 5.         GAME ADMINISTRATION SUPPORT FROM NFL OFFICIATING STAFF. The Replay Official and designated
members of the Officiating department at the League office may consult with the on-field officials to provide information on the
correct application of playing rules, including appropriate assessment of penalty yardage, proper down, and status of the game
clock. In addition, if the designated members of the Officiating department determine that a foul for a non-football act called on
the field is flagrant, then they can instruct the on-field officiating crew to disqualify the player(s) who committed the foul. Those
players who were not penalized, but who engaged in non-football acts that were determined to be flagrant and directly related to
the foul called on the field, may also be disqualified by designated members of the Officiating department. The determination
that a foul is flagrant must be based on the available video provided on the television broadcast, and the designated members of
the Officiating department must instruct the officiating crew to disqualify the identified player(s) before the ball is next legally put
in play. The Officiating department does not have the authority to instruct the on-field game officials to assess a penalty against
a player.

SECTION 2        INSTANT REPLAY
The League will employ a system of Instant Replay Review to aid officiating as defined below. The following procedures will be
used:
ARTICLE 1. COACHES’ CHALLENGE. In each game, a team will be permitted two challenges that will initiate Instant Replay
reviews. The Head Coach will initiate a challenge by throwing a red flag onto the field of play before the next legal snap or kick.
Each challenge will require the use of a team timeout. If a challenge is upheld, the timeout will be restored. A challenge will only
be restored if a team is successful on both of its challenges, in which case it shall be awarded a third challenge, but a fourth
challenge will not be permitted under any circumstances.
A team may challenge any reviewable play identified in Article 5 below, except when the on-field ruling is:
(a)   a score for either team;
(b)   an interception;
(c)   a fumble or backward pass that is recovered by an opponent or goes out of bounds through an opponent’s end zone; or
(d)   a muffed scrimmage kick recovered by the kicking team.
A team may not challenge a reviewable play:
(a)   after the two-minute warning of each half;
(b)   throughout any overtime period;
(c)   after committing a foul that delays the next snap; and
(d)   after exhausting all of its challenges or timeouts.
If a team initiates a challenge when it is not permitted to do so, it will be charged a timeout.
Penalty: For initiating a challenge when a team has exhausted its timeouts: Loss of 15 yards.
ARTICLE 2. REQUEST FOR REVIEW. A Replay Review will be initiated by a member of the Officiating department from a
location in the League office or a Replay Official from a Replay Booth comparable to the location of the coaches’ booth or Press
Box when the on-field ruling is:
(a)   a score for either team;
(b)   an interception;
(c)   a fumble or backward pass that is recovered by an opponent or goes out of bounds through an opponent’s end zone;
(d)   a muffed scrimmage kick recovered by the kicking team;
(e)   after the two-minute warning of each half;
(f)   throughout any overtime period; and
(g)   any disqualification of a player.
There is no limit to the number of Replay Reviews that may be initiated by personnel designated in this Article. The ability of the
designated personnel to initiate a review will be unrelated to the number of timeouts that either team has remaining, and no
timeout will be charged for any review initiated pursuant to this Article. The designated personnel must initiate a review before
the ball is next legally put in play.
ARTICLE 3. REPLAY REVIEWS. All Replay Reviews will be conducted by a designated member of the Officiating department
at the League office. During the review of on-field rulings other than player disqualifications, the designee shall consult with the
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                                                          Rule 15, Section 2
Referee, who will have access to a hand-held, field-level device. A decision will be reversed only when there is clear and
obvious visual evidence available that warrants the change. Prior to consulting with the Officiating department designee, the
Referee will discuss the play with the covering official(s) to gather any information that may be pertinent to the review.
Each review will be a maximum of 60 seconds in length, timed from when the hand-held, field-level device is provided to the
Referee.
Unless the Replay Review is for a player disqualification, all reviewable aspects of the play may be examined and are subject to
reversal, even if not identified in a coach’s challenge or if not the specific reason for a review initiated by a member of the
Officiating department or the Replay Official.

ARTICLE 4. NON-REVIEWABLE PLAYS. The following play situations are not reviewable:
(a) Fouls, except for Article 5 (g) below.
(b) Spot of the ball and runner:
    (1) Runner ruled down by defensive contact or out of bounds (not involving fumbles or the line to gain).
    (2) The position of the ball not relating to first down or goal line.
    (3) Whether a runner’s forward progress was stopped before he went out of bounds or lost possession of the ball.
    (4) Whether a runner gave himself up.
(c) Miscellaneous:
    (1) Field Goal or Try attempts that cross above either upright without touching anything.
    (2) Erroneous whistle.
    (3) Spot where an airborne ball crossed the sideline.
    (4) Whether a player was blocked into a loose ball.
    (5) Advance by a player after a valid or invalid fair catch signal.
    (6) Whether a player created the impetus that put the ball into an end zone.
ARTICLE 5. REVIEWABLE PLAYS. The Replay System will cover the following play situations:
(a) Plays involving possession.
(b) Plays involving touching of either the ball or the ground.
(c) Plays governed by the goal line.
(d) Plays governed by the boundary lines.
(e) Plays governed by the line of scrimmage.
(f) Plays governed by the line to gain.
(g) Number of players on the field at the snap, even when a foul is not called.
(h) Game administration:
    (1) Penalty enforcement.
    (2) Proper down.
    (3) Spot of a foul.
    (4) Status of the game clock.
(i) Disqualification of a player.
In situations in which time is deemed to have expired during or after the last play of the first or second half, or of an overtime
period in the preseason or regular season, or of an overtime half in the postseason, a timing error is defined as having occurred
only when the visual evidence demonstrates that more than one second should be put on the clock.
In the first half, time shall be restored only if the additional play will be a snap from scrimmage. In the second half, time shall be
restored only if it is a one-score game (eight points or fewer), and the additional play will be a snap from scrimmage by the team
that is behind in the score, or by either team if the score is tied. A correction of a timing error for a team timeout may be made
only if there is visual evidence of an official’s signal.
If an on-field ruling of a dead ball (down by contact, out of bounds, or incomplete forward pass) is changed, the ball belongs to
the recovering player at the spot of the recovery, and any advance is nullified. The recovery must occur in the continuing action
following the loss of possession. If the ball goes out of bounds in an end zone, the result of the play will be either a touchback or
a safety. If the Referee does not have clear and obvious visual evidence as to which player recovered the loose ball, or that the
ball went out of bounds, the ruling on the field will stand.
These reviewable play situations are explained in further detail in the Instant Replay Casebook.




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                                     RULE 16            OVERTIME PROCEDURES
SECTION 1       OVERTIME PROCEDURES
ARTICLE 1. SCORE TIED. If the score is tied at the end of the regulation playing time of all preseason, regular season, and
postseason NFL games, a system of modified sudden-death overtime shall be in effect, pursuant to the following.
ARTICLE 2. END OF REGULATION. At the end of regulation playing time, the Referee shall immediately toss a coin at the
center of the field, in accordance with rules pertaining to a usual pregame toss (4-2-2). The visiting team captain is to again call
the toss.
ARTICLE 3. EXTRA PERIOD. Following an intermission of no more than three minutes after the end of the regular game, the
extra period shall commence.
(a) Both teams must have the opportunity to possess the ball once during the extra period, unless the team that receives the
     opening kickoff scores a touchdown on its initial possession, in which case it is the winner, or if the team kicking off to start
     the overtime period scores a safety on the receiving team’s initial possession, in which case the team that kicked off is the
     winner. If a touchdown is scored, the game is over, and the Try is not attempted.
(b) If the team that possesses the ball first does not score on its initial possession, the team next scoring by any method shall
     be the winner.
(c) If the team that possesses the ball first scores a field goal on its initial possession, the other team (the second team) shall
     have the opportunity to possess the ball.
     (1) If the second team scores a touchdown on its possession, it is the winner.
     (2) If the second team scores a field goal on its possession, the team next scoring by any method shall be the winner.
     (3) If the second team does not score on its possession, the game is over, and the first team is the winner, subject to (4)
          below.
     (4) If the second team loses possession by an interception or fumble, the down will be permitted to run to its conclusion,
          and all rules of the game will be enforced as customary, including awarding points scored by either team during the
          down. If the second team scores a touchdown on the down after regaining possession, it is the winner. Only fouls that
          require the down to be replayed, fouls that negate a score, or palpably unfair acts will be enforced.
    Notes:
    (1) In such situations, if the player who intercepts the pass or recovers the fumble goes to the ground and makes no effort
        to advance, the covering official will blow his whistle to end the game.
    (2) If the second team loses possession by an interception or fumble, but the first team committed a foul prior to the
        change of possession, the second team’s possession has not legally ended, and the game cannot end on the down.
        However, in certain situations, the second team cannot decline the penalty and accept the result of the play, no matter
        how beneficial, because it would create a second possession for itself. It must accept the penalty enforcement, which
        will extend its initial possession.
    (3) The situation in (2) may also affect the team that receives the opening kickoff during its first possession. If there is a
        foul by the second team followed by a double change of possession, and the first team declines the penalty and
        accepts the result of the play, the second team has had its required possession, and the first team has possession of
        the ball for the second time and needs only a field goal to win. However, if it accepts the penalty, it will extend its initial
        possession.
(d) A player is in possession when he is in firm grip and control of the ball inbounds (3-2-7). The defense gains possession
    when it catches, intercepts, or recovers a loose ball.
(e) The opportunity to possess applies only during kicking plays. A kickoff is the opportunity to possess for the receiving team.
    If the kicking team legally recovers the kick, the receiving team is considered to have had its opportunity. A punt or field goal
    attempt that crosses the line of scrimmage and is muffed by the receiving team is considered to be an opportunity to
    possess for the receiving team. Normal touching rules by the kicking team apply.
(f) All replay reviews will be initiated by the Replay Official. Coaches’ challenges will not be allowed.
ARTICLE 4. OVERTIME IN PRESEASON AND REGULAR SEASON. The following shall apply to overtime games in the
preseason and regular season.
(a) There shall be a maximum of one 10-minute period, even if the second team has not had an opportunity to possess the ball
    or if its initial possession has not ended. If the score is tied at the end of the period, the game shall result in a tie.
(b) Each team shall be entitled to two timeouts, and if there is an excess timeout, the usual rules shall apply (4-5). The general
    provisions for the fourth quarter of a game, including timing, shall apply.
ARTICLE 5. OVERTIME IN POSTSEASON. The following shall apply to overtime games in the postseason:
(a) If the score is tied at the end of a 15-minute overtime period, or if the second team’s initial possession has not ended,
    another overtime period will begin, and play will continue, regardless of how many 15-minute periods are necessary.
(b) Between each overtime period, there shall be a two-minute intermission, but there shall be no halftime intermission after the
    second period. At the beginning of the third overtime period, the captain who lost the coin toss prior to the first overtime
    period shall have the first choice of the two privileges in 4-2-2, unless the team that won the coin toss deferred.
(c) At the end of the first and third extra periods, etc., teams must change goals in accordance with 4-2-3.
(d) Each team is entitled to three timeouts during a half. If there is an excess timeout, the usual rules shall apply (4-5).
(e) At the end of a second overtime period, timing rules shall apply as at the end of the first half. At the end of a fourth overtime
    period, timing rules shall apply as at the end of the fourth quarter.
(f) At the end of a fourth overtime period, there will be another coin toss pursuant to Section 1, Article 2, and play will continue
    until a winner is declared.

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                                                  Rule 16, Section 1
ARTICLE 6. DISQUALIFIED PLAYERS. Disqualified player(s) shall not re-enter during any extra period or periods in the
preseason, regular season, and postseason.
ARTICLE 7. GENERAL AND SPECIFIC RULES APPLY. Except as provided for above, all other general and specific rules
shall apply during any extra period or periods in the preseason, regular season, and postseason.




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                                  RULE 17           EMERGENCIES, UNFAIR ACTS
SECTION 1           EMERGENCIES
ARTICLE 1. NON-PLAYER ON FIELD. If any non-player, including photographers, reporters, employees, police or spectators,
enters the field of play or end zones, and in the judgment of an official said party or parties interfere with the play, the Referee,
after consulting the crew (13-1-7 and 15-1-3), shall enforce any such penalty or score as the interference warrants.
ARTICLE 2. FIELD CONTROL. If spectators enter the field and/or interfere with the progress of the game in such a manner
that in the opinion of the Referee the game cannot continue, the Referee shall declare timeout. In such a case, the Referee shall
record the number of the down, distance to be gained, and the position of the ball on the field. The Referee shall also secure
from the Line Judge the playing time remaining and record it. The Referee shall then order the home club through its
management to have the field cleared, and when it is cleared and order restored and the safety of the spectators, players and
officials is assured to the satisfaction of the Referee, the game must continue even if it is necessary to use lights.
ARTICLE 3. GAME CALLED. If the game must be called due to a state or municipal law, or by darkness if no lights are
available, an immediate report shall be made to the Commissioner by the home club, visiting club, and officials. On receipt of all
reports, the Commissioner shall make a decision which will be final.
ARTICLE 4. EMERGENCY SITUATIONS. The NFL affirms the position that in most circumstances all regular-season and
postseason games should be played to their conclusion. If, in the opinion of appropriate League authorities, it is impossible to
begin or continue a game due to an emergency, or a game is deemed to be imminently threatened by any such emergency
(e.g., severely inclement weather, lightning, flooding, power failure), the following procedures (Articles 5 through 11) will serve
as guidelines for the Commissioner and/or the duly appointed representatives. The Commissioner has the authority to review
the circumstances of each emergency and to adjust the following procedures in whatever manner the Commissioner deems
appropriate. If, in the Commissioner’s opinion, it is reasonable to project that the resumption of an interrupted game would not
change its ultimate result or adversely affect any other inter-team competitive issue, the Commissioner is empowered to
terminate the game.
ARTICLE 5. LEAGUE AUTHORITY. The League employees vested with the authority to define emergencies under these
procedures are the Commissioner, designated representatives from the League office staff, and the game Referee. In those
instances where neither the Commissioner nor the designated representative is in attendance at a game, the Referee will have
sole authority; provided, however, that if the Referee delays the beginning of or interrupts a game for a significant period of time
due to an emergency, the Referee must make every effort to contact the Commissioner or the Commissioner’s designated
representative for consultation. In all cases of significant delay, the League authorities will consult with the management of the
participating clubs and will attempt to obtain appropriate information from outside sources, if applicable (e.g., weather bureau,
police).
ARTICLE 6. LATER DATE. If, because of an emergency, a regular-season or postseason game is not started at its scheduled
time and cannot be played at any later time that same day, the game nevertheless must be played on a subsequent date to be
determined by the Commissioner.
ARTICLE 7. PRE-GAME THREAT. If there is deemed to be a threat of an emergency that may occur during the playing of a
game (e.g., an incoming tropical storm), the starting time of such game will not be moved to an earlier time unless there is
clearly sufficient time to make an orderly change.
ARTICLE 8. INTERRUPTED GAME. If, under emergency circumstances, an interrupted regular-season or post-season game
cannot be completed on the same day, such game will be rescheduled by the Commissioner and resumed at that point.
ARTICLE 9. ALTERNATE DATES, SITES. In instances under these emergency procedures which require the Commissioner to
reschedule a regular-season game, the Commissioner will make every effort to set the game for no later than two days after its
originally scheduled date, and will attempt to schedule the game at its original site. If unable to do so, the Commissioner will
schedule it at the nearest available facility. If it is impossible to schedule the game within two days after its original date, the
Commissioner will attempt to schedule it on the Tuesday of the next calendar week in which the two involved clubs play other
clubs (or each other). Further, the Commissioner will keep in mind the potential for competitive inequities if one or both of the
involved clubs has already been scheduled for a game following the Tuesday of that week (e.g., Thanksgiving).
ARTICLE 10. POSTSEASON INTERRUPTION. If an emergency interrupts a postseason game and such game cannot be
resumed on that same date, the Commissioner will make every effort to arrange for its completion as soon as possible. If unable
to schedule the game at the same site, the Commissioner will select an appropriate alternate site. The Commissioner will
terminate the game short of completion only, if in the Commissioner’s judgment, the continuation of the game would not be
normally expected to alter the ultimate result.
ARTICLE 11. GAME RESUMPTION. In all instances where a game is resumed after interruption, either on the same date or a
subsequent date, the resumption will begin at the point at which the game was interrupted. At the time of interruption, the
Referee will call timeout and will make a record of the following: the team possessing the ball, direction in which its offense was
headed, position of the ball on the field, down, distance, period, time remaining in the period, and any other pertinent information
required for an efficient and equitable resumption of play.

SECTION 2          EXTRAORDINARILY UNFAIR ACTS
ARTICLE 1. COMMISSIONER AUTHORITY. The Commissioner has the sole authority to investigate and take appropriate
disciplinary and/or corrective measures if any club action, non-participant interference, or calamity occurs in an NFL game which
the Commissioner deems so extraordinarily unfair or outside the accepted tactics encountered in professional football that such
action has a major effect on the result of the game.


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                                                        Rule 17, Section 2
ARTICLE 2. NO CLUB PROTESTS. The authority and measures provided for in this entire Section 2 do not constitute a protest
machinery for NFL clubs to avail themselves of in the event a dispute arises over the result of a game. The investigation called
for in this Section 2 will be conducted solely on the Commissioner’s initiative to review an act or occurrence that the
Commissioner deems so extraordinary or unfair that the result of the game in question would be inequitable to one of the
participating teams. The Commissioner will not apply authority in cases of complaints by clubs concerning judgmental errors or
routine errors of omission by game officials. Games involving such complaints will continue to stand as completed.
ARTICLE 3. PENALTIES FOR UNFAIR ACTS. The Commissioner’s powers under this Section 2 include the imposition of
monetary fines and draft-choice forfeitures, suspension of persons involved in unfair acts, and, if appropriate, the reversal of a
game’s result or the rescheduling of a game, either from the beginning or from the point at which the extraordinary act occurred.
In the event of rescheduling a game, the Commissioner will be guided by the procedures specified in 17-1-5–11, above. In all
cases, the Commissioner will conduct a full investigation, including the opportunity for hearings, use of game video, and any
other procedure the Commissioner deems appropriate.




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                                  RULE 18           GUIDELINES FOR CAPTAINS

SECTION 1         GUIDELINES FOR CAPTAINS
ARTICLE 1. NUMBER OF CAPTAINS. One hour and thirty minutes prior to kickoff: Respective coaches designate a maximum
of six captains per team.
ARTICLE 2. COIN TOSS:
(a) Up to six captains per team can participate in the coin toss ceremony (active, inactive, or honorary); only one captain from
    the visiting team (or a captain designated by the Referee if there is no home team) can declare the choice of the coin toss.
(b) The team that won the toss may then have only one captain declare its option.
(c) The team that lost the coin toss may then have only one captain declare its option.
ARTICLE 3. CHOICE ON PENALTY OPTION: Only one captain is permitted to indicate the team’s penalty option.
ARTICLE 4. CHANGE OF CAPTAINS:
(a) The coach has the prerogative of informing the Referee when he wishes to make a change in team captains.
(b) A captain who is leaving can inform the Referee which player will act as captain in his place when he is substituted for.
(c) When a captain leaves the game, the incoming substitute is permitted to inform the Referee which player the respective
    coach has designated as captain.
    Note: A captain on the field has no authority to request a change of fellow team captain when that captain remains on the
    field.




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Distance Penalties                                                                                      Making forward pass in field of play not from scrimmage……8-1-2
                                                                                                        Second forward pass………………………….…..................... 8-1-2
                                                                                                        Pass after ball crossed line of scrimmage and returned……..8-1-2
Loss of Five Yards
                                                                                                        Illegal touch of forward pass by an ineligible receiver........….8-1-8
Second and each subsequent team timeout after the two-minute
warning....................................................................................4-5-4        Ineligible player downfield on pass..…………................……..8-3-1
Delay of game, i.e.,                                                                                    Illegal forward handling…………..……………….................….8-7-4
exceeding 40/25 seconds in putting ball in play..................4-6-1, 2                               Ineligible player downfield on kick………………................…. 9-1-2
repeatedly snapping ball before Referee can assume normal                                               Kicking team player voluntarily out of bounds during a
position…………………………............................…….…….…4-6-5                                              punt………………………………………………...................…..9-1-5
runner remaining on ball or opponent remaining on runner to                                             Making invalid fair-catch signal………………........................10-2-2
consume time……………………...............................……..….4-6-5                                          Illegal use of hands by defense, i.e.,
undue delay in assembling after a time out…................…..…4-6-5                                    Running into kicker behind his line (not roughing)..............12-2-10
defensive abrupt non-football movements…..….....................4-6-5
spiking or throwing the ball in the field of play….................….4-6-5                              Loss of Ten Yards
taking the ball from a downed runner causing delay….……...4-6-5                                          Pass interference by Team A………………….....................…8-5-4
Illegal substitution, i.e.,                                                                             holding, illegal use of hands, arms or body on offense, illegal
substitute entering during play, withdrawn player on field at snap                                      block in the back above the waist……..................................12-1-3
or free kick (unless interference) or withdrawing on opponent’s                                         Tripping by a Team A player.................................................12-1-4
side or across end line……………..…………………….…..….5-2-8
                                                                                                        Assisting runner……………………………................….…….12-1-4
Illegal kick at free kick (ball remains dead and replay)……….6-1-1                                       Batting or punching ball, when loose (unless a pass), towards
Violation of free kick formation (includes kickoff), i.e.,                                              opponents’ goal line or in any direction if in endzone….……12-5-1
kickers failing to be behind ball or inbounds (except placekick
holder)……………….……………………..................................6-1-3
                                                                                                        Loss of Fifteen Yards
receivers failing to be inbounds or behind their free kick
line………………………………………………................……...6-1-3                                                        Not being able to start each half on scheduled time……….…4-2-1
kicking team player (other than kicker) more than one yard behind                                       Interfering with fair catch (and catch awarded)…..................10-1-1
restraining line.........................................................................6-1-3          Tackling or blocking maker of a fair catch or avoidable running
                                                                                                        into………………………………………...................................10-2-3
less than five kicking team players on each side of kicker......6-1-3
Making short free kick………………………..................………6-2-5                                               Head Slap………………………………….................…....….12-2-12
Illegally touching free kick (a) before it goes 10 yards or (b) after                                   Striking, kneeing and kicking (also disqualification)……….12-2-12
being out of bounds…………………..…..............................…6-2-4                                       Striking opponent below shoulders with forearm or elbow by
                                                                                                        turning or pivoting…………………...............................…....12-2-13
Illegal position of Team A players at the snap, i.e.,
                                                                                                        Twisting, turning or pulling of opponent’s facemask……….12-2-14
having fewer than seven players on line………...................…7-5-1
having player neither on nor one yard behind his line unless man                                        Blocking below waist on kicks and change of possession….12-2-5
under center…………………………....................................….7-5-1                                       Roughing the kicker……………………………….................12-2-10
Illegally lining up over center…………………................…......9-1-3                                      Falling on or piling on a player on the ground................12-2-6-d, e
More than six players on line of scrimmage on either side of                                            Unnecessary roughness (also disqualification when flagrant), i.e.,
center……………………………………………………………...9-1-3                                                                   striking an opponent with foot or shin in a whipping motion (leg
Player entering neutral zone contacts opponent.....................7-4-3                                whip)………………………………………………………..….12-2-6-a
Being offside at snap…………………………….…..................7-4-5                                               tackling runner who is out of bounds……………................12-2-6-b
Neutral zone infraction…………………………..................…...7-4-4                                            running into, throwing body against a player obviously out of the
Player not reporting change in eligibility………................…...5-3-1                                  play or after the ball is dead………….................................12-2-6-g
more than eleven men on field at snap or in formation...........5-1-1                                   Initiating contact with the crown of the helmet……………….12-2-8
                                                                                                        running into from behind or dropping body across back of legs of
Illegal motion by Team A at snap, i.e.,
                                                                                                        opponent who is not the runner (clipping)……………….…...12-2-1
player not being stationary (except) one only in motion clearly
backwards……………………………..............................…..…7-4-8                                             Illegal crackback……………………………….....…................12-2-2
single player not moving clearly backward at snap………….. 7-4-8                                           Peel-back block……………...………………................…..….12-2-4
                                                                                                        Blindside block…………………………………...............12-2-7-a-10
Pausing less than one second after a shift….…..................…7-4-7
Being out of bounds at snap………………….................……..7-5-1                                            Roughing the passer…..……………………................….......12-2-9
                                                                                                        Chop block………………………………………................…...12-2-3
Not snapping ball when prescribed……….….................……..7-6-3
Illegally snapping ball i.e.,                                                                           Illegal block after fair catch signal…………….....…....10-2-2-Item 5
                                                                                                        Unsportsmanlike conduct by players (also disqualification when
failing to make backward pass………………................………7-6-4
                                                                                                        flagrant), i.e.,
failing to place ball on ground as specified…...................…...7-6-3
                                                                                                        using abusive or insulting language or gestures to players or
Failing to give impulse by continuous motion or sliding hands                                           officials or continuing acts………...................................…12-3-1-b
along ball before snap…………………….............................…7-6-3
                                                                                                        baiting or taunting………..…………...........................…....12-3-1-c
False start………………………………...………...................…7-4-2
                                                                                                        player pushing, shoving, or laying hand on official…….…12-3-1-g
Snap going to receiver on line…………………................…....7-6-4




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attempting to disconcert Team A at snap by words or                                                   Flagrant roughing of kicker…………………................….....12-2-10
signals……………………………………………....................12-3-1-i                                                  Flagrant roughing of passer………………..……................…12-2-9
concealing the ball under clothing or substituting article for                                        Flagrant unsportsmanlike conduct by players…...................12-3-1
ball……………………………………….…........................…12-3-1-j
                                                                                                      Player using a helmet as a weapon……………..................12-2-16
lingering………………………………………...................….12-3-1-k
                                                                                                      Disqualified player returning (exclusion from field
leverage…………………………….................….................12-3-1-q                                        enclosure)…………………………………………..................…5-2-7
repeatedly violating substitution rule in attempt to conserve                                         Suspended player illegally returning……………..............…..5-2-8-f
time……………….....................…............................……..12-3-1-m
                                                                                                      unnecessary physical contact with game official................12-3-1-g
violating 40-second rule two or more (same down) after a
warning………………………………..............................…..12-3-1-n
leaping to attempt to block a field goal or point after touchdown                                     Loss of Ball Penalties
unless the player was lined up on the line of scrimmage when the                                      Kickers illegally touching free kick before it travels ten
ball was snapped……..................................................…...12-3-1-r                      yards....................................................................................... 6-2-4
a punter, placekicker or holder who simulates being roughed or
run into by a defensive player…….....................................12-3-1-u
                                                                                                      Disqualification for Entire Game
receiving team forming illegal wedge on free kick...................6-1-3
                                                                                                      Repeat violation by player wearing or displaying illegal
Illegal conduct by non-players (also exclusion for flagrant                                           equipment…………………………………………................…..5-4-9
violations), i.e.,
player on field communicating other than to coach in prescribed
area………………………………..................................……...13-1-1                                         Time Penalty
team representatives using unsportsmanlike conduct during game                                        Actions to conserve time……………………................……….4-7-1
or between halves or sitting on bench when not qualified....13-1-3                                    Fouling by defense, illegal touching or fair-catch interfering by
non-players going on field without permission (other than team                                        offense or fouling by both teams at end of half during play in
attendants during a team time out)…....................................13-1-2                         which time expires (extend quarter)…………………..………..4-8-2
non-players moving along boundary lines (unless substitute
warming up or coach in prescribed area)…………………….13-1-5                                                Replay Penalties
                                                                                                      Team B fouling on Try which fails………................…11-3-3-Item 4
Loss of Down                                                                                          Committing double foul unless dead-ball fouls by both teams after
Illegal touch of forward pass by an eligible receiver who became                                      ball is dead...…......................................................................14-5-1
ineligible.............................................................................….8-1-8
                                                                                                      Scoring Penalties
Loss of Half Distance to Goal Line                                                                    Try Awarded
Pass interference by Team B in its end zone and previous spot is
                                                                                                      Team B committing a foul during a Try which would ordinarily
inside its 2-yard line…………..........................................…….8-5-4
                                                                                                      result in a safety………………………................................…11-3-3
Distance penalty enforced from a spot between goal lines carrying
ball more than half the distance to either goal line……..……14-2-1
                                                                                                      Score Awarded
                                                                                                      Repeated fouling by defense to prevent score…..................12-3-2
Ball placed on 1-Yard Line
Pass interference by Team B in its end zone and previous spot is
outside its 2-yard line……………............................................8-5-4                         Touchdown Awarded
                                                                                                      Committing palpably unfair act which deprives opponent of a
                                                                                                      touchdown (player)…………........................................……..12-3-4
Withdrawal Penalties
                                                                                                      Committing palpably unfair act which deprives opponent of a
Excess time out (withdrawal only when fourth time out – also loss                                     touchdown (non-player)……........................................……..13-1-7
of five when fifth or more)…………………….…...............…....4-5-4
Player being disqualified, suspended (illegal equipment), or
replaced…………………………...............................................5-4-1                                Safety
Illegal return (loss of five also)…………................……………5-2-8                                      Offense fouling anywhere, and spot of enforcement is behind its
                                                                                                      own goal line…………….....................................11-5-1 and 14-2-2
                                                                                                      Intentional grounding in own end zone………….....................8-2-1
Disqualification Penalties
Disqualification always occurs in combination with a 15-yard
penalty. Exceptions to distance penalties:                                                            Score Not Allowed
Both teams committing disqualifying fouls (double                                                     Offending team scores after foul during down in which time
foul)..........................................................................….14-5-1-Note          expires for half (also no extension of time)….......................4-8-2-b
Distance being declined…………................………….………14-1-1
                                                                                                      Unsuccessful Try
Loss of 15 yards                                                                                      Team A committing foul during a Try which would ordinarily result:
Flagrant striking, kicking, or kneeing an opponent or striking him                                    in loss of down or in a touchback…………….....................…11-3-3
on head or neck with heel, back or side of hand wrist, elbow, or                                      in loss of ball in field of play (not during a kick).....................11-3-3
forearm………..………….....................................................12-2-12                          Team B recovering ball…………………………..................…11-3-3




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New Series Penalties                                                                                      Receiver’s ball at inbounds spot when last touched by them..6-2-3
Team B committing a foul during play from scrimmage giving                                                Receiver’s ball 25 yards from spot of kick....……....................6-2-3
Team A first down irrespective of distance penalty (automatic first
down)....…………….....................................................……..14-1-2                             Ball Remains Dead
Team B committing a foul not giving Team A first down unless
                                                                                                          Actions which delay game………………………...................…4-6-1
enforcement places ball in advance of necessary line, i.e.,
                                                                                                          Snapping before Officials assume normal position………...4-6-5-b
excess time out…………..…………………................……...…4-5-4
delay of game………...……………………………...….................4-6
                                                                                                          Ball Dead Immediately
illegal substitution……..…………………………................…...5-2-8
                                                                                                          Committing acts designed to consume time…….................…4-7-1
illegal equipment (suspension)………..………................…….5-4-9
                                                                                                          Kickers recovering free kick…………………….............……6-1-4-d
encroachment ….................................................................…7-4-3
                                                                                                          Kickers advancing after recovery of a scrimmage kick unless
offside......................................................................................7-4-5
                                                                                                          behind line other than a Try-kick (9-3-1)…..............................9-3-2
neutral zone infraction.............................................................7-4-4
                                                                                                          Any kick touching receiver’s goal post or cross bar unless scoring
Illegal formation…………………………………………………...9-1-3                                                              field goal……..................................….6-1-5-c; 9-4-2; and 11-6-2-d
running into kicker...............................................................12-2-10                 Official sounding whistle (even when inadvertent)..........…7-2-1-m
more than eleven players on field at snap or in formation.......5-1-1                                     Any receiver catching after fair-catch signal unless first touched
Team B interfering in field of play with a pass from behind line                                          by kickers………............……………..............................……10-2-3
(distance penalty in addition when personal
foul)……………………………..……..................….8-5-1 and 12-2-7
                                                                                                          Penalty Enforced From Goal Line
                                                                                                          Defense fouling and spot of enforcement is behind goal line of
Combination Penalties                                                                                     offense…………………………………….............................…14-2-2
Loss of Down and Five                                                                                     Runner crosses opponent’s goal line and spot of enforcing foul by
                                                                                                          teammate during run is behind defense goal line……...……14-2-2
Making a forward pass from scrimmage from beyond the
line……………………………………………......................……8-1-2
                                                                                                          Penalty Enforced on Next Free Kick
Loss of Down and Ten                                                                                      A team scoring and opponents commit a personal or
                                                                                                          unsportsmanlike conduct foul or a palpably unfair act, during
Intentionally grounds pass (from behind line)…..................…8-2-1
                                                                                                          down…………………………………...........................…….....14-2-3
illegally kicked ball.................................................................12-5-2


Loss of ball and Fifteen
Interfering with a possible fair catch in field of play (also fair
catch)………………………………………......................…….10-1-1


Five Yards and Automatic First Down
A defensive player holds an opponent who is not the
runner……..........………………………..............................….12-1-6
A defensive player illegally contacting an eligible receiver within
five yards…………………………………………………………..8-4-2
A defensive player illegally contacting an eligible receiver beyond
five yards……………..…………………………………………...8-4-3


Ten Yards and Automatic First Down
Tripping by a Team B player…………………………………..12-1-8


Touchback
Kickers illegally touching kick (not free kick) inside receiver five-
yard line…….………………………............................…..9-2-3-Pen.
Fair-catch interfering or running into maker of in receiver’s end
zone……………………………........................................……10-1-1


Miscellaneous Situations
Safety
Ball in possession of team behind or out of bounds behind own
goal line and impetus which sent it in touch came from player of
that team.............……….................................................…...11-5-1
Kickoff Out of Bounds Between Goal Lines




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                                  Official Signals




              1                                2                                     3
 TOUCHDOWN, FIELD GOAL,                     SAFETY                            FIRST DOWN
     or SUCCESFUL TRY              Palms together above head.      Arms pointed toward defensive team’s
Both arms extended above head.                                                    goal.




              4                                5                                     6
CROWD NOISE, DEAD BALL, or             BALL ILLEGALLY                             TIME OUT
NEUTRAL ZONE ESTABLISHED              TOUCHED, KICKED,                Hands crisscrossed above head.
      One arm above head                   OR BATTED                Same signal followed by placing one
        with an open hand.        Fingertips tap both shoulders.   hand on top of cap: Referee’s Time Out.
 With fist closed: Fourth Down.                                    Same signal followed by arm swung at
                                                                              side: Touchback.




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                  7                                 8                               9
       NO TIME OUT or TIME                   DELAY OF GAME               FALSE START, ILLEGAL
       IN WITH WHISTLE Full                 OFFENSE/DEFENSE        FORMATION, KICKOFF OR SAFETY
            arm circled to                 or EXCESS TIME OUT        KICK OUT OF BOUNDS, or KICK-
        simulate moving clock.                  Folded arms.        ING TEAM PLAYER VOLUNTARILY
                                                                   OUT OF BOUNDS DURING A PUNT
                                                                       Forearms rotated over and over
                                                                              in front of body.




                 10                                11                             12
          PERSONAL FOUL                          HOLDING               ILLEGAL USE OF HANDS,
One wrist striking the other above head.    Grasping one wrist,        ARMS, OR BODY Grasping
Same signal followed by swinging leg:        the fist clenched,                 one wrist,
          Roughing Kicker.                    in front of chest.        the hand open and facing
  Same signal followed by raised arm                                     forward, in front of chest.
 swinging forward: Roughing Passer.
Same signal followed by grasping face-
     mask: MAJOR Facemask.




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               13                                    14                                  15
     PENALTY REFUSED,                 PASS JUGGLED INBOUNDS AND               ILLEGAL FORWARD PASS
         INCOMPLETE                       CAUGHT OUT OF BOUNDS                One hand waved behind back
    PASS, PLAY OVER, or               Hands up and down in front of chest       followed by loss of down
        MISSED GOAL                    (following incomplete pass signal).    signal (23) when appropriate.
 Hands shifted in horizontal plane.




               16                                    17                                  18
           INTENTIONAL                INTERFERENCE WITH FORWARD              INVALID FAIR-CATCH SIGNAL
     GROUNDING OF PASS                     PASS or FAIR CATCH                 One hand waved above head.
 Parallel arms waved in a diagonal               Hands open
plane across body. Followed by loss       and extended forward from
        of down signal (23).             shoulders with hands vertical.




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            19                                 20                               21
   INELIGIBLE RECEIVER                 ILLEGAL CONTACT              OFFSIDE, ENCROACHMENT, OR
  or INELIGIBLE MEMBER            One open hand extended forward.    NEUTRAL ZONE INFRACTION
     OF KICKING TEAM                                                       Hands on hips.
        DOWNFIELD
Right hand touching top of cap.




            22                                 23                               24
ILLEGAL MOTION AT SNAP                   LOSS OF DOWN                       INTERLOCKING
 Horizontal arc with one hand.     Both hands held behind head.     INTERFERENCE, PUSHING, or
                                                                           HELPING RUNNER
                                                                      Pushing movement of hands
                                                                      to front with arms downward.




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             25                               26                                   27
  TOUCHING A FORWARD                 UNSPORTSMANLIKE                           ILLEGAL CUT
PASS OR SCRIMMAGE KICK                     CONDUCT                    Both hands striking front of thigh.
      Diagonal motion of          Arms outstretched, palms down.        ILLEGAL BLOCK BELOW
   one hand across another.                                                     THE WAIST
                                                                       One hand striking front of thigh
                                                                    preceded by personal foul signal (10).
                                                                              CHOP BLOCK
                                                                      Both hands striking side of thighs
                                                                    preceded by personal foul signal (10).
                                                                                 CLIPPING
                                                                   One hand striking back of calf preceded
                                                                         by personal foul signal (10).




             28                               29                                   30
  ILLEGAL CRACKBACK                         PLAYER                             TRIPPING
   Strike of an open right hand          DISQUALIFIED                        Repeated action
        against the right                Ejection signal.                     of right foot in
      mid thigh preceded                                                     back of left heel.
 by personal foul signal (10).




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               31                                 32                            33
          UNCATCHABLE                   ILLEGAL SUBSTITUTION,                FACEMASK
         FORWARD PASS                          12 MEN IN             Grasping mask with one hand.
  Palm of right hand held parallel to     OFFENSIVE HUDDLE,
ground above head and moved back           or TOO MANY MEN
              and forth.                     ON THE FIELD
                                        Both hands on top of head.




               34                                 35                            36
        ILLEGAL SHIFT                   RESET PLAY CLOCK------         RESET PLAY CLOCK------
  Horizontal arcs with two hands.          25 SECONDS                     40 SECONDS
                                        Pump one arm vertically.       Pump two arms vertically.




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                              TABLE OF FOUL CODES
PENALTY                            FOUL CODE           PENALTY                           FOUL CODE
Chop Block                            CHB              Illegal Touch—Kick                   ITK
Clipping                              CLP              Illegal Touch—Pass                   ITP
Defensive Delay of Game               DOD              Illegal Use of Hands                 ILH
Defensive Holding                      DH              Illegal Wedge                        WED
Defensive Offside                     DOF              Ineligible Downfield Kick            IDK
Defensive Pass Interference           DPI              Ineligible Downfield Pass            IDP
Defensive Too Many Men on Field       DTM              Intentional Grounding                ING
Delay of Game                         DOG              Invalid Fair Catch Signal            IFC
Delay of Kickoff                      DOK              Kick Catch Interference              KCI
Disqualification                      DSQ              Kickoff Out of Bounds                KOB
Encroachment                          ENC              Leaping                              LEA
Facemask (15 Yards)                   FMM              Leverage                             LEV
Fair Catch Interference                FCI             Low Block                            LBL
False Start                           FST              Neutral Zone Infraction              NZI
Horse Collar                           HC              Offensive Holding                     OH
Illegal Bat                           BAT              Offensive Offside                    OOF
Illegal Blindside Block                BLI             Offensive Pass Interference          OPI
Illegal Block Above the Waist         IBW              Offensive Too Many Men on Field      OTM
Illegal Contact                        ICT             Offside on Free Kick                 OFK
Illegal Crackback                     ICB              Player Out of Bounds on Kick         POK
Illegal Cut                           ICU              Roughing the Kicker                  RRK
Illegal Formation                      ILF             Roughing the Passer                  RPS
Illegal Forward Handoff                IFH             Running into the Kicker              RNK
Illegal Forward Pass                   IFP             Short Free Kick                      SFK
Illegal Kick/Kicking Loose Ball        KIK             Taunting                             TAU
Illegal Motion                        ILM              Tripping                             TRP
Illegal Peel Back                      IPB             Unnecessary Roughness                UNR
Illegal Shift                         ISH              Unsportsmanlike Conduct              UNS
Illegal Substitution                   ILS             Use of Helmet                        UOH



                         TEAM ABBREVIATION CODES
                     Arizona Cardinals      ARZ          Los Angeles Chargers   LAC
                     Atlanta Falcons        ATL          Los Angeles Rams       LA
                     Baltimore Ravens       BLT          Miami Dolphins         MIA
                     Buffalo Bills          BUF          Minnesota Vikings      MIN
                     Carolina Panthers      CAR          New England Patriots   NE
                     Chicago Bears          CHI          New Orleans Saints     NO
                     Cincinnati Bengals     CIN          New York Giants        NYG
                     Cleveland Browns       CLV          New York Jets          NYJ
                     Dallas Cowboys         DAL          Oakland Raiders        OAK
                     Denver Broncos         DEN          Philadelphia Eagles    PHI
                     Detroit Lions          DET          Pittsburgh Steelers    PIT
                     Green Bay Packers      GB           San Francisco 49ers    SF
                     Houston Texans         HST          Seattle Seahawks       SEA
                     Indianapolis Colts     IND          Tampa Bay Buccaneers   TB
                     Jacksonville Jaguars   JAX          Tennessee Titans       TEN
                     Kansas City Chiefs     KC           Washington Redskins    WAS
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                                #                          Completed pass                                 30
10-second runoff                        13-16, 60          Consecutive team timeouts                      13
                                A                          Contact with crown of the helmet             63, 69
Actions to conserve time                15, 32-24          Contact with receiver                          40
                                        10, 25, 27,        Control                                       4, 30
Advance
                                          30-33
                                                                                         D
Alternate dates                             66
                                                           Dead ball                                   4, 6, 26
Alternate sites                             66
                                                           Dead ball foul                                 60
Apparel                                   19-22
                                                           Dead ball spot                                 57
Appearance                                19-22
                                                           Defense                                        10
Approved ruling                              4
                                                           Defenseless posture                            49
Attempt to draw offside                     28
                                                           Defensive fouls                                16
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Ball in play after safety                   44                                                        6, 16, 56,
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Ball next in play                         44-45                                                         60-61
Ball touches ground                       10, 30           Double foul with change of possession          59
Ball touches official                     27, 49           Double foul without change of possession       60
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                                          40, 46                                                           36
Blocking below the waist                  36, 48           Emergencies                                     66
Blocking during kick                        36             Encroaching                                     8
                                C                          Encroachment                                 28, 56
Captains                                  12, 68           End of free kick                                24
Carried out of bounds                       32             End of a quarter                                16
Catch behind line                         34, 41                                                      24, 36, 38,
                                                           End of the kick
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Catch of a free kick                      23-24
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Change of goals                             10             End zone catch                                  33
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                                                           Fair catch interference
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                                                           False start                                  15, 27
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